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              EXHIBIT B
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            Recommendations for Reform:
               Restoring Trust between the Chicago Police
                    and the Communities they Serve


                                   REPORT


                                   April 2016




                                                       Police Accountability Task Force | 1
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Forty-six men and women from diverse backgrounds volunteered their time and expertise to serve on our
Working Groups. They conducted research, interviewed experts and developed and drafted
recommendations. Working Group members are listed in Appendix 2.

INTERVIEWS
The Task Force and Working Groups interviewed more than 100 national and local experts, as well as citizens of
Chicago young and old. The interviewees provided invaluable insight to the Task Force’s work. Their names and
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The Task Force members would like to thank their employers and staff who gave them the time and support
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More than 750 people attended one of the Task Force’s four community forums, sharing their experiences and
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Glossary of Terms
ACT            Assertive Community Treatment

BIA            Bureau of Internal Affairs

BIS            Behavioral Intervention System

CAPS           Chicago’s Alternative Police Strategy

CBA            Collective Bargaining Agreement

CDPH           Chicago Department of Public Health

CEED           Community Empowerment and Engagement Districts

CIT            Crisis Intervention Team

CLEAR          Citizen and Law Enforcement Analysis and Reporting

CPD            Chicago Police Department

CPIA           Civilian Police Investigative Agency

CPS            Chicago Public Schools

CR             Complaint Register

CRU            Crisis Response Unit

CSMP           Comprehensive Stress Management Program

CSU            Crisis Stabilization Unit

EIS            Early Intervention System

FOP            Fraternal Order of Police

FTO            Field Training Officer

IAD            Internal Affairs Division

IPP            Individualized Performance Plan

IPRA           Independent Police Review Authority

MEU            Mental Evaluation Unit

MHCRU          Mental Health Critical Response Unit

OEMC           Office of Emergency Management Communications

PC             Personnel Concerns

PPO            Probationary Police Officer

SPAR           Summary Punishment Action Request

TRR            Tactical Response Report




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Executive Summary
“The police need to know who they work for – the community. The authority
 that they have belongs to the people.”1

A painful but necessary reckoning is upon us. That is what these times demand.

The Police Accountability Task Force arose amidst a significant and historic public outcry. The outcry
brought people into the streets, on social media and on other venues to say in a very clear voice that they
had reached a breaking point with the entire local law enforcement infrastructure. People were and are
demanding accountability and real and lasting change. The outcry was not localized in any particular
neighborhood or demographic, although communities of color and those ravaged by crime added some
of the most poignant commentary.

The Task Force immediately understood that one of our most important responsibilities was to actively
seek out, listen and respond to voices from all over Chicago who had much to say about their personal
and often painful experiences with the Chicago Police Department (“CPD”), the Independent Police Review
Authority (“IPRA”) and other parts of the local policing infrastructure, as well as their frustrations and lack
of confidence in political actors. What we have heard has been humbling. As we dug deeper into the
complaints of so many about the callous and disrespectful way in which they had been treated by some
officers, we also understood that we had an important duty to lay bare the systemic and sanctioned
practices that led to the deaths of fellow citizens and the deprivation of the rights of so many others. We
have borne witness to many hard truths which have profound and lasting impacts on the lives and hopes
of individuals and communities. Our recommendations are intended to be responsive to the people,
empower the people and to specifically identify a range of changes that are essential to building trust,
accountability and lasting change.

As part of our work, the Task Force heard from many current and former CPD officers who are dedicated
public servants, committed to performing their duties lawfully and making Chicago a safer place for all of its
residents. Serving as a police officer is a challenging and often dangerous job. The police face an increasingly
daunting challenge in crime fighting. Illegal guns flood the streets of the same neighborhoods that are
devastated by crime, poverty and unemployment. We as a society cannot expect the police to cure every ill
in Chicago’s neighborhoods. Yet we put significant pressure on them to solve and prevent crime, as well as
to address the manifestations of a number of other daunting social and economic challenges beyond their
charge and capacity to manage, let alone solve. Still, a keen appreciation of and sensitivity to these broader
issues is critical to effective law enforcement and positive community-police relations.

The findings and recommendations in this report are not meant to disregard or undervalue the efforts of
the many dedicated CPD officers who show up to work every day to serve and protect the community.
The challenge is creating a partnership between the police and the community that is premised upon
respect and recognizes that our collective fates are very much intertwined. Simply put, a more
professional, engaged and respectful police force benefits us all. We cannot and have not shied away




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from identifying systemic problems or challenges that undermine the efforts of those officers who are
sincerely committed to doing their jobs the right way. To be sure, individual officers must own
responsibility for not merely their actions each day, but also the reverberating and sometimes corrosive
and lingering effect of those actions on citizens. And ultimately, the responsibility for setting the correct
course lies with CPD leadership itself.

The City and in particular CPD would do well to embrace the necessary changes to address the systemic
problems in CPD and not simply hope that this storm will pass. It will not and ignoring this opportunity
will exacerbate an already volatile set of circumstances. CPD in particular must face the problems in order
to fix them.


The Tipping Point
On the night of October 20, 2014, the too short and very tragic life of Laquan McDonald ended when
Chicago Police Officer Jason Van Dyke shot him. One of the last officers to arrive at the scene of a call
about someone damaging cars, Van Dyke came out of his vehicle, gun raised and immediately fired off 16
shots. The first shot hit McDonald and he immediately fell to the ground. While he lay motionless, Van
Dyke continued to unload his clip, firing 16 shots in all into McDonald’s body. All of this was captured on
police videotape.

Initial reports of the shooting were superficial and false. The false narrative about the shooting originated
with comments from the scene by former Fraternal Order of Police spokesperson, Pat Camden. Camden
claimed to reporters that:

        “Officers got out of their car and began approaching McDonald, again telling him to drop the
        knife.” “The boy lunged at police, and one of the officers opened fire.”2

        “[O]fficers were forced to defend themselves.”3

        “[McDonald] is a very serious threat to the officers, and he leaves them no choice at that point
        but to defend themselves.”4

The next day CPD put out a statement that said McDonald “refused to comply with orders to drop the
knife and continued to approach the officers.” Camden later acknowledged to the Washington Post that
his information was “hearsay, . . . basically.” “I have no idea where it came from. It was being told to me after it
was told to somebody else who was told by another person, and this was two hours after the incident.”5

Also, other on-scene officers repeated the same false narrative. These officers uniformly said that
McDonald posed an imminent threat immediately before Van Dyke shot him:6

        From P.O. Jason Van Dyke:
        “McDonald was holding the knife in his right hand, in an underhand grip, with the blade
        pointed forward. He was swinging the knife in an aggressive, exaggerated manner. Van Dyke
        ordered McDonald to ‘Drop the knife!’ multiple times. McDonald ignored Van Dyke’s verbal
        direction to drop the knife and continued to advance toward Van Dyke. When McDonald got to
        within 10 to 15 feet of Officer Van Dyke, McDonald looked toward Van Dyke. McDonald raised
        the knife across his chest and over his shoulder, pointing the knife at Van Dyke. Van Dyke



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        believed McDonald was attacking Van Dyke with the knife, and attempting to kill Van Dyke. In
        defense of his life, Van Dyke backpedaled and fired his handgun at McDonald, to stop the
        attack. McDonald fell to the ground but continued to move and continued to grasp the knife,
        refusing to let go of it. Van Dyke continued to fire his weapon at McDonald as McDonald was
        on the ground, as McDonald appeared to be attempting to get up, all the while continuing to
        point the knife at Van Dyke.”

        From P.O. Joseph Walsh, Van Dyke’s partner:
        “Walsh ordered McDonald to ‘Drop the knife!’ multiple times as McDonald approached the
        officers…. McDonald ignored the verbal direction given by both Walsh and Officer Van Dyke,
        and continued to advance toward the officers. When McDonald got to within 12 to 15 feet of
        the officers he swung the knife toward the officers in an aggressive manner. Van Dyke opened
        fire with his handgun and McDonald fell to the ground. Van Dyke continued firing his weapon
        at McDonald as McDonald continued moving on the ground, attempting to get up, while still
        armed with the knife…. Officer Walsh said he believed McDonald was attacking Walsh and
        Officer Van Dyke with the knife and attempting to kill them when the shots were fired.”

        From P.O. Dora Fontaine:
        “Fontaine heard the officers repeatedly order McDonald to ‘Drop the knife!’ McDonald ignored
        the verbal direction and instead, raised his right arm toward Officer Van Dyke, as if attacking
        Van Dyke. At this time Van Dyke fired multiple shots from his handgun, until McDonald fell to
        the ground and stopped moving his right arm and hand, which still grasped the knife.”

        From P.O. Ricardo Viramontes:
        “Viramontes heard Officer Jason Van Dyke repeatedly order McDonald to ‘Drop the knife!’
        McDonald ignored the verbal direction and turned toward Van Dyke and his partner, Officer
        Joseph Walsh. At this time Van Dyke fired multiple shots from his handgun. McDonald fell to
        the ground but continued to move, attempting to get back up, with the knife still in his hand.”

        From P.O. Daphne Sebastian:
        “Officers Joseph Walsh and Jason Van Dyke exited their vehicle and drew their handguns.
        McDonald turned toward the two officers and continued to wave the knife. Sebastian heard
        the officers repeatedly order McDonald to ‘Drop the knife!’ McDonald ignored the verbal
        directions and continued to advance on the officers, waving the knife. Officer Sebastian heard
        multiple gunshots and McDonald fell to the ground, where he continued to move. Sebastian
        did not know who fired the shots….”7

IPRA referred the investigation of the shooting to the Cook County State’s Attorney in November 2014.
Thereafter, by early December 2014, the case had been referred to the U.S. Attorney’s Office and the
Federal Bureau of Investigation. The federal grand jury investigation remains pending.

Not until thirteen months later—after a pitched legal battle doggedly pursued by local investigative
journalists resulted in the court-ordered release of the dash-cam video of the shooting—did the public learn
the truth: McDonald made no movements toward any officers at the time Van Dyke fired the first shot, and



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McDonald certainly did not lunge or otherwise make any threatening movements. The truth is that at the
time Van Dyke fired the first of 16 shots, Laquan McDonald posed no immediate threat to anyone.

The civic outrage that followed gave voice to long-simmering anger not just about McDonald, but the
deaths of others at the hands of the police, including Rekia Boyd, Ronald Johnson and, more recently,
Quintonio LeGrier, Betty Jones and Philip Coleman. The deaths of numerous men and women of color
whose lives came to an end solely because of an encounter with CPD became an important rallying cry.
That outrage exposed deep and longstanding fault lines between black and Latino communities on the
one hand and the police on the other arising from police shootings to be sure, but also about daily,
pervasive transgressions that prevent people of all ages, races, ethnicities and gender across Chicago
from having basic freedom of movement in their own neighborhoods. Stopped without justification,
verbally and physically abused, and in some instances arrested, and then detained without counsel—that
is what we heard about over and over again. Many of those voices came from young people who are on
the frontlines of daily encounters with the police whether on the streets or in schools. Far too many of
our residents are at daily risk of being caught up in a cycle of policing that deprives them of their basic
human rights.

McDonald’s shooting became the tipping point for long-simmering community anger. The videotape was
painful, horrific and illuminating in ways that irrefutably exemplified what those in communities of color
have long said, and shocked and stirred the conscience of those in other neighborhoods. The videotape
itself, the initial official reaction, which but for the efforts of the journalist community likely would have
relegated McDonald’s death to less than a footnote in the over 400 police-involved shootings of citizens
since 2008, coupled with the 13-month delay in the release of the videotape—all underscored and
exposed systemic institutional failures going back decades that can no longer be ignored. These failures
manifest themselves in various ways:

• Death and Injury at the Hands of the Police
• Random But Pervasive Physical and Verbal Abuse By the Police
• Deprivation of Basic Human and Constitutional Rights
• Lack of Individual and Systemic Accountability


The Work of the Police Accountability Task Force
This moment that we are in requires each of us to ask difficult but necessary questions. Questions that
reject the status quo, the accepted way of doing business, and which look beyond an individual incident
to the larger systemic policies, practices and procedures that spawn, support and protect the kind of
corrosive behavior played out every day by the police on the streets.

The Task Force took on this challenge. We heard the chorus of voices from all over Chicago who
demanded answers, accountability and change. In conducting our work, the Task Force has been guided
by a mission adopted early on:

        To lay the foundation for the rejuvenation of trust between the police and the
        communities they serve by facing hard truths and creating a roadmap for real and
        lasting transparency, respectful engagement, accountability and change.




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The Task Force formed five Working Groups consisting of people from all over Chicago to address the
following topics:

Community Relations, focusing on the need to bridge the gulf in relations between the police and the
communities they serve, beginning with a review of the CPD’s policies, procedures and practices with
respect to addressing racism and racial bias, training, community policing, protecting human and civil
rights and accountability and transparency.

Legal Oversight & Accountability, examining impediments to true accountability in the legal
infrastructure, such as state statutes, collective bargaining agreements, general orders and other policies
and procedures, and comparing Chicago’s police oversight system with national best practices and
models in other cities.

Early Intervention & Personnel Concerns, designing a personnel management system that identifies,
rewards and models exemplary conduct while flagging problem behaviors and intervening at the earliest
possible stage.

De-Escalation, addressing how police officers should de-escalate situations to minimize the use of
force, including de-escalation and related issues where officers encounter citizens experiencing mental
health crises.

Video Release Policies, developing a commonsense policy for the release of video, audio and other
evidence related to serious police actions that balances the public’s right to know with law enforcement’s
need to investigate these incidents without compromising critical evidence.

The Working Groups were made up of a broad and diverse range of 46 Chicagoans that included
professionals and subject matter experts, such as those in police training, civil rights and mental health,
as well as elected officials, faith leaders and community activists.8 The collective and individual
contributions have been significant and have enriched the work in innumerable ways. Through its
Working Groups, the Task Force conducted more than 100 discussions with organizations and individuals
with subject matter expertise, experience and relevant information and perspectives to share.9 These
conversations included current and former CPD officers and supervisors, police and other government
officials in other cities, judges and civil rights lawyers, professors, researchers and community activists.10

The Task Force is deeply grateful to all those who participated in this process. The voices of those who
joined us in interviews and discussions, sent comments, letters and position papers, and turned out at
community forums provided the foundation for this work.


Community Engagement
Based on the belief that real and lasting change is possible only when the people most affected by
policing have a voice, community engagement was central to our work. In order to lay the foundation for
building trust between the police and the communities they serve, the Task Force engaged in a robust
community engagement process. That process included:

• Community members as active participants in our Working Groups.
• Individual and small group discussions with subject matter experts.




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• Four community forums for residents to speak directly with the Task Force.
• Reading comments submitted by mail, through the website, by social media and at the forums.
The forums took place on the West, South, and North Sides and in Pilsen and were attended by over 750
residents. In planning the forums, the Task Force reached out to 95 community groups, 63 elected
officials and 83 religious institutions. We also hosted three youth forums with high school students from
throughout the City and discussed their perspectives on interactions with the police, both in their schools
and in their neighborhoods.


How did we get to this point? Some Overarching Findings.

“If you are not severely and wholeheartedly dealing with racism, you are not
 going to get to the bottom of this issue.”11

We arrived at this point in part because of racism.

We arrived at this point because of a mentality in CPD that the ends justify the means.

We arrived at this point because of a failure to make accountability a core value and imperative within CPD.

We arrived at this point because of a significant underinvestment in human capital.

RACISM
The Task Force heard over and over again from a range of voices, particularly from African-Americans,
that some CPD officers are racist, have no respect for the lives and experiences of people of color and
approach every encounter with people of color as if the person, regardless of age, gender or
circumstance, is a criminal. Some people do not feel safe in any encounter with the police. Some do not
feel like they have the ability to walk in their neighborhoods or drive in their cars without being
aggressively confronted by the police. The consistent theme of these deeply-held beliefs came from a
significant cross-section of people: men and women, young, middle-aged and older, doctors, lawyers,
teachers and other professionals, students, and everyday workers. Regardless of the demographic,
people of color loudly expressed their outrage about how they are treated by the police.

These encounters leave an indelible mark. Long after the officer moves on to chase the next call or make
the next stop, the citizen involved remains affected and if the encounter involved physical or verbal
aggression, even if there was no arrest, there is a lasting, negative effect.

The linkage between racism and CPD did not just bubble up in the aftermath of the release of the
McDonald video. Racism and maltreatment at the hands of the police have been consistent complaints
from communities of color for decades. And there have been many significant flashpoints over the
years—the killing of Fred Hampton (1960s), the Metcalfe hearings (1970s), federal court findings of a
pattern and practice of discriminatory hiring (1970s), Jon Burge and his midnight crew (1970s to 1990s),
widespread disorderly conduct arrests (1980s), the unconstitutional gang loitering ordinance (1990s),
widespread use of investigatory stops and frisks (2000s) and other points. False arrests, coerced
confessions and wrongful convictions are also a part of this history. Lives lost and countless more



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damaged. These events and others mark a long, sad history of death, false imprisonment, physical and
verbal abuse and general discontent about police actions in neighborhoods of color.

THE ENDS JUSTIFYING THE MEANS
There are too many neighborhoods in Chicago that are devastated by crime and abject poverty. In those
areas, aside from a recommitment to investments in jobs, education and many other important
community anchors, those residents need the protection of the police. However, CPD’s own data and
other information strongly suggests that CDP’s response to the violence is not sufficiently imbued with
Constitutional policing tactics and is also comparatively void of actual procedural and restorative justice in
the day-to-day encounters between the police and citizens.

CPD’s own data gives validity to the widely held belief the police have no regard for the sanctity of life
when it comes to people of color.

Police Officers Shoot African-Americans At Alarming
Rates: Of the 404 shootings between 2008-2015:12
• 74% or 299 African Americans were hit or killed by
  police officers, as compared with
• 14% or 55 Hispanics;
• 8% or 33 Whites; and
• 0.25% Asians.

For perspective, citywide, Chicago is almost evenly split
by race among whites (31.7%), blacks (32.9%) and
Hispanics (28.9%).13




Police Officers Disproportionately Use Tasers
Against African-Americans: Of the 1,886 taser
discharges by CPD between 2012 and 2015, African-
Americans were the target of those discharges at a very
high rate14:
• 76% or 1,435 African-Americans were shot with tasers;
• 13% or 254 Hispanics;
• 8% or 144 Whites; and
• 0.21% or 4 Asians.




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Beyond the use of force with guns and tasers, CPD’s dependence on investigatory stops as an essential part of
its policing strategy has only served to worsen already fractured community relations.

Traffic Stops: In 2013,

• 46% of 100,676 traffic stops
  involved African-Americans;
• 22% involved Hispanics;
• 27% involved Whites.15




Moreover, black and Hispanic
drivers were searched
approximately four times as
often as white drivers, yet CPD’s
own data show that contraband
was found on white drivers
twice as often as black and
Hispanic drivers.




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Other Street Stops: In the summer of 2014, CPD
stopped more than 250,000 people—93.6 for every
10,000 City residents—in encounters not leading to
arrests.16 (This figure dwarfs the number of stops by
New York City police, which from 2011-2014, stopped
anywhere between 1.6 and 22.9 people per 10,000.)

Of those 250,000 people stopped by CPD in the
summer of 2014,

• 72% were African American;
• 17% were Hispanic;
• 9% were White; and
• 1% were Asian.



A 2015 survey of 1,200 Chicago residents, ages 16 and older, also found significant racial disparities in the
number of police-initiated stops and the perception of abusive police behavior.17 The survey found that
almost 70% of young African-American males reported being stopped by police in the past 12 months,
and 56% reported being stopped on foot.18




The survey found that “[m]ost people stopped by Chicago police are not ticketed, arrested or taken to a
police station.” 19 In addition, the survey established “large racial disparities in the use of force reported by
respondents.”20 The survey revealed that “15% of Blacks and 17% of Hispanics reported being shoved or
pushed around, in contrast to 6% of Whites. [Blacks] were twice as likely as whites to be threatened by a
weapon. Compared to whites, all other groups were at least twice as likely to have been subjected to
some form of force before being released.”21



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The overuse of investigatory stops has left a lingering, negative perception of the police in communities of
color, in part because for people of color, a significant number of those stops also involved actual or
threatened physical abuse.22

FAILURE TO MAKE ACCOUNTABILITY A CORE VALUE AND IMPERATIVE
Going back years, and continuing to the present day, CPD has missed opportunities to make
accountability an organizational priority. Currently, neither the non-disciplinary interventions available
nor the disciplinary system are functioning.

The public has lost faith in the oversight system. Every stage of investigations and discipline is plagued by
serious structural and procedural flaws that make real accountability nearly impossible. The collective
bargaining agreements provide an unfair advantage to officers, and the investigating agencies—IPRA and
CPD’s Bureau of Internal Affairs—are under-resourced, lack true independence and are not held
accountable for their work. Even where misconduct is found to have occurred, officers are frequently able
to avoid meaningful consequences due to an opaque, drawn out and unscrutinized disciplinary process.

Complaints go uninvestigated. From 2011-2015, 40% of complaints filed were not investigated by IPRA
or BIA.




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Arbitrators reduce or void disciplinary
recommendations. In 2015, arbitrators reduced
disciplinary recommendations in 56.4% of cases
and eliminated any discipline in 16.1% of cases.
In total, arbitrators reduced or eliminated
discipline in 73% of cases.




No risk management regarding lawsuits. There continues to be an unacceptably high number of
lawsuits filed against the City and individual police officers every year. Despite this persistent problem,
which results in the outlay of tens of millions of dollars every year, CPD does not employ a systematic tool
for evaluating risk issues identified in lawsuits.




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High number of CPD officers with significant CRs.
The enduring issue of CPD officers acquiring a large
number of Complaint Registers (“CRs”) remains a
problem that must be addressed immediately. From
2007-2015, over 1,500 CPD officers acquired 10 or more
CRs, 65 of whom accumulated 30 or more CRs. It is
important to note that these numbers do not reflect the
entire disciplinary history (e.g., pre-2007) of these
officers.

Any one of these metrics in isolation is troubling, but
taken together, the only conclusion that can be reached
is that there is no serious embrace by CPD leadership of
the need to make accountability a core value. These
statistics give real credibility to the widespread
perception that there is a deeply entrenched code of silence supported not just by individual officers, but
by the very institution itself. The absence of accountability benefits only the problem officer and
undermines officers who came into the job for the right reasons and remain dedicated to serving and
protecting. Sadly, CPD collects a significant amount of data that it could readily use to address these very
troubling trends. Unfortunately, there is no systemic approach to addressing these issues, data collection
is siloed and individual stakeholders do virtually nothing with the data they possess. Simply put, there is
no ownership of the issue within CPD leadership or elsewhere, and thus there have been no substantive
efforts to address these problems which continue to cost taxpayers tens of millions of dollars each year.
These figures demand immediate change.

SIGNIFICANT UNDERINVESTMENT IN HUMAN CAPITAL
The problems that the Task Force has identified have their origins in systemic failings going back many years.
These failings touch:

• Recruitment of Young Officers. Chicago remains one of the most segregated cities in the country.
  CPD recruits from those segregated neighborhoods, but has fallen woefully short in acknowledging and
  addressing the fact that for many young recruits, the Training Academy may be their first substantive
  experience with someone who is of a different race or ethnicity.
• Training Officers To Address Conscious and Unconscious Bias in the Daily Discharge of Their
  Responsibilities. While CPD has made significant strides in addressing cultural literacy in the
  Academy’s Procedural Justice training and Crisis Intervention Team (“CIT”) training, much more needs to
  be done. Fundamentally, there needs to be a real commitment to Constitutional policing strategies and
  tactics that strike the appropriate balance between keeping our communities safe without trampling on
  basic Constitutional and human rights. This important value must be embedded into all training, on an
  annual basis. Serving and protecting cannot mean that the rights of certain communities or individuals
  must be sacrificed.
• Absence of Other Investments. If there is a real commitment to cultural change within CPD, the
  balance will shift when there are adequate resources devoted to training. Currently, aside from annual
  firearms certification and sporadic training sessions, there is no mandatory training on any other topic.



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  This means that after an officer leaves the Academy, he can serve his entire career without ever
  receiving any annual, mandatory training of any kind. An astounding fact, particularly in light of recent
  sea changes in policing strategies and technology.
  What limited post-Academy training happens is primarily delivered through roll-call videos. Roll call was
  derisively described by one officer as “day care,” meaning that officers slept, checked their
  smartphones or otherwise paid little attention to what was happening. Compounding this problem is
  that there are no metrics used to determine the level of comprehension or retention of the topic
  reflected in the video training. What also seems certain is that the level of attention given to the videos
  is not required to be reinforced with any training materials for the roll-call commander and rarely are
  officers afforded an opportunity to ask follow-up questions or otherwise access FAQs or other
  materials to reinforce the training. Also, CPD has a large portfolio of training videos that officers can
  access through a web-based portal, but no effort is made to even track the number of times officers
  access those training videos. And in recent memory, there has been no effort to survey officers to
  assess the areas in which they need training.

  Right now, the community has no role in any of the training done either in the Academy or thereafter.
  Cities across the country recognize that community involvement in training is an important element
  and yet another way to bridge the gap between the police and the communities they serve.

  Also, service as an Academy instructor is not sufficiently valued within CPD and some instructors are
  teaching while under investigation for a range of alleged offenses. The Academy’s physical space is also
  woefully inadequate to meet current and future needs. For example, the recent mandatory Taser
  training is being conducted in the hallways of the Academy because there is simply no other space
  available. The physical structure that houses the Academy is antiquated, cramped and cannot
  accommodate even current needs, let alone the increased training that will be necessary to make real
  cultural change. The constraints of the physical space negatively impact the effectiveness of training.


Other Key Findings By Working Group
COMMUNITY-POLICE RELATIONS
The community’s lack of trust in CPD is justified. There is substantial evidence that people of color—
particuarly African-Americans—have had disproportionately negative experiences with the police over an
extended period of time. There is also substantial evidence that these experiences continue today
through significant disparate impacts associated with the use of force, foot and traffic stops and bias in
the police oversight system itself.

CPD is not doing enough to combat racial bias. Policies need further clarification, as it is not clear whether
and when officers may use race as a factor when initiating stops. While CPD collects a fair amount of data,
little is reported to the public. CPD still has significant work to do to diversify its ranks, especially at
supervisory levels. And more needs to be done to train officers to acknowledge and address their biases
and deploy officers who are culturally competent and have a proper understanding of the communities
they are assigned to serve.

Historically, CPD has relied on the Community Alternative Policing Strategy (“CAPS”) to fulfill its
community-policing function. The CAPS brand is significantly damaged after years of neglect. Ultimately,



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community policing cannot be relegated to a small, underfunded program; it must be treated as a core
philosophy infused throughout CPD.

CPD officers are not adequately equipped to engage with youth. The existing relationship between CPD
and youth—particularly youth of color—is antagonistic, to say the least. Children in some areas of the City
are not only being raised in high-crime environments, but they are also being mistreated by those who
have sworn to protect and serve them.

Finally, CPD is not doing enough to protect human and civil rights. Providing arrestees access to counsel is
a particular problem. In 2014, only 3 out of every 1,000 arrestees had an attorney at any point while in
police custody. In 2015, that number “doubled” to 6. The City’s youth are particularly vulnerable and often
lack awareness of their rights.

LEGAL OVERSIGHT & ACCOUNTABILITY
Chicago’s police accountability system is broken. The system is supposed to hold police officers
accountable to the people they serve and protect by identifying potential misconduct, investigating it and,
when appropriate, imposing discipline. But at every step of the way, the police oversight system is riddled
with legal and practical barriers to accountability.

IPRA is badly broken. Almost since its inception, there have been questions about whether the agency
performed its work fairly, competently, with rigor and independence. The answer is no. Cases go
uninvestigated, the agency lacks resources and IPRA’s findings raise troubling concerns about whether it
is biased in favor of police officers. Up until recently, the agency has been run by former law enforcement,
who allowed leadership to reverse findings without creating any record of the changes. IPRA has lost the
trust of the community, which it cannot function without.

Imposing discipline on officers guilty of misconduct has also been a challenge. Existing policies and the
woefully inadequate oversight regarding how discipline is imposed have allowed far too many officers to
receive little or no discipline even after a complaint is sustained. Discipline is not handed down evenly,
and there are several layers in the process where discipline is often reduced.

The collective bargaining agreements between the police unions and the City have essentially turned the
code of silence into official policy. The CBAs discourage reporting misconduct by requiring affidavits,
prohibiting anonymous complaints and requiring that accused officers be given the complainant’s name
early in the process. Once a complaint is in the system, the CBAs make it easy for officers to lie if they are
so inclined —they can wait 24 hours before providing a statement after a shooting, allowing them to
confer with other officers, and they can amend statements after viewing video or audio evidence. In many
cases, the CBAs also require the City to ignore or even destroy evidence of misconduct after a certain
number of years.

The community has long been shut out of Chicago’s police oversight system. Meaningful engagement
with the community—and giving the community power in the oversight system—is critical to ensuring
that officers are held accountable for misconduct.

Finally, in the current system, there is no entity to police the police oversight system itself. There is no way
to know if existing entities are performing their jobs with rigor and integrity, and no entity is equipped to
identify and address systemic changes regarding patterns and practices of misconduct or bias, or to



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analyze policies and procedures to prevent future problems. Police inspectors general—often called
auditors—have emerged nationally in response to a growing belief that traditional oversight agencies
would benefit from having a second set of eyes to ensure that they perform as they should.

EARLY INTERVENTION AND PERSONNEL CONCERNS
The community is rightfully skeptical that enough is being done within CPD to adequately supervise and
identify officers whose actions are falling short of expectations. There is a general absence of a culture of
accountability within CPD, largely because no one in top leadership has taken ownership of how to
identify and handle problem officers.

CPD currently collects a variety of data on issues related to officer performance—including complaints
and lawsuits—but does little to holistically analyze officer performance and intervene when troubling
patterns emerge. Data collection is incomplete. Distribution, analysis and follow-up is limited.

Although supervisors have potentially-invaluable tools for managing each of the officers under their
charge through a Performance Recognition System and a dashboard program, this monitoring and
intervention system is not working. There are no mandatory requirements that supervisors use the
system to analyze data or intervene in officer misconduct. Review of the data is entirely discretionary—or
it is at least treated that way. Supervisors are not required to input information to explain the data or take
any action in response to the data they receive. As a result, there is no way to know if supervisors are
even using the dashboard, much less how they are using it. There do not appear to be any enforcement
mechanisms to ensure supervisors use the program and, according to our interviews, the system is
considered far from mandatory. In fact, our interviews with officers and supervisory personnel indicate
that the dashboard has not been functional so far in 2016.

In recent years, CPD’s two formal early intervention
programs—the Behavioral Intervention System (“BIS”) and
Personnel Concerns (“PC”)—have rarely been used. In 2007,
276 officers were included in either BIS or PC. Participation
quickly dropped off after FOP filed a grievance against CPD
for certain officers’ inclusion. CPD and FOP settled the
grievance by agreeing to remove officers from the programs.
By 2013, zero officers were being actively managed through
either of those programs. In 2014, only 7 officers were
enrolled in the program. In 2015, 13 officers were enrolled.

There are many national models to design a more effective
early intervention system, including systems mandated by
Department of Justice consent decrees. Chicago has a lot of
catching up to do. Advances in technology and data analysis allow police departments to identify officers
who may be in need of interventions and to respond appropriately. It is imperative that CPD have a
system in place that allows for a 360-degree view of the activity and conduct of its officers. The system
should allow CPD to identify problematic behaviors at the earliest possible instance so that it can get
officers back on track or, if necessary, manage them out of the department before it is too late. This is an
essential component in re-establishing legitimacy with the community.




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DE-ESCALATION
Unfortunately, there have been many examples of CPD encounters with citizens in rountine situations
that have gone tragically wrong. There are also widespread reports from people all over Chicago that
some officers approach these same routine situations with an overaggressive and hostile demeanor,
using racially charged and abusive language. It is critically important that each officer approach every
encounter with a citizen with respect and a commitment to the sanctity of life.

In addition, there have increasingly been situations in which police response to calls involving persons
experiencing mental health crises ended with devastating results. OEMC must be able to identify calls and
encounters that are mental-health related and respond with appropriate resources.

Emergency calltakers and dispatchers are a critical component of mental health crisis response, but they
are ill-equipped to identify mental health calls and dispatch appropriate resources. OEMC personnel
receive only one hour of annual training about crisis intervention and mental health, and their
(understandable) focus on speedy dispatches often hinders accurate identification of mental health calls
and the quality of response.

In 2005, following a series of highly publicized shootings of persons with mental illnesses, CPD
established a CIT program to train officers on addressing individuals in mental health crises. Officers can
take a 40-hour course to become CIT-certified. The CIT program has had a number of positive outcomes,
but only 15% of CPD officers are CIT-certified. This is not enough to ensure that there are enough CIT-
certified officers to respond to mental health calls.

Even when officers have CIT training, they have limited options to divert those living with mental illness to
healthcare providers instead of jail. Currently, the only diversion option is the emergency room at various
hospitals. More often, officers take individuals to Cook County Jail, which has become one of the largest
mental health treatment providers in the nation. When officers do transport individuals to designated
emergency room drop-offs, they often see the same person back in their beat hours or days later, with no
change in their behavior. This is a poor use of manpower and resources.

Police officers are too often the first responders to those living with mental illness and experiencing a
crisis. Most people living with mental illness do not receive treatment, in large part due to the shrinking
mental healthcare safety net. The mental health system focuses on chronic care management for people
who are living with severe, disabling mental illnesses. It does not address early intervention that might
encourage recovery and avoid long-term disability. Without these less intensive, recovery-promoting
services, persons living with mental illness fail to get timely treatment until their symptoms are so severe
as to require costly crisis management.




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VIDEO RELEASE
On February 16, 2016, the Task Force released on an expedited basis a policy for the public release of
video and audio recordings of certain critical incidents involving police officers. The Mayor immediately
adopted the policy. Before the adoption of the policy, the practice in Chicago was generally to withhold
from public release any video recording of a police incident until investigations, whether criminal or
merely disciplinary, were concluded. The absence of a clear, written policy led to inconsistencies,
confusion and mistrust on the part of the public, as well as a proliferation of expensive and time-
consuming litigation conducted under the Freedom of Information Act. In many cases, it also left the
public in the dark about matters of serious public interest.


Where do we go from here?
Task Force Recommendations. The Task Force’s Report contains observations and findings about a
range of issues that likely have never been seen before by the public, or at least never been addressed so
openly. The recommendations, if adopted, will fundamentally change the way in which the public engages
with the police, create more effective oversight and auditing, and create a transparent system of
accountability and responsibility for all stakeholders. We have not solved all problems, but we have
created a blueprint for lasting change.

Our recommendations are designed to address the root causes of the issues facing CPD, IPRA and other
stake holders.


How We Propose to Empower People.
• Create a Community Safety Oversight Board, allowing the community to have a powerful platform
  and role in the police oversight system.
• Implement a citywide Reconciliation Process beginning with the Superintendent publicly
  acknowledging CPD’s history of racial disparity and discrimination, and making a public commitment to
  cultural change.
• Replace CAPS with localized Community Empowerment and Engagement Districts (CEED) for
  each of the city’s 22 police districts, and support them accordingly. Under CEED, district
  Commanders and other leadership would work with local stakeholders to develop tailored community
  policing strategies and partnerships.
• Renew commitment to beat-based policing and expand community patrols so that officers
  learn about and get to know the communities they serve, and community members take an active role
  in partnering with the police.
• Reinvigorate community policing as a core philosophy and approach that informs actions
  throughout the department.
• Evaluate and improve the training officers receive with respect to youth so that they are
  prepared to engage in ways that are age-appropriate, trauma-informed and based in a restorative
  justice model.




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• Require CPD and the police oversight system to be more transparent and release to the public
  incident-level information on arrests, traffic and investigatory stops, officer weapon use and
  disciplinary cases.
• Host citywide summits jointly sponsored by the Mayor and the President of the Cook County Board
  to develop and implement comprehensive criminal justice reform.
• Encourage the Mayor and President of the Cook County Board to work together to develop and
  implement programs that address socioeconomic justice and equality, housing segregation,
  systemic racism, poverty, education, health and safety.
• Adoption of a citywide protocol allowing arrestees to make phone calls to an attorney and/or
  family member(s) within one hour of arrest.
• Implementation of citywide “Know Your Rights” training for youth.


How We Propose to Address the Inadequate Emphasis on
Accountability.
• Create a dedicated Inspector General for Public Safety, which would independently audit and
  monitor CPD and the police oversight system, including for patterns of racial bias.
• Replace the Independent Police Review Authority with a new and fully transparent and
  accountable Civilian Police Investigative Agency, which will enhance structural protections,
  powers and resources for investigating serious cases of police misconduct, even in the absence of
  sworn complaints. The new CPIA should ensure an accessible, professional and supportive complaint
  process.
• Implement a data-driven, best-in-class Early Intervention System for CPD to identify officers with
  problems before they become problems for the community.
• Fundamentally change provisions in the collective bargaining agreements that are impediments
  to accountability, such as allowing for anonymous complaints, eliminating the ability to change
  statements after reviewing video and removing the requirement to destroy complaint records.
• Fully implement the first-in-the-nation written video release policy for officer-involved
  shootings.
• Expand CPD’s body cam pilot program.
• Require that all disciplinary information be provided online so that citizens can track complaints
  and discipline histories.




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How We Propose to Address Other Systemic and Longstanding
Problems.
• Establish for the first time in Chicago a Deputy Chief of Diversity and Inclusion in CPD.
• Implement policies to dismantle the institutionalization of the police “code of silence,” including
  substantial changes to the collective bargaining agreements between the police and the City, ending
  command channel review, reforming the role of CPD supervisors and pattern and practice analysis.
• Establish a smart 911 system for OEMC, allowing residents to pre-enter information on mental
  health or other issues that would be instantly available to OEMC operators.
• Create a multi-layer co-responder system where mental health providers work with OEMC and
  CPD to link individuals to treatment.
• Expand significantly the Crisis Intervention System for CPD and other first responders.
• Create a “Mental Health Critical Response Unit” within CPD that is responsible for mental health
  crisis response functions, training, support, community outreach and engagement, cross-agency co-
  ordination and data collection.
• Create a hotline for CPD members, whether civilian or sworn, to lodge complaints, and develop a
  third-party system for the processing and follow-up of all comments and complaints reported to the
  hotline.

While we address some statistics regarding the use of force by CPD officers, in deference to the U.S.
Department of Justice’s ongoing pattern and practice investigation, we did not conduct a detailed analysis
of CDP’s use of force practices. But as statistics on police shooting of civilians, taser discharges and other
troubling practices like shooting at cars, at the backs of fleeing suspects and the range of off-duty
incidents involving weapons discharges all make plain, there must be a fundamental re-thinking of the
current use-of-force policies. The Task Force heard over and over: just because you can use force, does
not mean you should use force. The community must also be at the table for this conversation. The
primary guiding principle of CPD’s use of force policies and practices must be sanctity of all lives.

The full list of recommendations can be found throughout the Task Force Report as well as in stand alone
recommendation checklists in the appendices.


Next Steps
The publishing of this Report is a point of departure for the next phase of work in fixing the system of
policing in Chicago. This report is just a blueprint of the work necessary to reform structures that have for
too long gone on unchecked and fundamentally unchanged. The citizens, elected officials and others in
public life in Chicago now must take this report and act on it. We have outlined many steps that will
require decisions, planning and action from many different actors, including the Mayor, City Council and
CPD. Moreover, to make fundamental change, a broad range of stakeholders—including Cook County
bodies, State legislators, community and faith organizations, advocates, philanthropic organizations and
the community—all need to embrace the need for change and do their part.




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For the Mayor and City Council, we expect that policies, ordinances and procedures will be adopted in the
next 90 to 180 days to take aggressive steps to implement the recommendations within this Report. We
hope that someone within each branch of government will lay out a timeline for delivering what we have
outlined as necessary, and set up an accountability structure for ensuring that action is taken and
changes are implemented. For CPD, there is much that can be done immediately and it will only inure to
the benefit of the new leadership to adopt as many changes—including both policies and practices—
described here, as quickly as is practicable. We encourage Cook County and State legislators to join the
effort, as policing reform in Chicago impacts both the region and state, and many of our
recommendations affect other areas of Illinois.

The challenge is broader but no less important for advocates, community and faith organizations,
philanthropy and the broader community. From this moment we hope that these individuals and groups
will push for and demand that the police accountability system in Chicago change, whether they agree
with our recommendations or not. We further hope that all who have labored over or otherwise been
affected by these issues will continue to ensure that their voices are heard in this debate and that this
moment for change does not pass. Finally, we hope that these bodies will think about and consider a
design for the path ahead. The Task Force cannot say exactly what should happen next in this debate. It is
to the government and the people of Chicago—through the bodies outlined above and others—to
determine where we go from here.


Is Real Reform Possible?
Reform is possible if there is a will and a commitment. But where reform must begin is with an
acknowledgement of the sad history and present conditions that have left the people totally alienated
from the police, and afraid for their physical and emotional safety. And while many individuals and
entities have a role to play, the change must start with CPD. CPD cannot begin to build trust, repair what
is broken and tattered unless—from the top leadership on down—it faces these hard truths,
acknowledges what it has done at the individual and institutional levels and earnestly reaches out with
respect. Only then can it expect to engage the community in a true partnership.




Endnotes
1
    Comment from Sullivan High School Community Forum (Feb. 25, 2016).
2
    Quinn Ford, Cops: Boy, 17, Fatally Shot by Officer After Refusing to Drop Knife, Chicago Tribune (Oct. 21, 2014), available at
    http://www.chicagotribune.com/news/local/breaking/chi-chicago-shootings-violence-20141021-story.html.
3
    Id.
4
    CBS2 Chicago, Marissa Bailey reporting (Oct. 21, 2014); ABC7 Chicago, Tanja Babich reporting (Oct. 21, 2014).
5
    Mark Berman, Why Did Authorities Say Laquan McDonald Lunged at Chicago Police Officers? Washington Post (Nov. 25, 2015),
    available at https://www.washingtonpost.com/news/post-nation/wp/2015/11/25/why-did-authorities-say-laquan-mcdonald-lunged-
    at-chicago-police-officers/.
6
    As reported by Detective David Marsh who interviewed the various responding officers, including Van Dyke. See Case
    Supplementary Reports, available at http://www.nbcchicago.com/investigations/Laquan-McDonald-Police-Report-Dashcam-
    360644211.html.
7
    All of these officers and others are the subject of an investigation being conducted by the City’s Office of Inspector General.




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8
    The Working Group members are identified in Appendix 2.
9
    The Civic Consulting Alliance provided invaluable staffing to support the Task Force. The research team disseminated hundreds of
     law enforcement policies from across the nation, consent decrees involving other cities and research reports from a variety of
     leading experts and organizations. As part of its work, the Task Force also made over 100 data and document requests to the City
     of Chicago. Many are available on the Task Force website at https://chicagopatf.org/resources/research-documents/
10
     The individuals interviewed by the Working Groups are identified in Appendix 3.
11
     Comment from Pamela Hunt, Mt. Vernon Baptist Church Community Forum (Feb. 2, 2016).
12
     Data provided by IPRA.
13
     United States Census Bureau, QuickFacts, Chicago, Illinois, available at http://www.census.gov/quickfacts/table/PST045215/1714000.
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     content/uploads/2014/12/Report-re-CPD-traffic-stops-in-2013.pdf.
16
     Stop and Frisk Practices in Chicago, ACLU of Illinois (Mar. 2015), available at http://www.aclu-il.org/wp-
     content/uploads/2015/03/ACLU_StopandFrisk_6.pdf.
17
     Wesley G. Skogan, Chicago Community Survey, Preliminary Survey of Findings (Dec. 29, 2015). The survey respondents were
     “selected from randomly chosen residential addresses throughout the city. They were questioned in their homes by professional
     interviewers from the Survey Research Laboratory of the University of Illinois-Chicago.
18
     Id.
19
     Id.
20
     Id.
21
     Id.
22
     Id.




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Context
Before addressing the Task Force’s findings and recommendations, it is important to set the context for
our work. While we were doing our work, the U.S. Department of Justice was investigating CPD as well. We
are also not the first “task force” to evaluate CPD, which has a history of great accomplishment as well as
scandal resulting in reform efforts. Moreover, many of the issues discussed in this report are not unique
to Chicago, as issues of race and policing have received significant national attention in recent years. At
the same time, policing in Chicago involves several overarching challenges that must be taken into
account. Finally, a basic understanding of CPD’s current structure, training and promotion system is
important to contextualize the issues addressed in this report.


U.S. Department of Justice Investigation
On December 7, 2015, six days after Mayor Emanuel appointed the Task Force, the U.S. Department of
Justice announced that it had opened a civil pattern or practice investigation into CPD. By statute, it is
unlawful for police “to engage in a pattern or practice of conduct … that deprives persons of rights,
privileges, or immunities secured or protected by the Constitution or laws of the United States.”23 The
Department of Justice can bring civil suits for relief “to eliminate the pattern or practice.”24 The
Department of Justice notified CPD that its investigation “will focus on CPD’s use of force, including racial,
ethnic and other disparities in use of force, and its systems of accountability.”25 Given the Department of
Justice’s focus, the Task Force has not conducted a detailed analysis of CPD’s use-of-force practices.

A pattern or practice proceeding is a powerful tool, but the process “typically takes years” from start to
finish.26 From 2009-2015, the Department of Justice opened 23 pattern or practice investigations. Of the
larger police departments investigated, the first stage of the process alone—investigating and issuing
findings—took anywhere from eight months to three plus years: Cleveland Division of Police (19 months);
Las Vegas Metropolitan Police Department (8 months); Miami Police Department (20 months); New
Orleans Police Department (10 months); Newark Police Department (38 months); Seattle Police
Department (9 months); and Baltimore Police Department (11 months and counting). The implementation
of remedies takes more time. And CPD is far larger than any of these departments.

The Task Force views its findings and recommendations as complementary to the Department of Justice’s
ongoing investigation. Given the likely length of the federal process, the Task Force’s report presents an
opportunity to begin immediately the process of improving transparency, respectful engagement and
accountability. Since early December, the Department of Justice has been well aware of the scope of the
Task Force’s work. With the issuance of this report, the Department of Justice can decide whether and
how to take the Task Force’s findings and recommendations—and the City’s and CPD’s efforts to
implement them—into account when it releases its own findings.




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Prior Task Forces
CPD dates back to 1835, when the Town of Chicago was first authorized to establish its own police force.
The City of Chicago was incorporated two years later. Since then, CPD has not been immune to the
corruption that has often plagued City government.

We are at least the sixth “task force” to recommend reforms to CPD. These reform efforts typically
occurred in response to corruption-related scandals. Though some of these reforms led to the police
oversight system that is in place today, few if any prior task forces have been charged with broadly
reviewing community-police relations and the patchwork oversight system that has developed over time.
Nonetheless, there are a number of issues and themes associated with these prior reform efforts that
resonate today. This Task Force has a unique opportunity to ensure that CPD and its oversight system are
structured to ensure that the core values of respectful engagement and accountability are given the
priority they deserve.

The first body commissioned to review CPD that we identified dates back to 1898. At that time, Governor
Tanner appointed the “Berry Committee” to examine the City’s compliance with a civil service law that was
supposed to ensure that positions in CPD were filled based on merit.27 The Berry Committee concluded
that “the administration now in force in Chicago is unalterably opposed to the merit system and has done
everything in its power to destroy the law and nullify its provisions and has made it a mockery, a byword
and a sham.”28 The administration “remove[d] from office competent and capable men without any cause,
in order to appoint their own friends to office,” leading to the appointment of “many men of unsavory
reputation and mental and physical unfitness.”29 The Berry Committee found that CPD “should be
removed … as far as possible[] from politics” and that police officers should “be retained alone upon their
merits and discharged only for cause.”30

In 1911, Mayor Harrison directed the Chicago Civil Service Commission to investigate connections
between CPD and “various criminal classes,” including gamblers.31 The Commission found that “there is,
and for years has been, a connection between [CPD] and the various criminal classes in the city of
Chicago.”32 Because gambling was so widespread, CPD’s “Gambling Squad itself was not above suspicion,
either on account of palpable stupidity or deliberate collusion with the gambling fraternity.”33 The
Commission also noted lax discipline throughout CPD, finding that “[i]f there is one great fault in [CPD], it
is the fact that to a large extent the sergeants do not exercise that degree of authority and responsibility
which their title and increased pay demands.”34 The Commission recommended a number of actions to
address its findings. Among them, it recommended that “the Police Pension Law be revised so as to
prevent payment of pensions to persons discharged from the force.”35

In 1960, Mayor Richard J. Daley appointed a committee to recommend ways to modernize and
professionalize CPD in response to what was then described as “the mother of all scandals.”36 A group of
eight CPD officers from the Summerdale District on Chicago’s North Side had been caught operating a
large-scale burglary ring.37 (Unfortunately, calling Summerdale the “mother” of all scandals proved
prophetic as other officers have been caught engaging in criminal conduct over the years.) The head of
the committee was Orlando Wilson, the Dean of the School of Criminology at the University of California.




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The Summerdale scandal brought about a significant reorganization and transformation of CPD into a
“professional” police force.38 The committee nominated Wilson to serve as Superintendent of Police, a
position he held for seven years. Wilson promptly turned over the top command and made CPD more
independent of partisan political influences. The committee also recommended the establishment of a
five-member Police Board to nominate candidates for superintendent vacancies, adopt rules and
regulations for CPD, prepare budgets and address recommendations for officer discipline in serious
cases. This body would ultimately become today’s Chicago Police Board.

In the early 1970s, CPD faced increasing allegations of police brutality, particularly in African-American
communities. In response, Congressman Ralph Metcalfe convened a “Blue Ribbon Panel” to report on
“The Misuse of Police Authority in Chicago.”39 The panel heard testimony concerning “many instances of
grossly abusive conduct on the part of Chicago policemen,” which “poison[] police-community relations.”40
The panel found that CPD used fatal force more frequently than in other big cities, and that 75% of those
killed were black.41 It also noted “the false arrests, the illegal searches or the more common kind of
psychological violence that occurs daily, especially in exchanges between police and minorities and young
people. Very few young Blacks and Browns have been spared the experience of having to swallow their
pride and take a bullying insult from a police officer.”42

And yet, the Metcalfe panel found, “complaints from citizens of abusive conduct by police are almost
universally rejected by [CPD’s] self-investigation system.”43 Excessive force complaints were sustained in
only 1.4% of cases.44 This led the panel to recommend that “an entirely new independent investigating
agency, reporting its factual findings to the Police Board for imposition of discipline … should be
created.”45 The panel’s recommendation led to the establishment of the Office of Professional Standards
(“OPS”) in 1974. (In 2007, OPS was replaced by the Independent Police Review Authority.) The panel also
recommended increasing the size of the Police Board from five to fifteen to promote “genuine,
representative public participation.”46 The board was ultimately enlarged to nine members.

In 1997, Mayor Richard M. Daley appointed the Commission on Police Integrity to examine the root
causes of police corruption, review how other urban police departments approach the issue and propose
changes to CPD policies and procedures. Prominent attorney Dan Webb headed the commission, and
served along with then-Assistant State’s Attorney Anita Alvarez, Sharon Gist Gilliam, former CPD
Superintendent Fred Rice and Brian L. Crowe. The mayor appointed the commission after a group of
seven CPD officers from the Austin District (15th) on Chicago’s West Side were indicted for robbing and
extorting money and narcotics from drug dealers. Another three officers from the Gresham District (6th)
were indicted for conspiracy to commit robbery and sales of illegally confiscated narcotics.

The 1997 Commission on Police Integrity made a number of recommendations. The recommendations
included: (1) increasing the minimum requirements for new recruits to a bachelor’s degree and one year
of work history; (2) overhauling the field training officer program and extending the probationary period
for new officers from 12 to 18 months; (3) establishing an “early warning” system to alert command
personnel when an officer may be involved in a pattern of misconduct; (4) implementing a range of
management improvements, including emphasizing supervisor accountability and expanding training for
new Sergeants; and (5) implementing continuing education or in-service training for officers.47 Some of
these recommendations were implemented. Unfortunately, other recommendations were not addressed
and still need attention, as we discuss in more detail below.



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National & Local Conversation on Policing
In a large urban environment like Chicago, race matters in policing. In recent years in particular, race and
policing have received significant public attention, often in response to officer-involved shootings and
other tragic incidents affecting people of color. Information about these incidents can spread quickly over
social media, especially if part of the incident is captured on video, an increasingly frequent occurrence.
These incidents have sparked national attention and discussion, sometimes leading to violent protests.

In Ferguson, Missouri, Officer Darren Wilson shot and killed Michael Brown, 18.

In Cleveland, Ohio, Officer Timothy Loehmann shot and killed Tamir Rice, 12.

In Baltimore, Maryland, Freddie Gray died after sustaining spinal cord injuries while he was transported in
a police van after his arrest for possessing an allegedly illegal switchblade.

In New York City, Eric Garner died after Officer Daniel Pantaleo put him in a chokehold while arresting
him on suspicion of selling loose cigarettes.

In the wake of Ferguson and other events, President Obama appointed a Task Force on 21st Century
Policing. The 21st Century Policing Task Force was charged with identifying best practices and offering
recommendations on how policing practices can promote effective crime reduction while building public
trust. The 21st Century Policing Task Force made a variety of recommendations organized around six
“pillars”: building trust and legitimacy, policy and oversight, technology and social media, community
policing and crime reduction, officer training and education and officer safety and wellness.48 These
recommendations address many of the same topics at issue in this report, and will be discussed in more
detail later.

Chicago has had its own share of officer-involved shootings. While these shootings have declined over the
past five years, of the 404 shootings by police officers between 2008 and 2015,49 299 or 74% of the victims
shot or killed were black. Thus, little has changed since the early 1970s when the Metcalfe panel found
that 75% of those killed by CPD were black.

IPRA investigated all of these shootings and deemed nearly all of them justified. The justifications for
these historic shootings have been repeatedly called into question. IPRA recently announced the hiring of
outside experts to “audit … closed officer-involved shooting investigations . . . to assess the quality of the
investigative process and the accuracy of the findings and outcomes.”50

Some of these shootings—in addition to Laquan McDonald—have raised significant public concern. On
March 21, 2012, Rekia Boyd, 22, was shot and killed by off-duty CPD detective Dante Servin. After warning
a group of people about talking too loudly, Servin fired at them from his car as they turned to walk away.
Boyd was struck in the head and killed. Servin claimed that he thought he saw a gun, but it turned out to
be a cell phone. Servin was charged with involuntary manslaughter, which applies in cases of
recklessness. In an odd twist, the court dismissed the involuntary manslaughter charge because it
deemed Servin’s alleged conduct intentional (not reckless) and suggested that Servin could have been
charged with first-degree murder. Proceedings are underway to terminate Servin’s employment with CPD,
and the City paid $4.5 million to settle a lawsuit by Boyd’s family.51




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On December 26, 2015, Quintonio LeGrier, 19, made three 911 calls seeking help concerning a fight with
his father. Officers were dispatched only after LeGrier’s father made his own 911 call reporting that
LeGrier was threatening him with a baseball bat. LeGrier had a history of mental illness that went
undetected by 911 operators. What happened next when police arrived on the scene is not clear. But
Officer Robert Rialmo shot and killed LeGrier. A neighbor, Betty Jones, 55, was also struck and killed. In
one final twist, Rialmo has responded to a civil suit filed against him by counterclaiming against LeGrier’s
estate for assault and infliction of emotion distress. Rialmo asserts that “forc[ing] Rialmo to end LeGrier’s
life” and Jones’s as well caused “Rialmo to suffer extreme emotional trauma.”52


Broader Challenges Facing Chicago
Diversity and Segregation. Chicago is one of the most diverse cities in the nation. Citywide, Chicago is
almost evenly split by race among whites (31.7%), blacks (32.9%) and Hispanics (28.9%). Chicago has a
significant Asian population (5.5%) as well.53 Chicago is also home to a wide variety of ethnic groups from
across the globe. Chicago’s great cultural diversity is often considered one of its greatest strengths.

At the same time, many of Chicago’s neighborhoods are heavily segregated. This segregation dates back a
century or more, as segregation enforced by law gave way to de facto segregation.54 While at least certain
neighborhoods are gradually integrating, Chicago still consistently rates as one of the most segregated
big cities in the United States.55 For example, 19 of Chicago’s 77 “community areas” are at least two-thirds
white, 26 are at least two-thirds black and 10 are at least two-thirds Hispanic. Many of Chicago’s black
citizens remain particularly isolated. Twenty community areas are at least 90% black, and 12 are at least
95% black (led by Burnside at 99.4%, Auburn Gresham at 98.5% and Washington Park at 98.1%).56

Because many neighborhoods are predominantly white, black or Hispanic, residents are often largely
isolated from other races and ethnic groups. This segregation poses particular challenges for younger
police officers, whose early assignments to certain neighborhoods may be their first significant
experience interacting with different racial and ethnic groups and understanding the culture of
communities different from their own.

Poverty and Unemployment. Citywide, 22.1% of Chicagoans live in poverty, 10.1% live in extreme
poverty and 12.9% are unemployed. These figures are roughly in line with other big cites. Not surprisingly,
however, Chicago’s highest-crime neighborhoods have even higher rates of poverty and unemployment.
In Austin, which is 86.4% black, 30.6% live in poverty, 13.0% live in extreme poverty and 22.6% are
unemployed. In North Lawndale, which is 92.5% black, 45.3% live in poverty, 25.4% live in extreme poverty
and 21.2% are unemployed. In Roseland, which is 96.6% black, 23.3% live in poverty, 12.7% live in extreme
poverty and 20.3% are unemployed. And in West Englewood, which is 95.1% black, 39.8% live in poverty,
19.1% live in extreme poverty and 35.9% are unemployed.57

These same neighborhoods are ravaged by violent crime. In Austin (population 98,162), in 2013 and 2014,
there were 3,341 violent crimes, including 67 homicides, 219 non fatal shootings and 725 armed
robberies with guns. In North Lawndale (population 36,074), there were 1,859 violent crimes, including 27
homicides, 110 non fatal shootings and 315 armed robberies with guns. In Roseland (population 45,285),
there were 1,586 violent crimes, including 27 homicides, 119 non fatal shootings and 376 armed




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robberies with guns. And in West Englewood (population 35,294), there were 1,831 violent crimes,
including 48 homicides, 175 non fatal shootings and 316 armed robberies with guns.58

Chicago has many neighborhoods where there is an alarming lack of jobs as well as a dearth of basic
community services and anchors like decent schools, day care, churches, community centers, parks or
grocery stores. As a result, many of these communities lack hope or the tools to break the vicious cycle of
poverty and crime. Given the myriad social problems plaguing these neighborhoods, police officers are
often ill-equipped to address many of these communities’ needs. Yet they are frequently expected to do so.

Illegal Guns. Chicago also has a significant gun violence problem. In recent years, CPD has recovered
significantly more guns used in crimes per capita than New York City and Los Angeles combined. In 2012,
Chicago recovered 27.7 crime guns per 10,000 residents, compared to 12.2 by Los Angeles and 3.9 by
New York City.59 The number of gun recoveries is even more striking in Chicago’s highest-crime
neighborhoods. In 2013 and 2014, CPD recovered 58.9 crime guns per 10,000 residents in Austin, 115.2 in
West Englewood, 111.4 in Roseland and 120.6 in North Lawndale.60

These differences in gun recoveries cannot be explained by superior policing strategies or the devotion of
more resources in Chicago compared to Los Angeles and New York City. Chicago simply has more guns
used in crimes. In 2011, while Chicago, Los Angeles and New York City had similar non-gun homicide rates
(between 1.90 and 2.67 per 100,000 residents), Chicago significantly outpaced Los Angeles and New York
City for gun-related homicides: 13.39 per 100,000 residents compared to 5.93 and 3.84, respectively.61
And while Chicago has strict gun laws, certain areas of the City are literally ringed by suburban gun shops,
and guns can easily be procured in neighboring states like Indiana and Wisconsin, as well as through an
entrenched pipeline of illegal guns coming from southern states.

The proliferation of guns inevitably raises the stakes for police-citizen encounters and fundamentally
changes the dynamic of policing.


Basic Facts About CPD’s Structure
A Chicago police officer’s job is also affected by the internal structure and operations of CPD itself. A
police officer must interact not only with members of the community, but also with his or her supervisors,
subordinates and colleagues. Below, we provide a brief overview of CPD’s structure and its hiring, training
and promotion processes. This overview provides further context to the findings and recommendations
later in this report.

CPD is the second-largest police department in the United States, with 12,500 budgeted sworn officers. It
trails only New York City’s (34,454 sworn officers). After Chicago, the next largest police departments are
in Los Angeles (9,920), Philadelphia (6,515), Houston (5,295), Washington DC (3,865), Dallas (3,478),
Phoenix (2,952), Baltimore (2,949) and Miami-Dade (2,745).62

The Superintendent of Police, along with his First Deputy Superintendent, are in charge of administering
and directing CPD’s operations. The Superintendent and First Deputy manage four Bureaus—Patrol,
Detectives, Organized Crime and Support Services—each of which is commanded by a Chief and between
one to six Deputy Chiefs.63




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Patrol is by far the largest Bureau in CPD. It is responsible for general field operations, including the
protection of life and property, apprehension of criminals and enforcement of traffic laws and ordinances.
Within Patrol, Chicago is divided into 22 districts, organized into three Areas (North, South, and Central).
Each Area is commanded by a Deputy Chief, and each district is run by a Commander.64 Within each district,
under the Commander, there are Captains, Lieutenants, Sergeants and Police Officers.

Every few years, CPD accepts applications for entry-level officers. The process begins with a written exam.
Applicants who pass the test are then placed in a lottery for further consideration, with preferences for
certain groups (e.g., military veterans, Chicago Public School graduates). If selected, applicants are
subjected to a physical fitness test, drug screening, medical exam, background investigation and
psychological evaluation. If an applicant makes it through the screening process, he or she then enters
the Police Academy. A year or more can pass between the time an applicant takes the written exam and
the start of the Academy, depending on the availability of Academy slots. This lengthy lag time can defeat
recruitment efforts to diversify Academy classes.

Overall, about 15% of applicants who start the hiring process make it to the Academy, at which point they
become Probationary Police Officers (“PPOs”). In the Academy, PPOs receive six months of formal training
(between 900 and 1,000 hours). The Academy graduates 70-75 person classes every few months. At the
time of hire, new officers must be 21 years old and have at least 60 semester hours from an accredited
college or university (with exceptions for military service). Thus, the typical Academy graduate is in his or
her early-to-mid 20s and has at least some college education, if not a degree.

After graduating from the Academy, CPD recruits remain PPOs for another 12 months (18 months total).
During that time, PPOs remain “assigned” to the Academy. The PPOs are assigned to work with field
training officers (“FTOs”) for training in three cycles (often 28 days per cycle) in varying districts. The PPOs
are then detailed to particular districts to complete their probationary periods. The starting annual salary
when a PPO begins the Academy is $46,668. After 12 months, PPOs are paid $66,606. After 18 months,
when the probationary period ends, newly-minted officers receive an annual salary of $70,380.65

After the probationary period, a new officer is assigned to a particular district for permanent assignment.
A small number of officers who achieved academic and other distinctions in the Academy get to choose
their initial district assignment. Upon assignment to a district, the Commander assigns officers to
particular watches and beats. After the initial assignment, an officer may transfer to another district
pursuant to a bidding process.

Non-supervisory officers and detectives are represented by the Fraternal Order of Police (“FOP”) and are
covered by FOP’s collective bargaining agreement with the City. The agreement governs watch and beat
assignments, as well as the bidding process for transfers. Under the agreement, these processes are
generally based on seniority, which means that new officers often end up in high-crime beats and the
most difficult watches.

Officers are supervised by Sergeants. According to their job description, Sergeants are expected to
prepare officers for duty and roll call, monitor officer activity, provide guidance on how to handle
incidents, monitor adherence to procedures and ensure that officers are carrying out assigned
responsibilities. Sergeants are also responsible for reviewing and evaluating officers’ performance and
administering counseling, development and corrective action. Sergeants must report significant incidents




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up the chain of command and conduct activities related to internal and complaint investigations and
employee grievances.66

As of January 1, 2016, CPD had 1,094 Sergeants. Sporadically, CPD takes applications for Sergeants.
Officers are eligible for promotion based on the results of a written exam and assessment exercise. Up to
30% of Sergeant promotions can be made through a merit selection process as well. At the time of
promotion, Sergeants must have served at least five years as officers. Notably, an officer’s disciplinary
record is not considered in the Sergeant promotion process.67 In addition, the promotion criteria does not
include an assessment of an individual’s ability to mentor or otherwise manage the health and well-being
of officers or other accountability measures like citizen or administrative complaints or interventions.
Sergeants are represented by the Policemen’s Benevolent & Protective Association of Illinois, Unit 156-
Sergeants, and have their own collective bargaining agreement with the City.

Sergeants are supervised by Lieutenants. According to their job description, the Lieutenant serves as the
officer in charge of a unit or section during an assigned tour of duty. Among other things, Lieutenants are
expected to (i) ensure that Sergeants evaluate, guide and instruct officers as needed, (ii) coach and
mentor subordinates, (iii) maintain an environment in which clear standards exist for acceptable behavior
and performance and (iv) monitor and ensure compliance with investigative guidelines regarding
complaint, disciplinary and summary punishment procedures.68

As of January 1, 2016, CPD had 187 Lieutenants. Sporadically, CPD takes applications for Lieutenants.
Sergeants are eligible for promotion to Lieutenant based on the results of a written exam and assessment
exercise. Again, up to 30% of Lieutenant promotions can be made through a merit selection process as
well. At the time of promotion, Lieutenants must have served at least three years as a Sergeant. They also
must have a bachelor’s degree. Notably, a Sergeant’s disciplinary record (and the disciplinary record of
the officers he or she supervises) is not considered in the Lieutenant promotion process.69 Lieutenants
are represented by the Policemen’s Benevolent & Protective Association of Illinois, Unit 156-Lieutenants,
and have their own collective bargaining agreement with the City.

CPD also has 31 Captains, who supervise the Lieutenants.70 A Captain is the second in command of a
district (beneath the Commander), or may serve as an executive officer of another unit. Among other
things, Captains assist the District Commander in operations, administration, planning, identification of
emerging crime trends and preparing strategic plans to address crime and disorder issues impacting
the community.

The Superintendent is responsible for selecting Captains. To be eligible, a candidate must have at least
two years’ experience as Lieutenant at the time of promotion. A candidate also must have “an
acceptable disciplinary record” at the time of application, meaning that the record “cannot include any
sustained Complaint Register (“CR”) investigations for misconduct resulting in suspensions of more
than 7 days during the prior 12 months, or 3 or more sustained CR investigations resulting in
suspensions of any length during the past 5 years.71 This is the only instance in which disciplinary
records are considered during the promotion process. Captains are represented by the Policemen’s
Benevolent & Protective Association of Illinois, Unit 156-Captains, and have their own collective
bargaining agreement with the City.




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After an officer leaves the Academy, aside from annual firearms certifications, there are no mandatory
annual training requirements for the rest of that officer’s career. To be sure, occasional trainings are
sometimes put in place, such as the recent Taser training, but those kinds of trainings appear to be
reactive and not part of a regular regime of in-service mandatory training. In addition, years ago CPD
started a series of streaming video training to be used during roll calls. Some of these videos are well
produced and provide excellent content. However, there is no program in place to ensure that they are
consistently used.




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Community-Police Relations
“The ability of the police to perform their duties is dependent upon
 public approval of police existence, actions, behavior and the ability of
 the police to secure and maintain public respect.”
                                                    Sir Robert Peel, Principles of Law Enforcement, 1829


“Injustice anywhere is a threat to justice everywhere. We are caught in
 an inescapable network of mutuality, tied in a single garment of
 destiny. Whatever affects one directly, affects all indirectly.”
                                                                               Martin Luther King, Jr., 1963


“When you have police officers who abuse citizens, you erode public
 confidence in law enforcement. That makes the job of good police
 officers unsafe.”
                                                                                  Mary Frances Berry, 1999


How have CPD’s actions created mistrust in communities of color?
The lack of trust between the police and the communities they serve—especially communities of color—is
one of the most significant issues facing CPD today. At each of its community forums, the Task Force
heard a large and diverse group of Chicago residents express their deeply held view that racism, or at
least racial bias, is the root cause of the lack of trust between CPD and minority communities. People of
color articulated instance after instance in which police officers interacted with them in disrespectful and
sometimes outright racist ways. The forums provided a window into the intense sadness, pain and
frustration the community feels as a result of their first-hand experiences with CPD. Indeed, recent polling
suggests that only 20% of Chicagoans—including just 6% of African-Americans—believe CPD treats all
citizens fairly.72

The community’s lack of trust in CPD is justified. There is substantial evidence that people of color—
particularly African-Americans—have had disproportionately negative experiences with the police over an
extended period of time. There is also substantial evidence that these experiences continue today
through enforcement and other practices that disproportionately affect and often show little respect for
people of color. CPD’s long history and current practices are at the root of the deep distrust of the police
and remain a significant impediment to improved community-police relations.




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RACISM & RACIAL BIAS IN POLICING – HISTORY
In recounting the history of race and policing, it is difficult to pick a starting point. We could go back a
century or more. Between 1910 and 1940, Chicago’s black population increased from 40,000 to 278,000
as many black families moved to Chicago as part of the Great Migration.73 Many families moved to
Chicago to escape increasing racism and violence in the South, undoubtedly taking scars and distrust with
them.

Chicago had its own race issues. In 1919, race riots broke out after white men threw rocks at black
swimmers at a South Side beach for violating the unofficial segregation of Chicago’s beaches, causing the
death of Eugene Williams, 17. The police’s refusal to arrest a white offender sparked weeks of violence,
leaving 38 dead, over 500 injured, and 1,000 black families homeless.74 By the 1930s, 90% of Chicago’s
black residents were confined to a narrow four-block strip on the South Side known as the “Black Belt.”75
Blacks who tried to move elsewhere were often met with vandalism, arson and other acts of violence.76
This violence would not have been possible without at least tacit support of the police.

While acknowledging this older history, we focus below on some salient events and trends in Chicago
policing over the past 50 years. This review captures some of the key incidents and practices which many
of today’s residents experienced or witnessed first hand, directly shaping their views of CPD. Some are
examples of intentional mistreatment of people of color. Others are examples of well-intentioned
practices that nonetheless had a significantly disparate impact in Chicago’s minority neighborhoods.

Fred Hampton. One of the most notorious flash points in the racial dynamics between the police and
communities of color was the shooting of Fred Hampton. At 4:45 a.m. on December 4, 1969, 14 CPD
officers attached to the Cook County State’s Attorney’s Office executed a search warrant at an apartment
where nine members of the Illinois Black Panther Party were staying. After seven minutes of gunfire,
Hampton, 21, and another Panther, Mark Clark, 22, were dead. Hampton was the charismatic and
controversial Chairman of the Illinois Black Panthers. To many in the black community, the raid was little
more than a pretext to kill Hampton.

The events of that morning were hotly disputed. A federal grand jury ultimately found that the raid was
“not professionally planned or properly executed.”77 The grand jury was also troubled by an
“irreconcilable disparity” between officers’ accounts of the raid and the physical evidence.78 While officers
claimed that the Panthers fired at them at least 10-15 times, ballistics showed that all but one of the 80-
100 shots fired that morning came from the police.79 The grand jury did not indict the officers (largely
because the surviving Panthers had not cooperated in its investigation), though it concluded that the
officers’ performance “gives some reasonable basis for public doubt of their efficiency or even of their
credibility.”80

A state grand jury later indicted State’s Attorney Edward Hanrahan and the raiding officers for obstruction
of justice based on their actions and statements after the raid. They were ultimately acquitted in a bench
trial, but Hanrahan lost re-election in 1972 and would not hold public office again. Hampton’s and Clark’s
families and several Panthers who survived the raid filed a federal civil rights suit. After many years of
litigation, including an 18-month trial,81 the City agreed in 1982 to settle the plaintiffs’ claims for $1.85
million (the equivalent of roughly $4.5 million in today’s dollars, a not-insubstantial sum).




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Disorderly Conduct Arrests. In the early 1980s, a Chicago Reporter investigation found that CPD was
making approximately 150,000 “disorderly conduct” arrests each year, predominantly in minority
communities. What constituted disorderly conduct was often vague, and few cases were prosecuted
because officers routinely failed to appear in court. In 1980, 89,382 blacks were arrested for disorderly
conduct, compared to 33,270 whites and 17,931 Latinos. The arrests constituted almost half of all arrests
by CPD and therefore became one of the primary ways police interacted with minority communities.82

The ACLU filed suit to stop CPD’s practice of making disorderly conduct arrests with no intention of
prosecuting. A reportedly “outraged” and “irate” federal judge declared the practice unconstitutional after
the City repeatedly failed to participate in the case (a sadly ironic failure, given the underlying problem of
officers failing to appear in court).83 As part of its order, the court directed the City to expunge more than
800,000 disorderly conduct arrests over the prior five years where the arresting officer failed to appear
for court hearings.84 The ACLU and the City ultimately entered into a consent decree requiring officers
who make disorderly conduct arrests to appear at all court hearings until a case is resolved.85

By the early 1990s, disorderly conduct arrests dropped to approximately 60,000 per year, but racial
disparities remained. In 1993, CPD arrested approximately 40,000 blacks for disorderly conduct,
compared to approximately 10,000 Hispanics and 8,000 whites. By the 2000s, disorderly conduct arrests
dropped significantly, to approximately 10,000 per year. Even then, the black/white ratio for disorderly
conduct arrests was 10:1.86

Jon Burge. From 1972 to 1991, CPD detective and commander Jon Burge and others he supervised
tortured and abused at least 100 African-Americans on the South and West sides in attempts to coerce
confessions. Burge’s methods included administering electric shocks to victims’ genitals, suffocating
them with typewriter covers, threatening them with loaded guns and burning them on radiators. For
years, Burge and the City denied allegations of torture, reinforcing community beliefs in a police “code
of silence.” Burge was eventually suspended in 1991, and the Chicago Police Board fired him in 1993.
After Burge’s firing, the FOP attempted (unsuccessfully) to enter a float in the South Side Irish Parade
honoring him.87

In 2006, after a four-year investigation, special prosecutors concluded that there was enough evidence to
bring criminal charges against police officers in three cases of torture (Andrew Wilson, Phillip Adkins and
Alfonzo Pinex), but the statute of limitations had already run out.88 While it was too late to bring criminal
charges for the torture itself, federal prosecutors later charged and convicted Burge for obstruction of
justice and perjury after he lied about the torture in a civil case. Burge served 54 months in federal prison,
far less time than that served by the innocent men he helped convict through coerced and false
confessions.89 As discussed later in this report, Burge was allowed to keep his pension.90

The fallout from Burge’s actions was substantial. Many convictions where Burge had played a role were
reversed, remanded or overturned.91 In 2003, Governor Ryan pardoned four African-American inmates on
death row who had long maintained that Burge tortured them to confess to murders they did not
commit.92 Numerous civil suits were filed. To date, the City has spent upwards of $100 million on Burge-
related settlements, judgments and legal fees.93

In 2013, Mayor Emanuel apologized for this “dark chapter” in the city’s history.94 Two years later, the
Mayor and City Council “acknowledge[d] and condemn[ed], as evil and reprehensible, any and all acts of




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torture and abuse inflicted upon the Burge victims” and “apologize[d] to the Burge victims for these
horrific and inexcusable acts.” Along with the apology, the City agreed to pay $5.5 million in reparations
and provide other city services to Burge victims and to educate future CPS students about the Burge case
and its legacy.95

Gang Loitering Ordinance. In 1992, Chicago enacted a “gang loitering ordinance” in response to
complaints that gang members were intimidating law-abiding citizens. The ordinance prohibited
individuals believed to be “criminal street gang members” from “loitering” in a public place after they had
been ordered to disperse. From 1992 to 1995, CPD issued over 89,000 dispersal orders and arrested over
42,000 individuals. While precise statistics are not available, the ordinance was predominantly enforced
against people of color.96

In 1999, the U.S. Supreme Court held that the ordinance violated due process rights because it was
unconstitutionally vague.97 The Court held that the ordinance “lef[t] the public uncertain as to the conduct
it prohibits” because it “fail[ed] to distinguish between innocent conduct and conduct threatening
harm.”98 The Court further held that the ordinance created a “potential for arbitrary enforcement”
because it “afford[ed] too much discretion to the police” and “reach[ed] a substantial amount of innocent
conduct.”99

After the U.S. Supreme Court’s ruling, the City amended its gang loitering ordinance to make it more
specific. However, the ordinance is still predominantly enforced against people of color. In the summer of
2014, CPD officers issued 4,842 dispersal orders—4,100 against blacks (84.7%), 673 against Hispanics
(13.9%) and 66 against whites (1.4%).100

RACIAL BIAS IN POLICING – CPD’S CURRENT PRACTICES
Racial bias is not a thing of the past. Rather, data establishes that CPD’s use of force disproportionately
affects people of color. The same is true for foot and traffic stops. These enforcement actions have
deepened a widespread perception that police are indiscriminately targeting anyone and everyone in
communities of color without making individualized determinations of reasonable suspicion of criminal
conduct. Racial bias extends to other areas as well, including the police oversight system itself.

Use of Force. For both officer-involved shootings
and Taser discharges, citizens on the other end of use
of force by CPD are predominantly African-American.

From 2008 through 2015, there were 404 officer-
involved shootings resulting in injury or death. Of
those 404 shootings, 299 (74%) of the persons killed
or injured were black, 55 (14%) were Hispanic, 33 (8%)
were white and 1 (0.25%) was Asian.101




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From 2012 through 2015, there were a total of 1,886
officer-involved Taser discharges. Of those 1,886
discharges, 1,435 (76%) of the persons subjected to
Taser discharges were black, 254 (13%) were Hispanic,
144 (8%) were white and 4 (0.21%) were Asian.102




Investigatory Stops. Under the U.S. Supreme Court’s
1968 decision in Terry v. Ohio,103 an officer may
conduct a brief investigatory stop upon “reasonable
suspicion”—based on “specific and articulable facts”—
that a person has committed or is about to commit a
crime. An officer also may conduct a limited search or
pat down for weapons upon reasonable suspicion that
a person is armed and dangerous. While the Court
granted police officers these powers in appropriate
cases, it also acknowledged that investigatory stops
and frisks “must surely be an annoying, frightening,
and perhaps humiliating experience.”104

CPD’s data raises serious questions about whether it
abides by Terry and its progeny. In the summer of
2014, CPD stopped more than 250,000 people in
encounters not leading to arrests. These investigatory stops amounted to 93.6 per 10,000 people. (In
contrast, New York City, from 2011-2014, stopped between 1.6 and 22.9 per 10,000 people.)105

Notably, out of the 250,000 investigatory stops in the summer of 2014, 72% of those stopped were black,
compared to 17% Hispanic and 9% white.106




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African Americans have been particularly targeted in predominantly white neighborhoods. In District 18,
which covers the Near North Side and part of Lincoln Park, only 9.1% of the population is black, yet blacks
accounted for 57.7% of all stops. Meanwhile, 75.5% of the district’s population is white, yet whites
accounted for only 28.6% of all stops. Similarly, in District 19, which covers parts of Lincoln Park, Lakeview,
Uptown and Lincoln Square, only 6.6% of the population is black, yet blacks accounted for 51.1% of all
stops. 75% of the district’s population is white, yet whites accounted for only 29.2% of all stops.107




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Investigatory stops have accumulated in striking numbers among young black males. A survey of Chicago
residents in 2015 found that 56% of young black males reported being stopped on foot by CPD one or
more times during the prior 12 months. When traffic stops were included, almost 70% of young black
males reported being stopped by the police in the past year, a number far exceeding any other
demographic.108 In addition, the survey established “large racial disparities in the use of force reported by
respondents.”109 The survey revealed that “15% of Blacks and 17% of Hispanics reported being shoved or
pushed around, in contrast to 6% of Whites. [Blacks] were twice as likely as whites to be threatened by a
weapon. Compared to whites, all other groups were at least twice as likely to have been subjected to
some form of force before being released.”110




We heard many personal accounts corroborating this data. For example, in a youth forum at the Mikva
Challenge, we spoke with a high school student who reported being stopped by CPD and placed in squad
cars six or seven times. Each time, he reported, officers tersely kicked him out of the car when they were
finished without explanation or apology. Similarly, in a youth forum at Precious Blood Ministries, a young
Latino man reported being stopped by the police on his way home from work. He had just cashed his
paycheck, and an officer suggested that he “had a lot of money for a Mexican.”

These stops—and how they were conducted—had clearly left a deep mark on how youths and young
adults view the police. The stops were also traumatizing, and rendered the youths involved powerless and
voiceless. Multiply these experiences by the hundreds of thousands if not millions of investigatory stops
in recent years, particularly in the black community, and the indelible mark left on the City is deep and will
continue to reverberate for years.




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Traffic Stops. CPD’s traffic
stop data also raise
significant concerns
regarding racial bias. In
2013, 46% of CPD’s 100,676
traffic stops involved black
drivers, even though only
32% of the City’s population
is black. White and Hispanic
drivers were stopped at
rates lower than their
representation in the City’s
population.111

For both blacks and
Hispanics, the disparity
widens significantly when it
comes to vehicle searches.
In 2013, CPD was over four
times more likely to search
with consent vehicles of
black and Hispanic
motorists, compared to
white motorists (4.74 and
4.09 times, respectively).
CPD was also more likely to
search without consent
vehicles of black and
Hispanic motorists,
compared to white motorists (3.42 and 4.82 times).112

Given these numbers, one might expect that CPD finds contraband in vehicles of black and Hispanic
motorists at higher rates. That is not the case. In fact, the opposite is true. In consent searches, CPD
found contraband when officers searched white motorists twice as often compared to black and Hispanic
motorists. The “hit rates” were 12% for black motorists, 13% for Hispanic motorists and 24% for white
motorists. The same pattern held for searches without consent. The hit rates were 17% for black
motorists, 20% for Hispanic motorists and 30% for white motorists.113 These numbers appear to suggest
that black and Hispanic motorists are subject to a high number of vehicle searches even though CPD’s
own data suggest that, relative to whites, they are less likely to have contraband.




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The disparate impact on minority motorists is not limited to routine traffic stops. From 2008 through
2013, CPD set up 84% of DUI checkpoints in predominantly black or Hispanic police districts.114 Moreover,
between March and August 2015, CPD set up 14 DUI checkpoints: nine in majority-black police districts,
four in majority-Hispanic districts, and only one in a majority-white district. Some majority-white police
districts have more alcohol-related car crashes than many of these minority districts, raising significant
questions about how CPD selects the locations for these DUI checkpoints.115

Police Oversight System. The police oversight system itself is not immune to racial bias. From March
2011 through September 2015, CPD’s Bureau of Internal Affairs and IPRA examined about 17,500
complaints of police misconduct with named complainants. Of those 17,500 complaints, 61% were filed
by African-Americans, 21% were filed by whites and 12% were filed by Hispanics. And yet, the rates of
sustained cases looked very different. Of the misconduct complaints sustained, 25% were filed by African-
Americans, compared to 58% by whites and 15% by Hispanics.116 In short, allegations of police
misconduct by whites “are nine times more likely to be upheld than those by blacks and almost three
times more likely than those by Hispanics.”117




Racial bias may also come into play on the officer side. Some reports suggest that black officers are
disproportionately found guilty of offenses, and black officers with sustained findings are punished more
than twice as often as white officers.118




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 Recommendations
 The City should engage the National Initiative for Building Community Trust and Justice to
 implement a “Reconciliation Process” in Chicago. Critical elements of the process involve the
 Superintendent publicly acknowledging CPD’s history of racial disparity and discrimination in
 police practices and making a public commitment to cultural change required to eliminate racial
 bias and disparity.

 Early in the Task Force’s work, a South Side minister told one of its members, “If you don’t face it, you
 can’t fix it.” This prescient comment captures the emerging best practice for acknowledging and
 attempting to repair fractures in community-police relations.

 The President’s Task Force on 21st Century Policing recommended that police departments
 “acknowledge the role of policing in past and present injustice and discrimination and how it is a
 hurdle to the promotion of community trust.” The President’s Task Force heard from police chiefs
 who described what they were doing to “recognize and own their history” and “change the culture
 within both their police forces and their communities.”119

 Similarly, the Department of Justice’s Office of Community Oriented Policing Services (“COPS”) has
 acknowledged the importance of reconciliation, which requires “frank engagements” between
 minority communities and the police “in order to reset relationships.” As an initial step in the
 reconciliation process, COPS observed, “high-level police executives have been willing to make
 powerful public statements acknowledging history and seeking to foster reconciliation efforts.” In
 particular, COPS cited recent remarks by NYPD Police Chief William Bratton that “[s]ome of the
 worst parts of black history would have been impossible without a perverted, oppressive law and
 order,” and that “our history follows us like a second shadow. We can never underestimate the
 impact these had . . . As police, we must fix what we’ve done and what we continue to do wrong.
 It’s ours to set right.”120

 To oversee a truth-telling and reconciliation process, the Task Force recommends that the City
 engage the National Initiative for Building Community Trust and Justice (the “National Initiative”). The
 National Initiative has developed a detailed reconciliation process and is already implementing the
 process working with police departments in Birmingham, Fort Worth, Minneapolis and Pittsburgh, as
 well as in Gary, Indiana and Stockton, California.

 The National Initiative’s process begins with a public acknowledgment of past harms, including the
 role of police in pre-civil-rights-era wrongs, harms during the civil rights era, some degree of racist or
 biased policing and outright illegality since then, disrespectful treatment by police officers and
 overuse of particular tactics like stop and frisk.121 After publicly acknowledging past harms, the
 National Initiative process then calls for (1) sustained listening to community constituencies and
 stakeholders, (2) an explicit commitment to changing policing in specific ways, (3) fact-finding, (4) the
 identification of key experiences and narratives on both sides, (5) specifying concrete changes in
 policies and practices that will move toward new practices and relationships and (6) a mechanism for
 driving changes.122




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  The Mayor and the President of the Cook County Board should work together to co-sponsor
  quarterly summits of key stakeholders and community leaders to develop and implement
  comprehensive criminal justice reform.

  The Mayor and the President of the Cook County Board should work together to develop and
  implement programs that address socioeconomic justice and equality, housing segregation,
  systemic racism, poverty, education, health and safety.

  CPD is not the cause of, nor the solution to, all of the significant problems facing many of Chicago’s
  minority communities. At the same time, in these communities, CPD is the public face of the broader
  criminal justice system, which is badly broken and need of significant reform. Through its daily
  contacts in underserved communities, CPD is also often the public face for government more
  broadly. While reforming CPD is vitally important, those changes will only accomplish so much unless
  we meaningfully address broader issues facing Chicago’s disadvantaged communities.

  Poverty and high unemployment are endemic in many of the Chicago communities that experience
  the highest levels of violent crime. Chicago is one of the most racially-segregated big cities in
  America, but Chicago’s racial segregation is not the only issue. Chicago is socioeconomically unequal
  as well. People of color are disproportionately poor. Many black and Hispanic residents have been
  trapped for multiple generations in poor neighborhoods with little or no economic mobility and, as a
  result, no geographic mobility.

  Both informal and formal local and national laws and policies have been identified as factors in
  contributing to racial and economic segregation, including discriminatory housing policies, barriers
  to healthcare services, inequity in the criminal justice system and unbalanced public school
  funding.123 In effect, these long-standing practices have resulted in the creation and preservation of
  poor and isolated neighborhoods where minorities have been denied equal socioeconomic
  opportunity. The impact of these policies persists today, and the cumulative effects of poverty and
  isolation make it extremely difficult to break the cycle of poverty.124

  In addition, minority teens and young adults
  experience the highest rates of being out of school
  and unemployed. In a recent study of Chicago, 41%
  of African-Americans between the ages of 20 and 24
  were out of school and out of work, compared to
  19% for Hispanics and 7% for whites.125 Young
  African-Americans fared significantly worse in
  Chicago (41% out of school and unemployed) than
  in Los Angeles (29.3%) or New York (27.3%).126

  Many of the City’s policing problems could be
  avoided altogether by ensuring that African-
  American and Hispanic teens and young adults have
  adequate opportunities through education and
  employment. When people are in school or
  employed their self-esteem increases, their time




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  becomes more structured, they use energy in a constructive manner and, in the case of
  employment, they gain a legal means of providing for themselves and their families. Employing teens
  and young adults reduces crime and recidivism rates.127

  There are no easy fixes to these problems. But our public officials must work together to study these
  problems and develop and implement meaningful solutions. Efforts are underway now, but they are
  often fragmented and do not lead to any real, significant change.

  The Task Force therefore recommends that the Mayor and the President of the Cook County Board
  co-sponsor quarterly summits of criminal justice stakeholders, community leaders, faith-based
  organizations, businesspeople, legal and government organizations, civil and human rights
  organizations, academics and other leaders to develop and implement criminal justice reform. The
  Task Force also recommends that the Mayor and the President of the Cook County Board co-sponsor
  community-based programs that address socioeconomic justice and equality, segregation, systemic
  racism, poverty, education, health and safety.


Is CPD doing enough to combat racial bias?
POLICIES
The City and CPD each have antidiscrimination policies in place, which they have worked to improve over
time. On paper, these policies generally say the right things. The challenge of course is ensuring that
these policies translate to practice.

Chicago’s human rights ordinance provides that “[i]t is the policy of the City of Chicago to assure that all
persons within its jurisdiction shall have equal access to public services and shall be protected in the
enjoyment of civil rights, and to promote mutual understanding and respect among all who live and work
within this city.”128

The ordinance declares that “prejudice, intolerance, bigotry and discrimination … threaten the rights and
proper privileges of the city’s inhabitants and menace the institutions and foundation of a free and
democratic society,” and that “behavior which denies equal treatment to any individual because of his or
her race, color, sex, gender identity, age, religion, disability, national origin, ancestry, sexual orientation,
marital status, parental status, military discharge status, source of income, or credit history (as to
employment only) undermines civil order and deprives persons of the benefits of a free and open
society.”129

Similarly, CPD has a general order on human rights acknowledging that while Chicago “encompasses a
variety of communities, each with its own distinctive cultures, lifestyles, [and] customs,” “all persons in
each area of the City share the common need for protection and service through objective and impartial
law enforcement.”130




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The order requires that officers “respect and protect each person’s human rights,” “treat all persons with
the courtesy and dignity which is inherently due every person as a human being,” “not exhibit a
condescending attitude or direct any derogatory terms toward any person in any manner,” and “not
exhibit any bias or prejudice against any individual or group because of race, color, gender, age, religion,
disability, national origin, ancestry, sexual orientation, marital status, parental status, military discharge
status, or source of income.”131

CPD also has a general order specifically prohibiting “racial profiling or other bias-based policing.” In
January 2016, CPD updated the order to provide that officers “may not use race” in making routine or
spontaneous law enforcement decisions unless race is part of a specific suspect description.132 The new
language is taken nearly word-for-word from Department of Justice guidance to federal law enforcement
agencies, which directs that race may not be used “to any degree” in making routine or spontaneous law
enforcement decisions.133 However, CPD’s revised order does not include the “to any degree” language
and still retains older language prohibiting officers from using race “as the sole basis” for developing
grounds for a traffic or street stop—seemingly suggesting that race may be used as a basis.

  Recommendations
  CPD should clarify in its general order prohibiting racial profiling and other biased-based policing
  whether race may be used to any degree in developing grounds for a stop, other than where race
  is part of a specific suspect description.

  CPD’s general order prohibiting racial profiling or other bias-based policing (G02-04) is unclear—and
  somewhat contradictory—on the role race may play in developing reasonable suspicion or grounds
  for a traffic or street stop. On the one hand, it says that officers “may not use race.” On the other hand,
  it says that officers may not use race “as the sole basis” for a traffic or street stop, implying that race
  may be used as one of multiple factors taken into account. CPD should clarify whether race may be
  used to any degree in street and traffic stops, other than in cases where race is part of a specific
  suspect description. If there are circumstances where CPD believes race is an appropriate factor for
  officers to consider, it should spell out those circumstances both for officers and for the public.

DATA COLLECTION, REPORTING AND TRANSPARENCY
Data collection, reporting and transparency provides a crucial check against racially-biased policing. The
City is already subject to heightened requirements under state law and the terms of a settlement
agreement with the ACLU, but more needs to be done.

By law, foot and traffic stops are each tracked to guard against racial bias. These requirements have
increased in recent years. Since 2004, the Illinois Traffic Stop Statistical Study Act has required the
collection of certain data—including on race—for traffic stops, even where no citation or warning is
issued.134 As of January 1, 2016, the law was revised to require that officers collect detailed information on
pedestrian stops as well.135

In August 2015, CPD also reached an agreement with the ACLU concerning investigatory stops and
protective pat downs.136 In the agreement, CPD agreed to collect data through “Investigatory Stop
Reports.” The reports replaced the old “contact card” system and collect the same information now
required to be collected under state law.137 CPD also revised its policies on stops and pat downs and is




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training its officers accordingly.138 Moreover, CPD agreed to establish policies for continuous district-level
supervisory review and quarterly or semiannual department-level audits of its stop and pat-down
practices.139

As part of its agreement, the City agreed to provide data and other information to a retired federal
magistrate judge who will review its stop and pat-down practices for substantial compliance with the
agreement and other legal requirements. The judge will issue a public report twice a year. The agreement
will terminate only when the judge finds that CPD has been in substantial compliance for at least a year
(in mid-2017 at the earliest).

CPD’s public reporting of many types of data is limited. While CPD reports detailed crime incident data on
a daily basis through a “Data Portal,”140 it provides little other information allowing the public to assess its
performance. The “Statistical Reports” section of CPD’s website does not contain any information since
2010. Rather, it provides Annual Reports for 1965 through 2010, monthly index crime reports for 1999
through 2010, crime trend reports from 1991 through 2007, beat-level data for 2007 through 2010,
murder reports from 1999 through 2008 and juvenile reports from 1991 through 2008.141

  Recommendations
  Through its Data Portal, CPD should regularly release incident-level information on arrests, traffic
  stop reports, investigatory stop reports and predecessor contact cards and officer weapon use
  (firearm and nonlethal). To facilitate trend analysis, the incident-level data should reach back at
  least to January 1, 2010.

  For traffic stop reports, investigatory stop reports and predecessor contact cards, the incident-level
  information should include all collected information, including on each subject’s apparent race. For
  arrests, the incident-level information should include the date, detailed arrest category, drug type (if
  applicable), central booking number, all text arrest description fields, FBI code and a linking crime
  incident number, if any. For officer weapon use, the incident-level data should include dates and
  beat locations, and cover Tasers, pepper spray or other chemical weapons, impact munitions, and
  firearm discharges of all kinds.

  CPD should resume publishing annual reports.

  After the ACLU agreement terminates, CPD should continue supervisory review and audits of
  investigatory stop and pat-down practices, with oversight by the new Community Safety
  Oversight Board and Inspector General for the Public Safety.




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RECRUITMENT, HIRING AND PROMOTION
A diverse police department is critical for policing a diverse city and reducing bias-based policing. In our
community forums, residents often associated poor treatment with biases that officers held about them
and their communities. And in both the community forums and our panels with youth, many individuals
expressed a desire that more officers “look like” them and have deeper connections to their communities.

Minority recruitment, hiring and promotion has been a challenge for CPD. In the early 1970s, CPD was
83% white, 16% black and 1% Hispanic.142 The Afro-American Patrolmen’s League, other black and
Hispanic officers and the United States sued alleging racial discrimination. A federal court found that
CPD’s patrolman’s exam, background investigation and Sergeant’s promotion exam were all racially
biased.143 In a later lawsuit, a federal court found that the Lieutenant’s exam was racially biased as well.144

Though there was no finding of intentional
discrimination, the substantial disparate impact on
black and Hispanic applicants and officers led one
federal court to conclude that CPD had “knowingly
discriminated” against blacks and Hispanics.145 To
remedy these impacts, the court imposed quotas for
hiring and promotions.146 Over time, the quotas were
reduced and eventually eliminated.147 (Today, the use of
racial quotas would be impermissible.)

By the mid-1990s, CPD was 65% white, 25% black and
9% Hispanic.148

Since then, Hispanics have seen significant gains within
CPD, while blacks regressed slightly. In 2014, CPD was
52% white, 23% black and 21% Hispanic.149 CPD is
generally moving in the right direction, but it still has a
ways to go to approach the racial makeup of the City.




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The CPD has particular work to do when it comes to promotions. As of March 10, 2016, CPD Sergeants were
67% white, 14% black and 16% Hispanic. Lieutenants were 78% white, 11% black and 11% Hispanic. Captains
were 70% white, 15% black and 9% Hispanic. And detectives were 64% white, 18% black and 16% Hispanic.150




In its most recent hiring sequence, which began in late 2015, CPD launched a recruitment drive aimed
specifically at minorities.151 In an interview with the Task Force, CPD’s Director of Human Resources
reported that, of the applicants who signed up for the test, approximately 40% were black, 40% were
Hispanic and 20% were white. While these initial numbers are encouraging, minorities have been at
greater risk of either dropping out or being screened out at various stages of the hiring process (e.g., the
written exam, psychological exam or background check). More work on diversity still needs to be done.




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  Recommendations
  CPD should develop and use recruitment, selection and promotion strategies that increase
  diversity and the likelihood that officers will be culturally competent, fair and impartial,
  especially when policing communities of color.

  The Task Force recommends that CPD develop and use recruitment, selection and promotion
  strategies geared to increasing diversity. As part of this work, CPD should analyze root causes for
  failing to attract minority candidates historically and assess the barriers to those candidates making
  it through the hiring and promotion process. Other departments have addressed these issues by
  strategically recruiting outside the city, reviewing cutoff scores for psychometrics exams and fitness
  tests, collaborating with local workforce development agencies and having a long-term strategy for
  mentoring youth of color.152

  CPD should also seek to identify officers who have had exposure to diverse communities, are willing
  to reflect on their own behavior and inherent biases and have a desire to serve vulnerable
  populations. Officers certainly do not need to be of a certain race to effectively operate in
  communities of color, but CPD needs to do a better job of identifying officers who are likely to thrive
  in these communities and screening out officers who will not.

  CPD should hire a Deputy Chief of Diversity and Inclusion.

  Almost every large company or organization today has a diversity and inclusion program, typically
  overseen by a director or committee whose specific job is to manage diversity and inclusion efforts.
  CPD should be no exception. CPD should create a new Deputy Chief of Diversity and Inclusion
  position, with sufficient support staff. In addition to overseeing minority recruitment and promotion
  efforts, the Deputy Chief should be charged with overseeing the implementation of the Task Force’s
  recommendations with respect to race, as well as overseeing how CPD’s actions affect its minority
  “customers” in the community.

TRAINING
Training is another important component to reducing racial bias. Everyone has biases. Police officers
must learn to acknowledge and address their own.

In the Academy, probationary officers receive 24 hours of training in “Diversity Management,” including
“police citizen relationships, bias, prejudice, and hate.”153 Additionally, CPD reports that cultural
competence is addressed at various points during training, as appropriate.154 CPD generally teaches
about bias and cultural competence through internal trainers. Often, police departments do not have a
deep capacity for conducting training on fair and impartial policing and cultural competence issues.
When the Task Force interviewed some of the trainers who deliver cultural-related content, not
surprisingly, there seemed to be some lack of comfort in instructing officers on sensitive cultural topics
and related issues.

CPD started, but has not completed, training on procedural justice. Procedural justice is a key component
of 21st-century policing models. It is based on decades of research and practice showing that “people are
more likely to obey the law when they believe that those who are enforcing it have the legitimate
authority to tell them what to do. But the public confers legitimacy only on those they believe are acting in



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procedurally just ways.”155 Procedurally just behavior is based on four principles: (1) treating people with
dignity and respect; (2) giving individuals “voice” during encounters by listening to what they have to say;
(3) being neutral and transparent in decision making; and (4) conveying trustworthy motives.156

In July 2012, CPD rolled out a first round of “Procedural Justice and Police Legitimacy” training. Nearly all
officers have completed this 8-hour course.157 In February 2015, CPD rolled out a second round of
“Procedural Justice: A Tactical Mindset” training. So far, only approximately 2,500 officers—out of the
more than 12,000 sworn officers in CPD—have completed this second 8-hour course.158 CPD is currently
in the process of developing a third round of procedural justice training that will specifically address
implicit bias. CPD introduced the topic of implicit bias in the first two rounds, but the topic will be more
fully developed in the third round. This training must not be allowed to stall.

  Recommendations
  CPD should adopt and promote a clear, progressive policing philosophy grounded in core values
  such as respect, protecting the sanctity of all life and protecting civil and human rights.

  Mission-driven organizations organize their cultures around core values that convey organizational
  aspirations, determine important outcomes and metrics, inform budgetary decisions and guide
  behavior. In organizations with a strong, mission-driven culture, these core values are made visible in
  numerous ways, including literally displaying them visually in words and images around the
  organization. Core values are then made “real” and “living” through practices and processes that
  shape the organization’s employees, including through recruitment, selection, training, recognition
  and other incentives.

  The President’s Task Force on 21st Century Policing recommended that law enforcement embrace a
  “guardian” mindset to build public trust and legitimacy.159 Historically, police have been trained more
  like soldiers, with a “warrior” mentality. But police officers are not soldiers. The President’s Task
  Force observed that while “[s]oldiers come into communities as an outside, occupying force,”
  “[g]uardians are members of the community, protecting from within.”160 The President’s Task Force
  recommended that police departments adopt procedural justice as the “guiding principle” for the
  guardian mindset.161

  Similarly, the Police Executive Research Forum (“PERF”) has stressed the importance of a police
  culture of protecting “the sanctity of all human life.”162 Thus, rather than “think[ing] solely about their
  own safety,” police officers should take “a broader approach designed to protect everyone’s lives.”163
  A number of police departments—including in Las Vegas and in Northern Virginia—have adopted
  use-of-force policies based on this broader approach.164 The shift to a guardian model has many
  potential benefits for both communities and the police. Many police leaders believe that the
  approach increases police legitimacy, which ultimately results in more community collaboration and,
  in turn, decreases in crime.

  CPD should adopt and promote a 21st-century model of policing where officers act as “guardians” of
  the community, not soldiers. This must be more than just a catchphrase. This philosophy must be
  promoted throughout the department, and at all stages of an officer’s career—from recruitment to
  Academy training, field training and the field. This approach should be apparent not just to officers,
  but to the community as well.



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  CPD should bring in experts and credible trainers to deliver comprehensive training on cultural
  competence and implicit bias for all recruits, officers and supervisors.

  CPD should expand its approach to teaching recruits, officers and supervisors about implicit bias and
  cultural competence. Because these are often uncomfortable topics and involve specialized
  knowledge, best practice is to bring in subject matter experts to teach this content and facilitate
  meaningful discussion. These trainers can also establish a “train the trainer” approach to build
  capacity within CPD. It is critically important that this training is provided from the “top down,”
  signaling to the entire CPD that new approaches to building cultural competence and engendering
  fair and impartial policing are being taken. The Diversity People, Fair and Impartial Policing, Center
  for Police Equity and The Center for Human Diversity all have experience training police departments
  on these critical issues.

  CPD should involve the community in officer training that includes being trained by and
  partnering with community leaders, organizations and youth.

  Throughout its community engagement process, the Task Force heard from numerous community
  members about missed opportunities for CPD to leverage the strengths of communities. In its
  Academy and field training, as far as we can tell, CPD makes little effort to engage with communities
  in ways that enable them to educate officers about their strengths and assets. The Task Force
  recommends that CPD take an asset-based community development approach to training by
  bringing in members of the community to educate new officers on the assets that exist in the
  community, to discuss the roles that communities can play in helping to reduce crime and to partner
  with officers to achieve mutual goals.165

  For example, CPD should consider integrating in its training: (1) youth panels, so that youth can talk
  to trainees and dispel negative stereotypes often held about youth of color and discuss how they
  would prefer to be engaged; (2) videos and other training materials created by community members
  that provide district-assigned officers with specific knowledge of the unique history and strengths of
  their communities; (3) youth- and community-led tours for district-assigned police officers that
  enable community members to highlight the assets in their neighborhoods; (4) tasking district-
  assigned officers with identifying key community leaders, institutions and organizations and
  developing relationships with these partners; (5) visits to neighborhood schools and regular
  roundtables with high school youth; and (6) participation in community service and other volunteer
  opportunities.

DEPLOYMENT
CPD’s current officer deployment strategies do little to reduce the potential for racially-biased policing.
Because the deployment system is largely seniority-based, as mandated by collective bargaining
agreements, younger and less experienced officers are often assigned to high-crime neighborhoods
and the most difficult watches and beats. Many of these officers are placed in these high-stress
situations with little to no experience or familiarity with the neighborhoods they will be policing. This is
a recipe for trouble.




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  Recommendations
  CPD, including the Deputy Chief of Diversity and Inclusion, should analyze deployment strategies
  to ensure officers are culturally competent and have a proper understanding of the
  neighborhoods where they are assigned.

  As part of its analysis, CPD should also consider deploying more mixed race patrol teams whenever
  possible, particularly in communities of color.

  Where possible, CPD should assign more experienced officers to high-crime districts, beats and
  shifts. If new officers are given these difficult assignments, they should be partnered with
  experienced officers with exemplary disciplinary histories and the proven ability to work with
  diverse populations.


How should CPD involve the community in its policing efforts?
In the early 1990s, Chicago’s Alternative Police Strategy (“CAPS”) was designed to promote positive police
interactions and engagement with the community as a key to long-term crime reduction. Its original
architects were then-Deputy Chief of Patrol Charles Ramsey (recently retired Commissioner of the
Philadelphia Police Department and co-chair of the President’s Task Force on 21st Century Policing) and
the civilian Director of CPD’s Research and Development Division, Barbara McDonald. CAPS was tested in
five police districts beginning in April 1993 and was rolled out City-wide in spring 1995.

As initially conceived, CAPS was based on five key features. First, CAPS adopted a problem-solving model.
Rather than responding to individual calls, officers were expected to employ a proactive, prevention-
oriented stance to neighborhood problems. The problem-solving model focused on chronic
concentrations of related incidents, which could then be addressed by identifying and prioritizing
problems, analyzing them, designing response strategies, implementing those strategies and assessing
their success.166

Second, CAPS focused on turf orientation so that police would become more acclimated to the
communities they served. Officers were supposed to stay in one place long enough to develop
partnerships with and trust among community members and spend more time working with the
community and less time answering radio dispatches. This was accomplished by assigning officers to
particular beats, ideally for at least a year.167

Third, CAPS reorganized police to enhance communication and consultation with neighborhood
residents. Community policing relies on active citizen engagement concerning the needs of the
community, and it creates opportunities for resident involvement. This was accomplished through beat
meetings between residents and police who work in the neighborhood and district advisory committees
to advise Commanders in each police district.168

Fourth, CAPS expanded the police’s role by allowing them to mobilize other city services to solve
problems in particular neighborhoods (e.g., graffiti, abandoned vehicles and buildings, malfunctioning
street lights and other signs of neighborhood disorder).169

Finally, CAPS relied on new tools to address chronic problems. These tools included crime maps and data
to identify chronic problems, a roving task force to enforce housing ordinances and cooperation with


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prosecutors, who would also get out into the community and work with beat officers on problem
buildings.170

Over its first 5-10 years, CAPS had successes and failures. On the positive side, community involvement
increased substantially. Beat meetings were held monthly, and nearly 390,000 Chicagoans attended beat
meetings through the end of 2000.171 Positive public perceptions of CPD increased, as measured in
community surveys.172 Crime dropped, though the extent of CAPS’ contribution is not clear.173 At least in
the black community, surveys showed that neighborhood problems, such as physical decay, had dropped
significantly.174

The results were mixed, however. CAPS never succeeded in involving youths.175 Integrating Hispanic
residents into the program was difficult.176 The beat meetings were well attended but often failed to
produce noticeable results, and few district advisory committees carved out a meaningful role.177 Turf
orientation proved difficult, as officers were called away on 911 calls, stretched too thin to spend
significant time interacting with the communities and often transferred between districts or beats.178
Similarly, it was difficult for officers to focus on problem-solving, as they dealt with large numbers of
service calls.

CAPS also failed to tailor community outreach efforts to particular districts and instead relied on a
uniform “cookie cutter” approach to community engagement.179 Similarly, while beat meetings were well
attended, CAPS did not succeed in consistently developing deep, genuine and lasting partnerships with
local stakeholders.

By the late 2000s, funding for CAPS had been cut considerably.180 Many CAPS personnel were based
downtown, and civilian staff had been significantly reduced, resulting in fewer community outreach
programs. Beat meetings were held less frequency (every two-three months instead of monthly) and
often combined multiple beats at more distant locations. Attendance dropped off significantly after
2000.181

In early 2013, Mayor Emanuel tried to revitalize CAPS by shifting resources to individual districts, with
each Commander responsible for tailoring the program to the neighborhood. Each district was
assigned a CAPS Sergeant and two officers, along with a community organizer and a youth services
provider. The overall budget for CAPS did not change, however.182 The CAPS Sergeant and two officers
in each district were still less than the Sergeant and six officers in each district at the height of CAPS.183
The new initiative has not reversed the trend of decreased community participation, and public
confidence in CAPS remains low.184

As the fate of CAPS sadly attests, community policing techniques are not self-sustaining. Unless it is
thoroughly incorporated into the organizational structure of the police department at every level and
continually rejuvenated with personnel, funding and other resources, community policing runs the risk of
being marginalized and forgotten.185 “Until community policing becomes the business-as-usual approach
to policing—something that has probably been accomplished in relatively few departments—there is the
grave possibility that it will vanish, even as it continues to be heralded as a sterling idea.”186




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 Recommendations
 CPD should adopt community policing as a core philosophy.

 National best practices are clear—community policing must be treated as a core philosophy
 throughout CPD. Community policing cannot be relegated to a small, underfunded program. As the
 President’s Task Force on 21st Century Policing recommended, community policing “should be
 infused throughout the culture and organizational structure of law enforcement agencies.”187
 Similarly, the Department of Justice’s Office of Community Orientated Policing Services recommends
 that police departments “adopt[] community service as the overarching philosophy of the
 organization” and make “an institutional commitment to community policing that is internalized
 throughout the command structure.”

 CPD should replace CAPS with localized Community Empowerment and Engagement Districts
 (CEED) and support them accordingly.

 The CAPS brand is significantly damaged and should be replaced. To promote community policing
 principles based on local community engagement, CPD should designate each of the City’s 22 police
 districts as a “Community Empowerment and Engagement District.” Within each CEED, district
 Commanders and other leadership should make a sustained effort to engage local stakeholders and
 develop strategies and partnerships for reducing crime. These CEED strategies should be individually
 tailored to each particular district.

 Moreover, the CEED strategy should focus on developing a unified approach in each district, drawing
 from a variety of community programs that are already being pursued throughout the City. The
 CEED strategy should include training and developing officers on proven community empowerment
 and engagement approaches like Restorative Justice, Advanced Youth Development and Asset Based
 Community Development. These practices are currently being implemented by a variety of groups,
 including Bridging the Divide, Community Justice for Youth Institute, Alternatives, Inc., EMBRACE, RJ
 HUBS, FOUS Youth Development Services and the World Cafe.

 CPD should expand the methods it uses to communicate and work with neighborhood residents.

 As part of CAPS, CPD often relied on a formulaic menu of methods for engaging the community.
 Those methods largely focused on beat meetings and district advisory committees. Especially as
 attendance dropped, those methods proved insufficient to consistently reach and engage members
 of the community. CPD should pursue alternative and flexible avenues for communicating and
 working with neighborhood residents. While it will not reach everyone, social media is a promising
 and largely untapped resource.188 As part of a CEED strategy, district leadership should also
 proactively identify and contact key community stakeholders to develop strategies and partnerships
 for reducing crime.

 CPD should reinvest in civilian organizing staff.

 One of the reasons CAPS is failing is because its civilian staff has dwindled to the point of
 ineffectiveness. As part of the CEED approach, CPD should invest in civilian staff to assist district
 leadership in organizing and mobilizing residents to address significant issues. CPD should ensure
 that the civilian staff has community organizing, restorative justice, advanced youth development



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  and other community development skills. While there will undoubtedly be a cost to building and
  maintaining this civilian staff, an effective community engagement strategy will pay dividends on the
  back end by reducing crime and increasing safety.

  CPD should renew its commitment to beat-based policing and work to expand community
  patrols.

  Beat-based policing is a critical component to any community policing approach. Officers must have
  time to get to know the communities they serve. The Task Force heard from many residents
  frustrated by frequent turnover of both officers and supervisory personnel in their neighborhoods.
  As the CAPS experience showed, it is very easy for beat-based policing to fall by the wayside as
  officers are pulled away on 911 calls or transferred between beats or districts. CPD must make a
  conscious effort to renew its commitment to beat-based policing and develop strategies that allow
  officers to truly learn their beats.

  The community has a role to play as well. In addition to beat-based policing, community-led patrols
  have shown promise in reducing crime rates, increasing community safety and empowering the local
  community. For example, the City has successfully partnered with CPS and community-based
  organizations in the “Safe Passage” program, which creates routes where students can walk to
  school with safe passage workers.189 Community-led patrols have also shown promise dealing with
  outbursts of violence, particularly during warmer weather. Police and community residents have also
  worked together to ensure the safety and success of community-wide events, such as midnight
  basketball and cultural-based community celebrations held in local public spaces. For these efforts
  to work, there must be strong, open communication between community patrols and the police,
  along with a clear shared decision-making structure at the local levels guided by both police and
  community residents.

  CPD should include information about how the public is being involved and how effectively
  neighborhood concerns are being addressed in CompStat.

  To show that community policing matters, CPD should include measures of community policing
  performance in CompStat. Before the recent Superintendent change, CPD was exploring a new
  “RespectStat” system, which would “analyze[] data on the quality of police-citizen interactions to
  provide constructive feedback to command-level personnel about performance in specific
  geographic areas.”190 The RespectStat proposal was based on community satisfaction surveys
  managed by the University of Illinois at Chicago.191 CPD should integrate this data as part of
  CompStat. Also, as part of CompStat, CPD should gather and report information about how the
  public is being involved in each district.


Are CPD officers adequately equipped to interact with youth?
The existing relationship between CPD and youth—particularly youth of color—can be described as
antagonistic, to say the least. Children in some areas of the City are not only being raised in high-crime
environments, but they are also being mistreated by those who have sworn to protect and serve them.192
Throughout our community engagement efforts, including during our youth panels, we heard story after




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story of officers treating youth with disrespect, humiliating them or worse. Overuse of stop and frisk
practices, without any individualized reasonable suspicion, appears to be a particular problem.

The troubled relationship between CPD and youth is a significant missed opportunity. During our youth
panels, we also heard positive stories from youth about police officers at their schools who had taken the
time to get to know them, helped them solve problems and coached and mentored them. Many students
had developed strong relationships with officers in their schools. Other youth talked about positive
interactions with officers at a local station that hosted community events. However, the stories shared by
local youth were overwhelmingly negative and painted a dark view of police-youth interactions.

Most CPD officers are not adequately trained or equipped to interact with youth. In the Academy, recruits
receive 8 hours of training on juvenile law and processing and another 2 hours of training on
intergenerational police-community relations. CPD has developed an advanced 40-hour “CIT-Youth”
training for officers who have completed the basic 40-hour CIT training. Approximately 800 officers have
completed “CIT-Youth” training.

In schools, in the late 1990s and early 2000s, CPS enforced a strict zero tolerance policy for misconduct by
students. The zero tolerance policy merely accentuated a school to prison pipeline. Since then, CPS has
undergone a shift from a “we need to get the bad apples out” approach to an approach of “we need to
support student success and keep them in school,” wherever possible. 75 schools now have officers
assigned to the building, with an average of two officers per school. That number is down from 125
schools four years ago.193

CPS trains officers who will be assigned to schools and works closely with district Commanders to address
and resolve concerns. These officers are generally expected to contribute to a culture and climate of calm
by building relationships with students, supporting problem-solving and engaging in restorative justice
practices. However, there does not appear to be a specific job description for officers in schools that
provides a clear and shared understanding of their role. Based on our interviews, this lack of guidance
leads to some inconsistency in what officers actually do from school to school.

  Recommendations
  CPD should evaluate and improve the training officers receive with respect to youths to ensure
  that all officers are prepared to engage with youth in ways that are age-appropriate, trauma-
  informed and based in a restorative justice model.

  Training police officers with respect to youth should have at least three key components. First,
  officers must learn age-appropriate treatment. Officers should work with an understanding of the
  fundamental differences between adolescents and adults and recognize that youth are biologically
  susceptible to impulsive, risk-taking and peer-influenced behavior. Officers should also know that
  youth possess a unique capacity for positive change. Youth are not miniature adults and should not
  be treated the same as the worst adult offenders.

  Second, engagement with youth must be trauma-informed. Ultimately, police should protect the
  most vulnerable (children), even when they have done something wrong. To be trauma-informed
  means recognizing that most children who encounter the law—either as victims or offenders—tend
  to be some of the most abused, neglected and traumatized children in our society. Therefore,




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  officers should treat children with the utmost sensitivity to potential past trauma and do everything
  possible to not cause further harm. Subject matter experts are needed to train officers to respond
  appropriately and effectively to children who might have experienced trauma. The Substance Abuse
  and Mental Health Services Administration and the International Association of Chiefs of Police offer
  resources on these issues.

  Finally, officers should be ready to use restorative justice models in appropriate cases. Arrest and
  detention should be reserved for the most violent youth offenders. Otherwise, diversion to
  community-based resources should be the first priority when working with youth. Restorative justice
  models have shown significant promise and typically involve inclusion of all parties (offender and
  victim), encountering the other side, making amends for the harm and reintegrating the parties into
  their communities. Again, CPD should bring in subject matter experts to develop a strategy for using
  restorative justice practices with youth.

  CPD and CPS should ensure that officers who are assigned to schools have clear job descriptions
  and expectations that are shared by CPS and CPD, receive extensive and ongoing training on how
  to engage with youth and crisis intervention and are swiftly reassigned if they fail to meet
  expectations.


Is CPD doing enough to protect human and civil rights?
Under the U.S. Supreme Court’s ruling in Miranda v. Arizona, criminal suspects must be advised of their
constitutional rights before statements they make to the police under interrogation can be used against
them.194 Miranda requires that the defendant be informed “that he has the right to remain silent, that
anything he says can be used against him in a court of law, that he has the right to the presence of an
attorney, and that if he cannot afford an attorney one will be appointed for him prior to any questioning if
he so desires.”195 In addition to being advised of his rights, a defendant is also guaranteed the right to
have counsel present at all “critical” stages of the criminal proceedings.196 This constitutional right to
counsel attaches at the defendant’s initial appearance before a judicial officer.197

Illinois law supplements these constitutional safeguards with additional requirements for earlier access to
legal counsel. State law provides that arrested individuals “shall have the right to communicate with an
attorney of their choice and a member of their family.”198 Communication with counsel must be permitted
by the police “within a reasonable time after arrival at the first place of custody.”199 A CPD general order
also requires that individuals in custody be permitted to telephone a lawyer “within a reasonable period
of time” after being taken into custody.200 Finally, state law requires that all police stations advise persons
in custody of their right to communicate with a lawyer by “post[ing] in every room, other than cells … in
conspicuous places where it may be seen and read by persons in custody and others, a poster” that
explicitly outlines a defendant’s right to counsel.201

And yet, few Chicagoans arrested by CPD consult counsel while in police custody. Based on our
interviews, CPD generally provides phone access only at the end of processing, after interrogation and
charging, while arrestees wait in lockup to be released or transferred to county custody. Remarkably, in
2014, only 3 out of every 1,000 arrestees had an attorney at any point while in police custody.202 In 2015,
the City reports that out of a total of 113,018 arrests, only 702 Attorney Visitor Request Forms were filled




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out by counsel—about 6 out of every 1,000 arrestees. The rates for filling out these forms varied widely
by Area. In the North and Central Areas, there was 1 counsel visit for every 168 and 125 arrestees,
respectively. In the South Area, there was 1 counsel visit for every 227 arrestees.203

Throughout our work, we have heard from community members that their rights are not protected.
Individuals who have been taken into police custody frequently report being denied phone calls and
access to an attorney. The police do not provide contact information for legal aid to arrestees. When
individuals in custody attempt to invoke their legal rights to counsel, they report facing hostility from
police. And counsel report that CPD often has difficulty telling them where an arrestee is being held at
any given moment.

The City’s youth are particularly vulnerable. Youth often lack awareness of their basic constitutional rights.
CPS does not require instruction on this subject as part of the school curriculum. Further, as far as we can
tell, CPD has not made the legal rights of juveniles a priority. We have heard that police frequently tell
lawyers working on behalf of juveniles that their clients do not have a right to counsel or that the
juvenile’s guardian must approve a visit by a lawyer. Youth should be receiving more, not less, protection.

  Recommendations
  Train the community in Know Your Rights and Responsibilities, including by:

  (a)   Creating a CPS policy and City Ordinance requiring that students receive
        instruction on how to exercise 4th, 5th and 6th Amendment rights; and

  (b)   Create a technology platform to assist with a public service announcement
        campaign and informational videos in police stations.

  Everyone should know their rights. The Task Force recommends that CPS develop a compendium to
  teach all students their constitutional rights and how to exercise them when in contact with the
  police at some point between the 6th and 10th grades. The City should also create a technology
  platform to assist with a public service announcement campaign and informational video, to be
  broadcast at police stations, that will ensure that arrestees are made aware of their constitutional
  rights.

  The City should enact an ordinance, and CPD should promulgate general orders:

  (a)   Mandating that arrestees be allowed to make phone calls to an attorney
        and/or family member(s) within one hour after arrest, allowing only for
        limited exceptions in exigent circumstances;

  (b)   Mandating that a legal aid or other provider be contacted within 30
        minutes of the arrest of any juvenile, and that CPD wait for legal
        representation to arrive before any questioning of a juvenile occurs;
        and

  (c)   Confirming that CPD will prominently post information concerning
        rights to counsel, as already required under state law, and include any
        willing legal aid provider’s name and 24-hour contact information.




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      The City and CPD should promulgate an ordinance and general order, respectively, expressly stating
      what time is “reasonable” for allowing arrestees to make calls to an attorney and/or family
      member(s). Several states, including California, Nevada, New Mexico, Rhode Island and Tennessee,
      require that an individual be able to telephone counsel within a specific time frame after arrest—
      ranging from one to three hours.204 The Task Force recommends that arrestees be allowed to make
      calls within one hour of arrest. The ability for arrestees to call on counsel and to understand their
      constitutional rights “protects people at a time when they are most vulnerable, and is a key
      safeguard against … ill treatment.”205

      The Task Force recognizes that there may be limited instances where exceptions are warranted. The
      ordinance and general order should provide for exceptions where allowing arrestees to make phone
      calls within one hour would pose a clear and immediate threat to public safety, or where doing so
      would be impractical, such as if an arrestee is incapacitated due to a serious medical condition. If
      CPD invokes the exception in a given case, it should be required to explain and document the
      specific grounds in a particular case.

      When CPD arrests a juvenile, the ordinance and general order should require that CPD contact a
      legal aid provider within 30 minutes of arrest, absent the same exigent circumstances as with an
      adult. CPD should then be required to wait for legal counsel to arrive and meet with the juvenile
      before any questioning occurs. This practice is consistent with Senate Bill 2370, which is currently
      pending in the Illinois Senate. That bill would require that all juveniles in police custody have legal
      representation before interrogation.

      In addition, CPD should ensure that it complies with all laws—including existing state law—requiring
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Legal Oversight & Accountability
Chicago’s police accountability system does not work. The system should identify and investigate police
misconduct and then impose appropriate punishment. But at every step, there are enormous barriers.
There are barriers that discourage citizens or police officers from reporting misconduct. There are
barriers that make it difficult for CPD to identify misconduct. Once misconduct has been identified, there
are barriers to investigating it fairly and thoroughly. Even in cases where there is some investigation,
there are barriers to imposing discipline—including numerous ways to negate or dilute findings of
misconduct that undermine real accountability. Standards are not clear for imposing discipline, so
punishment is often arbitrary. And there is very little transparency, which further breeds mistrust.

The Task Force has repeatedly heard the frustrated conclusion of the community that the current system
is a sham, and that it allows misconduct—including criminal behavior and other abuse—to go largely or
entirely unpunished. The concerns are justified. Of the 28,567 allegations of misconduct filed against CPD
officers between March 2011 and September 2015, only 2% of allegations result in actual discipline, after
what was frequently a multi-year process.206

When case after high-profile case results in punishment that does not match the gravity of the
misconduct, it sends a message that the police can act with impunity. It gives victims reason to question
whether there is any point in reporting misconduct. It also leaves those who break the rules emboldened
to continue doing so. Meanwhile, well-meaning officers are left to wonder why the system does not
reward good behavior. The police oversight system must be fundamentally reformed in order to remove
impediments to bringing complaints, identifying troubling behavior, investigating misconduct, intervening
and, where necessary, imposing discipline. The system must operate in a timely manner, fairly and
entirely without bias and with full transparency and accountability.

In this section, we begin by outlining the police oversight system as it currently exists. We then discuss
fundamental questions that have been posed in the wake of high-profile police-involved shootings and
how flaws in the current oversight system caused these realities to come into existence and continue
unchecked. We then address specific recommendations, including the creation of a Community Safety
Oversight Board, an Inspector General for Public Safety and a Civilian Police Investigative Agency (“CPIA”).
The Community Safety Oversight Board and the Inspector General for Public Safety would be new and
vital additions to Chicago’s police oversight system, while CPIA would replace IPRA.




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Overall, these reforms are intended to improve the transparency, independence and quality of the police
oversight structure in Chicago. More technical details about recommended reforms are set forth in
appendices at the end of this report.


How does the existing police oversight system work?
The current police oversight system in Chicago developed piecemeal over time, without significant
consideration of the whole. As a result, it is a tangled patchwork, involving hundreds of people in multiple
entities, often working without any real oversight of their own work or coordination with each other. As a
result, complaints can and often do take years to resolve, and frequently result in little or no discipline for
the officer.

IPRA. The best-known piece in the current police oversight system is IPRA. IPRA is a 83-person civilian
agency formed in 2007 and run by a Chief Administrator appointed by the Mayor and confirmed by the
City Council.207 IPRA is responsible for taking in all complaints against CPD members. Of the complaints it



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receives, IPRA investigates many of the most serious types of officer misconduct such as excessive force,
domestic violence, violent coercion or verbal, bias-based abuse.208 IPRA also investigates any time an
officer discharges a firearm or deploys a Taser, and any time a citizen is injured or dies in police custody.
Over the past five years, IPRA has received 5,400 to 9,000 complaints per year, and opened another 1,300
to 3,000 investigations per year itself.209

BIA. Though IPRA serves as the initial intake point for all misconduct complaints, by law most are matters
beyond its jurisdiction which it must therefore refer to the Bureau of Internal Affairs (“BIA”), within the
CPD itself.210 In 2015 BIA had a staff of 108 (though recent reports indicate a reduction to 93)—
predominantly sworn CPD officers.211 The complaints investigated by BIA typically include criminal
misconduct, corruption, operational violations, substance abuse and off-duty incidents that warrant
department oversight. The head of the BIA is a sworn CPD officer selected by the Superintendent. On
average, BIA investigates approximately 3,000 complaints each year.212

BIA forwards complaints alleging lesser offenses—typically those that could result in a five-day
suspension or less—to the 22 individual police districts. Over the past five years, on average, the police
districts investigated approximately 2,200 complaints per year. While the police districts do not receive
much attention in the public debate over the police oversight structure in Chicago, a significant number of
cases land there.

CPD Review. If an IPRA or BIA investigation results in a sustained finding and the recommended
discipline is not termination, the case is forwarded for review within the CPD by members of the accused
officer’s chain of command (“Command Channel Review”), and then to the Superintendent. If IPRA or BIA
recommends termination, the case goes straight to the Superintendent. If the Superintendent agrees with
the sustained finding and the recommended discipline, IPRA or BIA serve notice on the officer.

Arbitration. An officer can challenge sustained findings and disciplinary recommendations in arbitration.
The specific procedure depends on an officer’s rank and the level of discipline recommended. The
arbitrator’s decision is final.

Police Board. The Chicago Police Board is made up of nine civilians appointed by the Mayor and
confirmed by the City Council. The Board’s primary function is the adjudication of disciplinary cases where
the recommended penalty is termination, as well as suspensions over 30 days for Sergeants, Lieutenants
and Captains.213 A contracted hearing officer presides over an evidentiary hearing, similar to a trial. The
Board members review the record, and decide by majority vote whether the officer is guilty and, if so,
what the penalty should be. The Board’s decisions are appealable to the Circuit Court.




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Why does the community not have a role in the police oversight
system?
At the Task Force’s community forums, public comments repeatedly converged on two central themes:
many residents across the City have lost trust in the current system of police accountability, and many will
not trust an oversight system in which they do not play a meaningful role. The message is clear that
substantial community involvement is an absolute necessity to build trust in the police accountability
system.

The Task Force agrees that the police oversight system would benefit greatly from increased community
involvement. A community oversight body is an increasingly common element of effective police
accountability systems around the country. This would fill a gaping hole in Chicago’s current system—one
that would likely be required by the Department of Justice regardless of this Task Force’s
recommendations.

  Recommendations
  The City should create a Community Safety Oversight Board, allowing the community to have
  powerful involvement in the police oversight system.

  The Community Safety Oversight Board would be comprised entirely of community representatives
  and would have power to oversee CPD, the new CPIA and all police oversight mechanisms. The
  Community Board would ensure that CPIA and all components of the police oversight system are
  held fully accountable, operate with maximum transparency and perform their roles in a manner
  that is informed by community needs.

  If the Community Board is to earn the legitimacy it requires and deserves, its precise powers and
  makeup should not be set by the Task Force, but should be developed with broad public input. The
  Mayor and the City Council should hold full and robust public hearings on the topic and fully vet the
  design and implementation of this critical body. Nonetheless, the Task Force does suggest that the
  Community Board’s powers and authority include:

  ● Selecting the Chief Administrator of the new CPIA and conducting public hearings to make the
     selection.

  ● Requesting that the Inspector General for Public Safety perform specific audits and analysis of the
     policies, procedures and practices of CPD, CPIA and the Police Board that the community does not
     believe are being adequately addressed, and issuing recommendations based on the findings to
     which CPD or the relevant agency must respond.

  ● Requesting that the Inspector General for Public Safety perform specific audits of CPIA and BIA
     investigations of serious cases of alleged police misconduct or use of force to promote the quality
     and integrity of the investigations.

  ● Directing CPD, CPIA and the Police Board, through requests to the Inspector General for Public
     Safety, to collect and share data to facilitate community oversight.




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  ● Analyzing all sustained findings and discipline recommended by CPIA, BIA or the Police Board to
     assess disciplinary trends, determine whether discipline is consistently applied and fair, and
     determine whether final disciplinary decisions are being executed.

  ● Conducting public hearings on any and all matters related to the CPD and its oversight entities.

  ● As representatives of the broader community, holding frequent public meetings.

  In selecting Community Board members, it will be critical to establish a process that maximizes the
  Board’s independence, ensures transparency and provides accountability to the public. The Task
  Force considered five methods for selecting Board members, which are summarized in Appendix 6.
  In sum, the Task Force considered elections, City Council or Mayoral appointment, a third-party
  application process and hybrid versions of these options.

  Ultimately, each option has advantages and disadvantages, but a model that populates the
  Community Board solely through elections, or solely through Mayoral appointment, would
  undermine the Board’s effectiveness and legitimacy at the outset.

  The election model in particular has not been successfully implemented elsewhere, and brings a
  host of challenges. These include cooption by pre-existing power structures (e.g., well-funded groups
  could run slates of candidates and take over the Board), use by individuals looking for a political
  springboard, and a potential lack of diversity. Further, the cost and political nature of elections lead
  the Task Force to disfavor this method.

  As part of any selection process other than direct election, the system should build in protections
  against manipulation. For example, qualifications should be established for the job, a screening
  committee could, after reviewing applications, select three people for every vacancy, and all could be
  required to participate in a series of public hearings to present their credentials and answer
  questions from a selection committee and the public. The Mayor, City Council or third party would
  then select or vote for one of three nominated candidates for each open position, or a selection
  committee could approve them.


What are the barriers to identifying police misconduct? The Code of
Silence and beyond.
The police cannot be held accountable for misconduct that is hidden. Yet there are many ways in which
the current system serves to make it more difficult to identify potential misconduct. For years, people
have talked about a “blue code of silence,” an unwritten rule that says that a police officer will not report
on another police officer’s misdeeds.

In December 2015, Mayor Emanuel was asked if there is a “code of silence” that exists among Chicago police
officers. “The short answer is yes,” he said. Referring to the shooting death of Laquan McDonald, Mayor
Emanuel conceded that “this isn’t the first shooting where maybe there hasn’t been honest reporting by
officers who were there.”214 As he then explained in a December 9, 2015 speech to the City Council:

        This problem is sometimes referred to as the Thin Blue Line. Other times it is referred to as the
        code of silence. It is the tendency to ignore, deny or in some cases cover-up the bad actions of
        a colleague or colleagues. . . . We cannot ask citizens in crime-ravaged neighborhoods to break



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        the code of silence if we continue to allow a code of silence to exist within our own police
        department.215

Current and former CPD officials have also increasingly acknowledged a “code of silence.” Former
Superintendent Richard Brzeczek (1980-83) has said that a code of silence “has always existed in the
police department.”216 Eugene Williams, the current Chief of the Bureau of Support Services, and former
Chief of the Bureau of Patrol, stated that:

        [S]ix months of academy training cannot stand up to a career of “on the streets influence” by
        veteran officers who are all too anxious to show the rookies how things are really done on
        the streets. The way it is done on the streets is to protect and cover for your partner at all
        cost, even at the expense of sacrificing every ounce of one’s integrity. This culture has been
        all too evident when we investigate thousands of allegations where the partner of the
        accused never sees, or hear[s] of any inappropriate conduct although they work in very close
        proximity of each other during their entire tour of duty. Yet, within this culture it is
        considered righteous to cut corners and embellish on the facts in a case report or arrest
        report to win a case in court.217

The Task Force has found that the code of silence is not just an unwritten rule, or an unfortunate element
of police culture past and present. The code of silence is institutionalized and reinforced by CPD rules and
policies that are also baked into the labor agreements between the various police unions and the City.
These impediments to identifying potential misconduct must be eliminated if CPD and the City are to end
this persistent challenge.

COLLECTIVE BARGAINING AGREEMENTS MAKE IT HARDER TO IDENTIFY MISCONDUCT
Police officers are often called upon to take great risks, and in order to protect themselves and the public,
they are authorized to use force.218 Any time an officer is alleged to have used excessive force, they are
afforded all the due process protections the law provides. However, the Task Force found that in the
interest of protecting police officers from unfair or unfounded allegations, the collective bargaining
agreements (CBAs) between the four police unions and the City create unnecessary barriers to identifying
and addressing police misconduct. Many provisions are out of step with national trends or pose
impediments to accountability that are not sufficiently justified by the needs of due process.

Union leadership defends these CBA provisions, noting that they are the product of arm’s length
negotiations. But their members’ foremost duty is to serve and protect the public. Any provision of the
CBAs that impedes or obstructs accountability undermines that primary duty and violates the public trust.
Eliminating or amending these provisions will allow valid complaints to be reviewed and make it easier to
uncover patterns of abuse.

The CBAs discourage citizens from coming forward with complaints.
The CBAs state that disciplinary proceedings cannot be brought against an officer unless they are based
on complaints accompanied by a signed affidavit—a legal document in which the person filing a
complaint swears that everything in the complaint is true and acknowledges that there are legal
consequences for lying.219 That may sound like a commonsense way to ensure that people do not bring
false claims. But many citizens lack faith in the oversight structure or broader legal system and may think




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that even if their complaint is justified, signing an affidavit could put them in legal jeopardy. The affidavit
requirement keeps people from bringing complaints and helps some police misconduct remain hidden
from view.

Without a signed affidavit, there is generally no investigation at all. Over the past five years, BIA closed an
average of 537 complaints per year for lack of an affidavit. IPRA closed an average of 618 cases per year—
or nearly 40% of investigations—over the past five years due to the absence of affidavits. Moreover, an
analysis of CPD records from a four-year period ending in mid-December 2014 found that fully 58% of the
17,700 complaints of police misconduct filed with IPRA were tagged as having “no affidavit” and were
therefore not investigated.220 The amount of unsigned complaints leaves the City, and CPD, unable to fully
understand the nature and challenges underlying these allegations of misconduct.

The CBAs allow for the Chief Administrator of IPRA and the BIA to in effect override the affidavit
requirement after reviewing “objective verifiable evidence” and affirming that based on that evidence, “it
is necessary and appropriate for the investigation to continue.”221 This provision is rarely used, and not to
the extent it could and should be.

The CBAs also prohibit most anonymous complaints.222 Like the affidavit requirement, this may
discourage some people from bringing perfectly legitimate complaints. Indeed, more and more cities are
recognizing that the cost of forbidding anonymous complaints greatly exceeds the benefits. Today there
is a strong trend toward accepting them, including as part of court-enforced Department of Justice
consent decrees (in New Orleans and Cincinnati).223 Accepting anonymous complaints also allows a police
department to use an additional set of data as a management tool for proactively addressing
performance problems.

The CBAs also state that before an officer is questioned about alleged misconduct, he or she must be
notified of the complainant’s name.224 If officers are put on trial for breaking the law, they clearly have a
right to confront their accusers. And in an internal disciplinary hearing, if a complaint is sustained,
fundamental fairness may warrant disclosure of the complainant, especially in cases in which the
complainant is the primary witness. But there is a danger to enforcing this requirement while an
investigation is still pending: it may invite an officer to intimidate a complainant, or even to seek
retribution. Where many citizens already do not trust the police, this provision may provide one more
reason not to come forward.

The CBAs make it easy for officers to lie in official reports.
Under the CBAs, officers involved in shooting incidents cannot be required to provide a statement to IPRA
until after at least a 24-hour period.225 Critics contend that the waiting period provides officers time to
protect themselves by agreeing on a false story they will all tell when they have their official interviews
with investigators.226 Chicago is not alone in providing this buffer of time and there is an argument that
the memories of those involved in traumatic events are clouded by recent experiences. As scholars have
noted, the evidence on the impact of stress on memory is very complex, with contradictory findings.227
While the science is unsettled, the critics’ view has gained support as evidence has emerged from more
and more cases—including the shooting of Laquan McDonald—where police officers gave remarkably
similar reports of incidents and later evidence made clear that the reports were simply not true. This
makes it difficult to identify misconduct, especially where an incident was not captured on video.



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Similarly, the FOP contract includes a provision that can be used to protect officers whose statements are
contradicted by video or audio evidence. The contract provides that an officer cannot be charged with a
false statement if the CPD, IPRA or BIA is in possession of video or audio evidence and (a) did not provide
the officer an opportunity to review it prior to giving a statement, or (b) after giving a statement, the
officer was not provided an opportunity to clarify and amend the original statement. This provision does
not seem to serve any valid purpose. When an officer’s report differs from the video or audio evidence,
we should not assume that the officer knowingly made a false statement. But at the same time, we
should not make it impossible to discipline an officer when there is evidence that a statement was
knowingly false.

The CBAs further constrain investigations by dictating and micromanaging how interrogators may ask
questions. For example, the FOP contract provides that: “Generally, the secondary interrogator will ask
follow-up questions for clarification purposes. The primary interrogator will not ask any questions until
the secondary interrogator has finished asking questions and invites the primary interrogator to ask
follow-up questions.”228 Of course, CPD officers and detectives are not similarly constrained when they
interrogate suspects.

As a result of the collective bargaining process, IPRA and BIA are also required to give officers highly
specific notice of allegations, which threatens the efficiency and efficacy of the investigation.229 For
example, arbitrators have found that if an officer lies to investigators, IPRA must present the officer with a
new set of allegations that specifically addresses the lie, or else IPRA cannot charge the officer with
making a false statement.230

The CBAs require officials to ignore and destroy evidence of misconduct.
Under some circumstances, the CBAs require that evidence of misconduct be ignored. For example, the
CBAs forbid the investigation of complaints older than five years without permission of the
Superintendent.231 There is certainly a place for consideration of an applicable statute of limitations, as it
is harder to prove or disprove events that happened long ago. And it is reasonable to require good proof
before disciplining an officer. It is not reasonable to impose strict limitations on what matters can even be
investigated. Misconduct may never come to light, and patterns may be more difficult to uncover.
Principles of procedural due process, the application of evidentiary standards and consideration of
mitigating factors better serves just outcomes consistent with the public interest than do absolute
prohibitions on investigation.

Similarly, the CBAs require that in some cases where there is a finding that an officer engaged in
misconduct, but the finding did not result in significant punishment, the information cannot be used
against the officer after a short amount of time and must be removed from the officer’s record entirely in
a few years.232 There is no compelling reason for these provisions. The CPD and the various police
oversight entities should be able to draw on any relevant evidence and findings to identify potential
patterns of misbehavior.

The CBAs also mandate the destruction of most disciplinary files after five years.233 While the City has, in
practice, not implemented the requirement for many years because it contradicts Illinois law, the
language in the contract should be eliminated. Expunging records contradicts best practices, impedes the
development of early intervention systems and deprives the public of information that is rightfully



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theirs.234 As noted above, it also deprives police oversight bodies of evidence of potential patterns of bad
behavior. Moreover, it may also deprive wrongfully convicted persons of exonerating information.

Finally, the CBAs provide that CPD can only restrict secondary employment based on the nature of the
employment or if the hours interfere with job duties.235 Even that limited constraint is based on a system
of officers policing themselves; unlike other City workers, police officers are not currently required to
disclose secondary employment to CPD. The CPD is missing a key tool for identifying red flags that can be
indicators of corruption, such as unexplained income, or addressing potential conflicts of interest and
emotional stressors that may adversely impact performance that otherwise would not come to light.

The CBAs make it harder to encourage officers to report misconduct.
The single best source of information about police misconduct is police officers themselves. Officers work
extremely closely with other officers. Sometimes they are the only people who see what their fellow
officers do. Officers have a duty to report misconduct,236 though it seems clear that they routinely fall
short of fulfilling that duty. The CBA disserves and arguably encourages noncompliance with this critical
public duty by expressly prohibiting the CPD from rewarding officers who come forward as
whistleblowers.237

MISSED OPPORTUNITIES TO IDENTIFY MISCONDUCT

No dedicated system exists to identify and address patterns or practices.
While they are charged with investigating police misconduct, IPRA and BIA historically have not engaged
in efforts to identify officers whose records suggest repeated instances of misconduct or bias. They also
historically have not engaged in efforts to identify broader patterns or practices either of misconduct or
racially biased policing within CPD. The persistent failure of IPRA and BIA to examine pattern and practice
evidence substantially contributes to the police accountability vacuum in Chicago.

Effective police oversight means not just examining individual incidents, but also information in the
aggregate—identifying troubling trends and making sure that patterns of abuse or malfeasance are
identified and prosecuted. That means identifying officers whose records suggest repeated instances of
misconduct or bias, and exploring why a disproportionate number of complaints are concentrated in
certain units.

Since its inception, IPRA has had the power to examine patterns of complaints when investigating police
misconduct, but has not exercised it.238 The tragedies and scandals involving CPD officers have
consistently involved individuals and groups of officers who had amassed patterns of complaints that
went unchecked and underinvestigated by CPD and the City. IPRA is positioned to function as a feedback
loop to inform and improve CPD policies, practices and training. IPRA’s failure to effectively analyze and
apply its expansive knowledge of policing is a lost opportunity that perpetuates the status quo by
shielding ineffective and illegal practices from scrutiny, and puts citizens at risk by allowing abusive
officers to remain in the field.




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Police officers have no method to report misconduct confidentially.
In recognition of the inherent difficulties in reporting misconduct by coworkers, many organizations
including corporations, federal agencies and—in a few instances—police departments, have implemented
whistleblower hotlines to allow anonymous reporting of unethical or improper conduct.

The Task Force is aware of at least one police department that has established a hotline. San Diego
established an anonymous, confidential hotline in 2011 with 24/7 availability.239 The hotline received over
100 calls in the first month and then a total of 300 calls in the 18 months that followed. Calls are recorded
as messages, and the Chief of Police conducts an initial review of messages on a daily basis before
forwarding them for follow-up.

Information from outside lawsuits is not used.
Additionally, police oversight bodies have not used valuable information from outside lawsuits to
generate investigations. The civil rights and criminal defense bars in Chicago have, through decades of
litigation, developed rich data regarding CPD policy and practice. This information has largely been
untouched by the various oversight entities. This represents a significant missed opportunity to ensure
accountability.

  Recommendations
  When the CBAs are renegotiated in 2016 and 2017, the Mayor and the Law Department should
  seek to eliminate or revise provisions that perpetuate the code of silence and make it more
  difficult to identify misconduct.

  The following CBA provisions should be removed or revised:

  ● The affidavit requirement should be removed so that investigators can identify additional cases of
     police misconduct.

  ● Anonymous complaints should be allowed to encourage reporting by those who fear retaliation,
     including whistleblowers.

  ● Officers should not be informed of the complainant’s name prior to interrogation. There is little
     need for the officer to know the name of a complainant prior to interrogation if it is later disclosed
     during the resolution of the case.

  ● The provisions delaying interviews in shooting cases for at least 24 hours should be revised to
     ensure that officers are separated and remain separated from other officers until all officers have
     given statements. The Department of Justice’s Consent Decree with the Los Angeles Police
     Department contains such a requirement.240 When formal questioning begins, the inquiry will
     start with a recitation of any and all conversations that the officer has had with law enforcement
     between the shooting and the commencement of the interview.

  ● Officers should no longer have a right to amend statements if they have not been provided with
     the audio or video evidence, and reviews of the footage should not be pre-conditions to charging
     a Rule 14 violation.




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 ● Investigations of complaints known to the CPD for five years or more should not require
   Superintendent permission. This is an unnecessary rule, as the statute of limitations will apply for
   criminal matters and, for administrative matters, the nature and severity of the conduct should
   determine whether the complaint should be investigated. Should an individual continue to make
   such decisions, the authority should be vested in someone outside of the CPD, such as the Chief
   Administrator of IPRA (or its successor, CPIA).

 ● The provision requiring destruction of records should be eliminated. The rule is in tension if not
   outright conflict with general principles of public record-keeping, and deprives the public of
   important information that is rightfully theirs and may include the destruction of information that
   serves numerous operational and public policy objectives.

 ● The provision that forbids the CPD from rewarding officers who act as whistleblowers should be
   removed.

 ● The CBAs should be amended to require police officers to disclose secondary employment, as
   other City workers are required to do.

 ● The FOP contract dictates the manner in which interrogators can ask questions, which presents an
   unnecessary burden on interrogators and potentially sets them up to violate the CBA for a
   technicality. The policy does not appear to comport with any best practices, and should be
   eliminated.

 ● Officers must be informed of the nature of the allegation prior to interrogation. This provision is
   presently interpreted very specifically to mean a detailed recitation of the facts that support all
   possible charges. Moreover, if the officer lies to investigators during the investigation, new
   allegations must be presented to the officer. This provision should be amended to allow for more
   general recitation of allegations.

 The Mayor and the City Council should create an Inspector General for Public Safety, to be
 housed within the City of Chicago Office of the Inspector General.241

 The creation of an Inspector General for Public Safety will greatly enhance the transparency,
 accountability and quality of Chicago’s police oversight structure. The Inspector General for Public
 Safety should have a broad grant of authority so that it is empowered to examine and make
 recommendations regarding the full scope of police department-related activity. Effective execution
 of its duties will require new, dedicated funding and specialized personnel.

 Over the past few decades, the number of police inspectors general has grown substantially and a
 consensus has emerged that these auditors play a unique and essential role. In sum, this role will
 police the police as well as the entire police oversight system in Chicago. While there is need for
 police oversight bodies that focus on investigating individual allegations of misconduct, the Inspector
 General for Public Safety would go farther and work to identify and address patterns of police
 misconduct or racial bias. In its ideal form, it will review past acts within the system to uncover what
 is not working, monitor ongoing actions to improve the system of today and recommend policy
 changes to ensure systemic improvements for the future.




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  The Inspector General for Public Safety should be empowered to identify misconduct and racial bias
  and their sources by auditing and monitoring patterns of police activity and complaints. The pattern
  analysis should include, but not be limited to: officer use of force; police-involved shootings; use of
  any weapon used to inflict pain and/or gain compliance; allegations of warrantless searches, theft or
  other criminal activity; and potential bias including but not limited to bias in policing related to race,
  ethnicity, gender, sexual orientation, gender-identity and geography. The pattern analysis could also
  include analyses of lawsuits and other relevant data to identify individuals and groups of officers
  who may be engaged in a pattern of misconduct.

  Analyzing patterns can be incredibly powerful. Many individual complaints are not sustained
  because the complainant tells one story and the officer tells another, and there is no independent
  evidence to support either side. But evidence that an officer may have a pattern of bad behavior,
  particularly a pattern of a specific kind of bad behavior, can identify problems that an investigation
  into a single “he said, she said” incident could not.

  This kind of pattern analysis can also identify underlying management problems that are likely to
  lead to misconduct. Investigation of individual incidents places the focus on an individual bad actor,
  when the bigger problem may be the organizational culture that either promotes, acquiesces in or
  fails to address bad behavior or their indicators. Similarly, pattern analysis, focusing on police
  department policies and procedures may help to uncover the underlying causes of chronic
  misconduct, like when an outdated policy or a lack of training leads multiple officers to make bad
  decisions or engage in misconduct.

  The Inspector General for Public Safety would also review policies and practices of CPD and the
  police oversight bodies in order to identify systemic problems and propose changes in policies and
  procedures, training and supervision. Further, the body should use complaint history for purposes of
  identifying patterns and share these results with CPIA and BIA. In this way, the Inspector General for
  Public Safety would help prevent future misconduct, criminal behavior and biased policing. In all
  areas, the Inspector General for Public Safety would also be authorized to follow up to determine
  whether changes have been implemented and are effective.

  Pattern and practice analysis should not only be the job of the Inspector General for Public Safety.
  The new CPIA (discussed below) and BIA must conduct pattern and practice analysis both proactively
  and reactively as part of their disciplinary investigations. CPIA should conduct regular and systematic
  analysis of citizen complaints, civil rights lawsuits, uses of force, hearings on criminal motions to
  suppress, judicial findings, incidents where individuals were charged with offenses commonly
  believed to cover up police misconduct and other relevant evidence. When CPIA identifies potential
  patterns of abuse, it should launch disciplinary investigations as appropriate and refer its findings to
  the Inspector General for Public Safety for possible broader program analysis and
  recommendations.

  The new CPIA and BIA should also be required by law to share specified information with the
  Inspector General for Public Safety in order to identify potential misconduct or sources of
  misconduct. This could include information uncovered through pattern and practice analysis. For
  example, CPIA and BIA should be required to report monthly to the Inspector General for Public
  Safety any problems and deficiencies relating to CPD’s operations, policies, programs and practices



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  that would reasonably be expected to adversely affect the effectiveness of CPD, public safety, the
  exercise of civil liberties and civil rights or the public’s confidence in CPD. New York City and Denver
  have similar requirements.

  Within the Inspector General for Public Safety, there should also be a Diversity and Inclusion Monitor
  specifically charged with reviewing CPD’s actions for potential racial and other bias, along with
  reviewing CPD’s anti-discrimination policies and procedures and tracking the consequences for
  violations of these policies and procedures. The Diversity and Inclusion Monitor would make bi-
  annual reports to the new Community Safety Oversight Board on CPD’s performance by race, any
  racial disparities or discrimination and the consequences administered for policy violations and
  other race-related misconduct.

  Some key features of the new Inspector General for Public Safety are discussed in the remainder of
  this section, and are addressed in further detail in Appendix 6.

  CPD should create a hotline for department members, whether civilian or sworn, to lodge
  complaints, and develop a third-party system for the processing and follow-up of all comments
  and complaints reported to the hotline.

  Hotlines are well documented in the private sector and federal government, and research into their
  experiences provides further guidance. Keeping hotlines open outside of normal work hours is
  important for facilitating reports from employees that feel more comfortable when they are able to
  report outside of the workplace.242 Anonymity and explicit procedures for the protection of a
  whistleblower from retaliation are important to fostering the trust in the program.243 Employees
  often trust third-party hotline services more than internally-operated hotline services, suggesting
  that a fellow police department colleague (or supervisor) should not be the one answering
  the phone.244


Why are investigations ineffective and biased?
Citizens have little to no faith in police misconduct investigations. Officers, likewise, are not forced to take
the existing system seriously. From start to finish, investigations are riddled with structural, cultural and
procedural problems that cast doubt on the intentions and integrity of the investigating agencies and the
larger oversight system. Misconduct goes uninvestigated despite the availability of information about
these incidents; investigations are hampered by unreasonable and unjustified procedures; and the
investigative agencies lack the resources and support to be effective, and show troubling signs of bias.

THE MEDIATION PROCESS UNFAIRLY PREEMPTS INVESTIGATIONS
IPRA and BIA preempt full inquiry into potentially serious misconduct and abuse allegations through what
they call a “mediation” process. In reality, this process functions as a form of plea bargaining. It requires
that an officer admit to alleged misconduct in exchange for reduced punishment. IPRA and BIA then close
the case without a complete investigation. This mediation process was originally intended as an efficient
way to address complaints about minor infractions for which multi-year investigations were unwarranted.

The mediation process is now used in cases involving serious misconduct that could warrant lengthy
suspensions or even termination. This is especially troubling given the fact that CPD oversight agencies



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have been using mediation more frequently. IPRA’s use of mediation has increased considerably in recent
years, going from just 15 cases in 2011 to over 100 in 2013 and 68 in 2015. 245 BIA reported performing an
average of 11 mediations per year since 2012. In the first few months of 2016, BIA has performed 12
mediations.

IPRA has historically had no criteria or limitations to determine which complaints are eligible for
mediation. In cases mediated in 2015, officers agreed to accept IPRA’s sustained findings for: slapping,
punching and directing profanities at a victim; striking a victim in the head while she was handcuffed and
on her knees; hitting a victim/girlfriend multiple times, fracturing her nose; striking a victim’s head on
concrete and failing to render assistance; and strip-searching a minor without justification, authorization
or completing documentation.246 Closing cases like these without complete investigation deprives the City
of important information about potentially criminal conduct and officer fitness and, as some reasonably
argue, furthers CPD’s code of silence.247

BIA has developed some standards and criteria regarding what types of complaints it will consider
mediating—yet none of these standards are formalized in writing. At best, before approving mediation
for an investigation, BIA reviews the case for appropriateness, especially when the request for mediation
comes from the union.

This standardless plea bargaining system is an impediment to appropriate investigation and true
accountability. However, a true mediation program can be a valuable part of an effective police
accountability system. Other cities take a very different approach than Chicago. Unlike Chicago’s program,
mediation programs in many other cities involve face-to-face meetings between citizens who brought
complaints and the police who are the subject of the complaints. In model programs, these meetings are
facilitated by a neutral third party.248 Such an approach both meets with best practices and, more
importantly, is aligned with the objectives of restorative justice that is an important missing element of
community-police relations.

Studies show that mediation programs that involve citizens produce positive outcomes for citizens as well
as police. A study of the Denver mediation program found that almost 60% of complainants were
satisfied with the outcome and 75% were satisfied with the process; officers’ rates of satisfaction were
high as well—68% were satisfied with the outcome and 79% with the process.249 Additionally, in at least
one study, mediation was found to correlate to fewer complaints in the follow-up period included as part
of the evaluation, suggesting that mediation may have an impact on future officer behavior. Officers who
engaged in mediation had statistically fewer discourtesy and improper procedure complaints following
the mediation, compared to the control group officers.250

High satisfaction rates may be largely explained by the fact that traditional police misconduct
investigations do not focus on providing what most complainants actually want. Studies of complainants’
goals indicate that few want to see the officer punished, but many instead just want to report the
incident, desire an apology or explanation from the officer or would like to meet in person and express
themselves to the officer.251




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INVESTIGATIONS ARE COMPROMISED BY REAL AND PERCEIVED BIAS AND CONFLICTS OF
INTEREST
Early on in its tenure, IPRA enjoyed relative independence from City Hall and spoke to the media freely,
without prior approval of either timing or content. In contrast, the tragic fatal shooting of Laquan
McDonald exposed levels of collaboration between the administration and IPRA with regard to
messaging.

Personnel and staffing practices pose an unacceptable risk of producing biased investigations. IPRA is a
civilian entity and therefore is intended to be free of bias in favor of the police. However, IPRA’s
leadership as recently as 2014 was comprised entirely of former law enforcement officials, which throws
serious doubt upon the agency’s ability to be independent and lends credence to concerns that bias
pervades IPRA’s findings. Additionally, the fact that candidates for certain IPRA positions must be
reviewed by City Hall further compromises the independence of its staff.252

Shooting investigations show an institutional bias toward police. Of the 400 officer-involved shootings
from 2007 (when IPRA was created) through 2014, less than 1% have been found unjustified.253 This
number appears to be particularly troubling in light of the fact that Chicago tops big cities in fatal police-
involved shootings.254 The legitimacy of these findings is further questioned by allegations that IPRA
maintained a highly problematic policy permitting the Chief Administrator to order investigators to
change findings without creating a record of the disagreement.255

Moreover, where investigations are carried out at the district level, an officer’s direct supervisor is
involved. That can easily create a conflict of interest for a number of reasons, including where the
supervisor may have given orders that led to the officer’s alleged misconduct. Additionally, the district
investigations are structured inconsistently depending on the district—some have Sergeants and
Lieutenants rotate doing investigations, others dedicate one specific person to this function—which poses
an obstacle to oversight and accountability.

RESOURCE AND STAFFING CONCERNS IMPEDE EFFECTIVE INVESTIGATIONS
IPRA’s budget is insufficient and unprotected. IPRA’s budget in recent years has not adequately supported
the needs of the agency, and any increases are subject to the political process like most other agency
budgets. For IPRA, a watchdog, this poses an inherent conflict of interest, as IPRA should not be at the
mercy of the Mayor and City Council for its funding.

BIA struggles to recruit qualified sworn personnel, and both BIA and IPRA do not provide adequate
training, which directly affects the quality of investigations. The ability to recruit a motivated and talented
staff is critical to the success of any organization. It is difficult for BIA to attract qualified department
members, as investigating misconduct is a politically challenging and often thankless task. For those staff
it does have, BIA has been unable to secure sufficient funding for training, despite making requests. IPRA
likewise has an inadequate non-personnel budget to meet, in addition to basic office needs, training and
information technology needs critical to a high-functioning investigative agency.

Outdated, inadequate and fragmented technology systems are also a significant obstacle to effective
investigations. IPRA and BIA use a computer case management system, CLEAR, a database CPD operates.
IPRA’s reliance on CLEAR hinders its effectiveness and transparency, and potentially compromises its
independence in appearance and fact. However, IPRA lacks the technology, infrastructure and staff



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expertise to manage its own data systems. As a result, IPRA lacks robust access to CPD information and
data. The limited functionality of CLEAR needlessly causes challenges when IPRA attempts to carry out
basic core functions, such as uploading and viewing video, and does not facilitate data analysis.

Case management at the district level is not done in CLEAR, but rather using a paper-based system. This
poses an obstacle to coordination and timeliness of investigations, as BIA cannot systematically track the
status of the investigations.

UNNECESSARY INVESTIGATION DELAYS
IPRA investigations have consistently been suspended while the Cook County State’s Attorney’s
determined whether or not it would move forward with criminal charges under the same set of facts IPRA
was investigating. The practice led to long delays in investigating and resolving IPRA’s cases after the
State’s Attorney’s Office closed its investigation. This need not be the case. While it may sometimes make
sense for an IPRA investigator to pause an investigation to preserve the integrity of the criminal matter,
this rule should not be applied universally in all cases, particularly where a delay is adverse to the City’s
and the public’s interests in administrative justice.

INSUFFICIENT TRANSPARENCY IMPEDES OVERSIGHT OF INVESTIGATIONS
Overall, IPRA lacks transparency in both its processes and data, which makes it more difficult for
independent entities or the public to assess the quality of its work. The data that IPRA does provide is
confusing, incomplete and challenging to use. IPRA has not published an annual report since 2012, and is
under no legal obligation to do so. While IPRA does post summaries of de-identified sustained
investigations, the agency does not provide any substantive information related to other investigation
dispositions. IPRA does not post any information about the final disposition of its investigations, which
can occur years after IPRA’s sustained finding and often result in different discipline. There are several
critical activities IPRA engages in that are not sufficiently governed by written, thoughtful or transparent
policies. Key among these are the affidavit override process, mediation criteria, early warning policies,
discipline criteria and the litigation review process.

Investigations and discipline from BIA and the districts are not transparent in almost every respect. There
is no way for the public to follow a complaint through the process. The only information BIA posts is
contained in a single, 2-3 page annual report, listing the number of “complaint logs received by initial
category” for the most recent and previous year. The report also includes basic Police Board data for the
year. This information is difficult to locate on CPD’s website. The report for 2015 is not yet posted as of
April 2016. BIA and the districts do not provide the following information: the investigating entity (district
or BIA), complaints closed for lack of affidavit, average duration of investigation, recommended discipline
for sustained complaints, and summaries of sustained or not sustained investigations.

  Recommendations
  IPRA should be replaced with a new Civilian Police Investigative Agency. The City Council should
  enact legislation that ensures CPIA is established in accordance with the principles described in
  the report.

  There is little doubt that IPRA is badly broken. The more difficult question is what to do about it. The
  Task Force carefully considered whether IPRA should be allowed time to implement reforms, or if it



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 is simply beyond repair. The Task Force does not take this question lightly. Like CPD, IPRA
 undoubtedly has many employees who perform their job every day trying to do the right thing and
 are dedicated public servants. And IPRA’s current leadership appears dedicated to enacting
 necessary reforms. They have done admirable work in a short amount of time, all while facing
 uncertainty over the agency’s future.

 Nonetheless, it is clear that IPRA has lost the public trust. IPRA has failed to perform its duties as a
 civilian police monitor and oversight agency fairly, competently, with rigor and independence. IPRA’s
 record of incomplete and botched investigations, such as that reflected in public reports of court
 findings in the recent excessive force trial involving Commander Glen Evans, coupled with its
 dubious track record of finding virtually every police-involved shooting of civilians to be justified—all
 of these factors and more have seriously undermined IPRA’s effectiveness and impaired its ability to
 build trust in the community. Without the public trust, IPRA cannot fulfill its critically important police
 oversight functions.

 Recently appointed Chief Administrator Sharon Fairley has initiated substantial reform efforts at
 IPRA that should be applauded. However, the perception that IPRA is irretrievably broken remains
 widespread and profound. A police oversight body charged with investigating the most severe
 misconduct, abuse and brutality cannot fulfill its most basic function in the face of such widespread
 mistrust. According to a recent poll, 64% of all Chicagoans believe that cover-ups and a code of
 silence are widespread problems in CPD.256 The Task Force believes that this view of policing is
 fueled by the clear message that bad police officers are able to act with impunity—that police
 oversight bodies, the most well-known of which is IPRA, do not hold police officers accountable.

 For these reasons, the Task Force recommends that IPRA be stood down and replaced with a new,
 more independent and well-resourced CPIA. CPIA will serve the same core function as IPRA—taking
 citizen complaints and investigating serious cases of police misconduct. CPIA will not be the same
 body with a different name, however. The Task Force recommends reforms to create a true culture
 of accountability and transparency.

 To provide greater independence and accountability to the community, the Chief Administrator of
 CPIA should be selected by the new Community Safety Oversight Board. The selection of this
 position should be insulated from politics, transparent and widely inclusive. Moreover, the City
 should establish hiring standards for CPIA investigators to avoid bias, or the perception of bias.
 Previous sworn CPD employees (and non-sworn if they have worked for CPD in the past five years)
 and employees of the Cook County State’s Attorney Office should be prohibited from serving as
 investigators and/or the Chief Administrator. Individuals who hold these positions must reflect the
 city’s diversity.

 Additionally, CPIA’s independence would be protected by giving it sufficient resources and powers to
 conduct prompt, unbiased and independent investigations. CPIA’s funding would be set as a
 percentage of CPD’s budget so that the office cannot be defunded. This funding should provide CPIA
 with sufficient resources and powers to conduct prompt, unbiased and independent investigations
 into police misconduct. Best practices within the field indicate that the budget should be tied to a
 minimum floor of 1% of CPD’s budget and/or a ratio of at least one CPIA investigator for every 250
 sworn CPD officers.



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  In order to further ensure CPIA’s independence, CPIA should be able to retain its own counsel and
  represent itself in legal proceedings. It should have the power to collect evidence, conduct prompt
  interviews, subpoena witnesses and enforce subpoenas through its counsel. CPIA should be
  allocated technology and infrastructure resources sufficient to manage its own data systems,
  tracking software and case management capacity so that it does not need to rely on CPD for
  technology that might bring into question its independence.

  CPIA’s jurisdiction would be increased to include unlawful searches and seizures, false arrests and
  denial of access to counsel. At the end of CPIA’s first year of operation, an independent entity will
  evaluate whether further expanded jurisdiction is appropriate or achievable. CPIA would also have
  jurisdiction to conduct follow-up investigations in any case where it has original jurisdiction—e.g., if
  an officer files a false police report.

  CPIA should also be empowered to investigate any incidents that fall under its jurisdiction, even in
  the absence of sworn complaints. No credible allegation should be ignored because of technical
  complaint submission requirements. CPIA should be able to launch investigations based on any
  credible source, including media accounts, a review of use-of-force reports or referrals from other
  oversight entities.

  CPIA should gather and leverage data generated by civil litigation and criminal motions to suppress
  to investigate potential police misconduct. CPIA should be charged with investigating all civil lawsuits,
  which if submitted as a complaint, would fall under its jurisdiction. Further, to determine if an
  investigation is warranted, CPIA should develop a process to analyze all criminal motions to suppress
  that allege facts, which if submitted as a complaint, would fall under its jurisdiction. As mentioned
  previously, CPIA should also be expected to play a role in investigating policies and practices and
  using the findings to inform its investigations. In addition, CPIA (along with BIA) should examine
  officers’ complaint histories and relevant complaint investigative files as standard, required parts of
  every disciplinary investigation into police misconduct.

  CPIA should ensure an accessible, professional and supportive complaint process. Victims should be
  able to file complaints via the internet, over the phone and in their communities. Practices should be
  informed by national models, such as the New York City’s Civilian Complaint Review Board, which has
  developed a model of hosting meetings within city neighborhoods on a posted rotating basis to take
  and verify complaints. CPIA should also provide support services to complainants, including regular
  updates regarding investigations, information about the process and outcomes, and referrals to
  outside service providers when needed. CPIA should conduct community education and engagement
  campaigns to educate the public about the complaint/investigative process and their rights. All CPIA
  investigators should be trained to work with victims of trauma, and taught to conduct victim/trauma-
  sensitive interviews.

  Finally, CPIA should operate with complete transparency. At present, there is simply no way for a
  citizen to easily track a complaint. In contrast, the New York City Citizen Complaint Review Board
  allows tracking of all cases via its website.257 Chicago is behind the times and needs to catch up to
  sufficiently serve its citizens. CPIA must also prioritize keeping the general public informed by
  posting summary reports of each completed investigation; publishing comprehensive annual reports




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 on its work; and by establishing a transparent process to make training, policy and procedure
 recommendations to the CPD.

 The Inspector General for Public Safety should be given express authority to audit, monitor and
 review investigations of individual cases of police misconduct.

 The Inspector General for Public Safety should be authorized to audit, monitor and review the quality
 and integrity of individual investigations and findings. This may include reviewing a completed
 investigation or monitoring an ongoing investigation. It should be empowered to request that
 individual investigations be expanded or reopened and, if the investigating agency refuses, to
 conduct the investigation itself. When investigations into serious uses of force do not result in
 sustained findings, the Inspector General for Public Safety should be required to work with CPIA and
 CPD to conduct Force Analysis Panels to determine if the incident revealed any systemic deficiencies
 in training, policy, supervision or equipment.

 If CPIA and BIA continue “mediating” complaints alleging officer misconduct, they should develop
 clear standards for mediations and implement new processes.

 The Task Force understands that the current mediation system has some benefits, particularly when
 investigating cases that allege minor infractions, which may not warrant the use of limited resources
 to investigate fully, and domestic violence cases, which are notoriously difficult to prove. We
 recommend that if CPIA and BIA continue alternative dispute mechanisms such as “mediation,” the
 process should be reformed to proceed on the basis of formal, jointly developed eligibility criteria
 that take into consideration, at a minimum, the severity of the allegations, the officer’s disciplinary
 history and the quality and quantum of evidence. The criteria should (1) be informed by national
 best practices; (2) prohibit pleas in complaints concerning conduct that, if sustained, would result in
 serious discipline; (3) be tied to a discipline matrix; (4) be made publicly available; and (5) involve the
 complainant where appropriate.

 Reasonable limits should be placed on the use of alternative dispute resolution to prevent potential
 abuse. For example, the policy could provide that officers cannot participate in plea bargaining more
 than once in any two-year period. Further, consideration should be given for banning the use of
 mediation in cases of significant physical harm.

 As part of the mediation process, CPIA and BIA should invite citizens and officers to engage with one
 another to promote dialogue and understanding. Establishing a mediation program based on
 national best practices by involving citizens in the process could produce many potential benefits to
 complainants, police and the state of community-police relations in Chicago. This change might
 require amending the CBAs, which defines mediation as a method for agreeing on discipline.

 Civilian oversight should run concurrently with criminal investigations absent compelling
 criminal justice needs expressly stated by prosecuting authorities.

 It is better practice to presume that investigations should run concurrently. Prosecutors and the new
 CPIA should meet regularly to determine if one or the other’s investigation should be paused or
 whether both matters can be investigated at the same time.




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  BIA should be given the resources and staff it needs to conduct effective investigations, exercise
  more oversight over district investigations and increase the transparency of investigations.

  To ensure that BIA is staffed by qualified personnel and CPD personnel understand the important
  role BIA plays, anyone who wants to rise in the ranks should be required to rotate through BIA
  before being eligible for promotion to Commander.

  BIA (and the new CPIA) should receive a dedicated training fund to provide sufficient training for its
  staff. BIA and the police districts should purchase a single, integrated case management system off
  the shelf, and sufficiently train their employees on it.

  BIA should exercise more oversight over individual districts to ensure consistency throughout the
  districts with regard to the structure of investigations. BIA should institute an automatic process
  whereby once an officer receives a third complaint, the investigation at the district level would be led
  by the Deputy Chief in order to ensure greater independence from the officer’s daily chain of
  command.

  Finally, BIA and the districts should post all investigative data in a manner that is accessible and user-
  friendly, as well as summaries of all investigations, and should be held to the same transparency
  standard as the new CPIA.


Why is it so hard to impose discipline on an officer?
A true police accountability system requires that individual officers who engage in misconduct face real
consequences commensurate with the nature of the offense and any mitigating and aggravating
circumstances. In its current form, Chicago’s police oversight system is essentially structured to prevent
this from happening in a meaningful way.

THERE ARE NO CLEAR STANDARDS TO DECIDE THE APPROPRIATE LEVEL OF DISCIPLINE
IPRA, BIA, the Superintendent, the Police Board and arbitrators all make decisions at various points in the
process regarding what the appropriate discipline should be for an officer who engaged in misconduct. At
present, none use a discipline matrix, a national best practice that determines a fixed set of penalties for
behavior and history, and takes into consideration any mitigating and aggravating circumstances. Instead,
most of the entities turn to past precedent when making decisions about the level of discipline to impose.
A discipline matrix not only helps to ensure an officer receives the appropriate level of discipline and
therefore is held accountable, but it makes the oversight system more effective by sending the message
that actions have real consequences because discipline is fair, predictable and consistent.

CPD POLICIES AND PRACTICES CAN WEAKEN DISCIPLINE

Options
When a CPD member is suspended, he or she is not necessarily required to miss work or lose pay.
“Options” to suspension may be granted by the Superintendent to a member who has been ordered
suspended for a specified number of days.258 Subject to some limitations, the Superintendent may permit
the member to satisfy all or part of the suspension by forfeiting leave time, such as vacation days, or
working regular scheduled days off without compensation.



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The ability to serve the suspension using options lessens the impact of the discipline on both CPD and the
member. This reduces CPD’s incentive to prevent misconduct and its consequences because CPD does
not lose the member’s services to a suspension. Similarly, the member feels no effect on his or her
paycheck at the present time, if ever. It also disincentivizes the reporting of misconduct when an officer
found to have engaged in serious misconduct has almost no disruption to time in duty and sends a signal
to the rank and file generally that the disciplinary system lacks rigor and bite.

Command Channel Review
When IPRA or BIA recommends suspension, the case goes through Command Channel Review, a process
in which multiple members of an officer’s chain of command review the investigative file and the
appropriateness of the discipline recommendation.259 Command Channel Review provides a platform for
members who are potentially sympathetic to the accused officer to advocate to reduce or eliminate
discipline.

Command Channel reviewers have an opportunity to influence the Superintendent’s discipline decision,
and also that of the arbitrator, who frequently makes the final decision. Some arbitration decisions
reference the recommendations of CPD supervisors who participate in Command Channel Review.260 For
example, in an arbitration decided in 2015 the arbitrator quoted multiple officers who participated in
Command Channel Review and recommended finding the case not sustained or unfounded.261

The CPD review process overall can add considerable time to the process, which weakens the quality of
the record and delays holding officers accountable. When IPRA recommends discipline, CPD is required to
respond within 90 days. When BIA recommends discipline, there is no limit and the process can take up
to a year.262 There are no guidelines regarding how much time each of the Command Channel reviewers
should spend with the case, or any triggers built into the review process to move it along.263 After the
Command Channel Review, the case goes before the Superintendent.264 There is no amount of time given
for the Superintendent’s review.265

THE CBAS CREATE A GRIEVANCE SYSTEM THAT WEAKENS OR OVERTURNS DISCIPLINARY
DECISIONS
Even after a misconduct complaint is sustained, the collective bargaining agreements provide a grievance
procedure that can minimize the severity of the punishment or overturn it completely. The CBAs leave
much of the final decision-making about discipline to arbitrators, who frequently reduce the discipline.266
There are different processes to challenge the discipline, depending on the rank of the CPD member and
the amount of recommended discipline. The most recent FOP CBA introduced a form of arbitration called
the Summary Opinion process, intended to produce faster results. The arbitrator’s decision is final, often
results in reduced discipline and is not subject to oversight.267

The Task Force reviewed all 62 discipline-related grievances decided via arbitration in 2015—59 decided
through a streamlined process and 3 through a full arbitration.268 In 42 out of the 59 grievances decided
via the streamlined process (more than 70%), the arbitrator reduced or eliminated the discipline. The
three full arbitrations were decided in a single case, in which the arbitrator reversed IPRA’s sustained
finding. This pattern of arbitrators reducing discipline is not a new phenomenon. A review of 328 CPD
arbitration cases decided from 1990-1993 found that discipline was “routinely cut in half by arbitrators.”269




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The decisions also varied dramatically from one arbitrator to another. One arbitrator upheld the full
discipline in the majority of cases by dismissing two-thirds of the grievances presented to him. Another
arbitrator upheld the discipline in only 20% of cases, reduced the discipline in 70% of cases and
eliminated the discipline in 10% of cases.

The new Summary Opinion process may have some benefits, including potentially resolving matters
more quickly. Of the 56 cases for which the Task Force was able to establish the date of conduct, 24
involved conduct from 2014 or 2015. In those cases, the average time between the conduct and the
opinion was 447 days; 7 cases even came in under one year. In contrast, in all 56 cases (including those
involving pre-2014 conduct), an average of 1,049 days elapsed between the conduct and the opinion.
Thus, with the Summary Opinion process in the past 2 years, cases have been moving toward a final
resolution more swiftly.

THE POLICE BOARD’S HISTORIC FINDINGS MAY HAVE IMPEDED DISCIPLINE
The Police Board has historically only terminated officers in a low percentage of cases, either reversing
the Superintendent’s discharge recommendations or imposing a term of suspension instead. From 1999-
2008, the Police Board agreed with the Superintendent’s discharge recommendations in only 39% of
cases.270 Over the past five years, the Board upheld discharge recommendations in only 41% of cases.271
In the remaining cases, the Board either found the officer guilty of misconduct and reduced the penalty to
a suspension, or found the officer not guilty.272 This practice not only has negative impacts internal to
CPD—e.g., perpetuating officers’ feeling of impunity—but also further erodes community trust in the
accountability and disciplinary process.

These numbers have changed of late, coinciding with a recent change of leadership on the Police Board.
From September 2015 through February 2016, the Board decided cases involving nine officers. For eight
of the nine officers, the Board upheld the Superintendent’s discharge recommendation. In the single
instance where the Board disagreed with the recommendation, the Board ordered a two-year suspension
and three Board members authored a dissenting opinion arguing for termination as the more
appropriate penalty.273

The precise reason for the historic discrepancy between the Superintendent’s discharge
recommendations and the Police Board’s decisions is not clear. Beyond the makeup of the Board, the
quality of the record may be a factor. Several years can pass between the alleged conduct and the
evidentiary hearing. A review of Police Board cases over the past five years indicates that it takes an
average of 28 months for a case to reach the Police Board if it originates with BIA, and 48 months if it
comes from IPRA.274 When so much time passes before the evidentiary hearing, which resembles a trial
and involves live witness testimony, the quality of the City’s case, including witnesses’ recollections, can be
negatively affected.

Prosecuting attorneys also may not be sufficiently supported in putting on their cases before the Police
Board. The attorneys, who work for the City’s Law Department, are not involved in the underlying
investigations. Rather, they work from the written file already compiled by IPRA or BIA, which may be
several years old. Once a case makes it before the Board, witnesses may no longer remember what
occurred, they may testify differently from the facts in the written file, or the original charges may not
match the live testimony.




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The Police Board is relatively transparent but the organization of its information presents some obstacles
to effective analysis. The Board issues monthly, quarterly and annual reports, posts the full written
decision for each case it hears, and its monthly meetings and evidentiary hearings are open to the public.
However, some information that could easily be placed in its regular reports is only available in the Board
opinions themselves, such as the number of suspension days, where relevant, and the rank of the CPD
member. The Board also does not post monthly or quarterly report archives—only the reports for the
most recent month and quarter are available online. Finally, reports and data are located in several
different places on the website, making it challenging to navigate without prior knowledge about where
information is housed.

The Police Board is fairly streamlined and efficient. In 2015, the median number of days from filing of
charges to Police Board decision was 209 days.275 Given the Police Board’s process of taking live testimony
and performing a de novo review of each disciplinary case before it, it would be difficult to cut time from
this stage of the process.

THERE IS NO INDEPENDENT OVERSIGHT OF HOW DISCIPLINE IS IMPOSED
The public is largely deprived of basic information regarding what discipline is imposed in response to
complaints of misconduct. State statutes, the Municipal Code, CPD Orders, CBAs and Police Board
procedures govern CPD’s disciplinary process. It is difficult for the public to obtain a complete picture of
the process.

Because only a small fraction of complaints result in discipline, it is deeply troubling that so many systems
exist for determining final discipline and no entity tracks them or knows the degree to which the
recommended discipline is maintained, reduced or eliminated. Of the methods for imposing final
discipline, IPRA mediations and Police Board decisions are made public, while BIA mediations, all
arbitrations and instances in which the officer simply accepted the discipline are not. This is particularly
significant because in the majority of cases reviewed by the Task Force, including both cases that go
through the grievance and arbitration process and those heard by the Police Board, the ultimate
discipline imposed was lower than what IPRA or BIA initially recommended.

The fragmented system involving IPRA, the Superintendent, BIA within CPD, numerous arbitrators and the
Police Board compromises the strength and significance of the investigative findings and
recommendations over time, and discourages systemic accountability and transparency. Each stage of
the disciplinary process must be publicly posted, and an entity within the police oversight system must
report on the data.

  Recommendations
  The CPD and IPRA should finalize a discipline matrix and all oversight entities should be required
  to follow it when recommending or imposing discipline.

  The Task Force understands that IPRA already has a draft penalty matrix, and IPRA, the Police Board
  and BIA are awaiting its formal review and implementation. The matrix should establish clear
  penalties for failure to cooperate. It should require that officers who lie during misconduct
  investigations be fired, and officers who retaliate against any complainant be fired and referred for
  criminal prosecution.




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  The CPD should develop standards regarding when options may and may not be granted by the
  Superintendent.

  This should also be included in any discipline matrix. Further, the granting and utilizing of options
  should be publicly disclosed.

  Command Channel review should be eliminated entirely, and Superintendent review of BIA cases
  should also be limited to 90 days, like with IPRA.

  The arbitration process should be subject to oversight.

  The arbitration process should be scrutinized and monitored by the Inspector General for Public
  Safety and the Community Safety Oversight Board, and decisions must be made easily accessible to
  facilitate such accountability measures. Additionally, the Police Board’s suspension decision should
  be binding on Sergeants, Lieutenants and Captains. CPD members should not be allowed to grieve a
  reduced suspension.

  The City should conduct further analysis regarding the role of prosecuting attorneys in Police
  Board proceedings and whether they are sufficiently supported and best situated to prosecute
  cases of police misconduct before the Board.

  In the meantime, the City Law Department should use training and enhanced trial advocacy
  protocols to support its prosecutors who try cases before the Board. New York City’s model may
  provide some useful lessons and ideas for future reforms. New York City found when it implemented
  a program allowing its Civilian Complaint Review Board to prosecute cases using its own
  prosecutors, there were considerable benefits.276

  The Inspector General for Public Safety should audit CPD policies and procedures that may create
  barriers to imposing discipline for misconduct.

  The Inspector General for Public Safety should conduct pattern analysis that includes review of all
  discipline that is recommended by the new CPIA and BIA in order to assess disciplinary trends, to
  determine whether discipline is consistently applied and fair and to determine whether final
  disciplinary decisions are being executed as resolved.

  The disciplinary process should be made fully transparent.

  Immediately when BIA or IPRA serve a suspension to a CPD member, the process should be publicly
  posted and tracked. In real time, the public must be able to see if the member accepted the
  discipline, grieved the discipline or sought Police Board review, where applicable; how much time
  was spent in each stage; and the final disposition. While the disciplinary system is dispersed through
  several entities, it must always run through the CPD at some point.

Other Considerations
Some have questioned whether the Police Board should continue to serve as yet another fact-finding
entity that adds an extra layer to the police oversight system, given its historically-high rate of overturning
Superintendent discharge recommendations. Instead of reviewing the evidence anew (usually years after
the fact), some argue that the Board could serve more of a traditional appellate role by reviewing




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investigatory findings and discipline recommendations under a more deferential abuse-of-discretion
standard.

These changes would negate the need for Police Board hearings as they are currently conducted. An
officer appealing discipline would have the opportunity to file a written brief outlining why the findings or
the discipline imposed were an abuse of discretion, and the City would have the opportunity to file a brief
in response, defending its actions. The Board would then render its decision, taking into account the
standard of review.

While this approach has some appeal, the Task Force has not adopted it. In the current process, the Police
Board represents an officer’s only opportunity to be heard in termination cases. Further study would be
needed before eliminating this fundamental level of due process. Moreover, the recent trend of officers
universally choosing arbitration over the Police Board for suspension cases seems to suggest that officers
do not view the Board as a favorable venue.


Why aren’t the police held accountable through the courts and other
systems?
POLICE MISCONDUCT SETTLEMENTS LACK TRANSPARENCY AND ADEQUATE OVERSIGHT
Currently, the Corporation Counsel must seek approval from the City Council for litigation settlements
(including those relating to police misconduct) in excess of $100,000. For every case for which City Council
settlement approval is sought, the Corporation Counsel provides oral presentations or memorandums to
the Finance Committee explaining the reasons why the proposed settlement is being recommended. The
Corporation Counsel claims attorney/client privilege for these presentations and memoranda, so they are
not made public. In addition, the Corporation Counsel provides the Finance Committee a monthly report
about all settlements, including those below the $100,000 City Council threshold.

The Law Department posts on its website a list of judgment and settlement payment requests sent to the
Comptroller from 2008 to the present.277 The downloadable spreadsheets include the case number,
payee name, amount, fee costs, primary cause, city department involved, disposition and date. The
primary cause field is typically limited to a few words such as “fall down/sidewalk,” “illegal search/seizure”
or “false arrest,” although many entries— approximately 25% in 2015—are abbreviations or acronyms
that are not explained. While the Law Department should be commended for placing settlement data on
the web that can be tracked, more can and should be done to make the system fully transparent.

Information as to the Corporation Counsel’s police misconduct docket and the attorneys’ evaluation of
the cases on that docket is essential for the City Council to know in order to discharge its oversight
responsibility. The Corporation Counsel has a duty pursuant to Rule 1.4 of the Illinois Rules of
Professional Conduct to inform the members of the City Council with respect to all ongoing litigation
relating to the CPD.

Additionally, the City’s lawyer has conflicts that may make it more difficult to hold officers accountable for
misconduct and to make the system transparent. The Corporation Counsel, the City’s top lawyer, is
charged with conducting “all the law business of the city.”278 That includes representing the Mayor, the
City Council, IPRA and the Office of Inspector General, as well as individual police officers in some cases.
This can create all kinds of complicated situations, because fundamentally a lawyer has a duty of loyalty


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to his “client,” but if the same legal department represents multiple clients whose interests diverge,
conflicts may significantly compromise the multiple, simultaneous representations. The Corporation
Counsel has some process in place that attempts to address some of these inherent conflicts.

These conflicts—or at least the appearance of conflict—can frequently arise in police misconduct lawsuits.
The Corporation Counsel often represents both the police officer and the City, which is often also named
as a defendant. The potential for conflict is even greater when the Corporation Counsel wishes to settle a
case by making a payment to the victim.

LITIGATION PRACTICES MAY IMPEDE ACCOUNTABILITY IN THE COURTS
Inefficiencies and delays arising in litigation of civil rights and other cases against the police, particularly
discovery issues, significantly slow down the processing of civil lawsuits by citizens. Civil rights attorneys
with extensive experience litigating against the City have raised concerns about the City’s compliance with
discovery requests. They maintain that documentation is frequently withheld through a system in which
discovery is delegated to paralegals, City attorneys maintain ignorance of available documents within
CPD, and discovery obligations are not treated with appropriate seriousness.

The City recently retained Winston & Strawn to conduct an independent review of the Law Department’s
Federal Civil Rights Litigation division. In deference to that review, the Task Force is not making
substantive findings or recommendations on these issues.

BIAS OR THE PERCEPTION OF BIAS MAY TAINT THE STATE’S ATTORNEY IN POLICE MATTERS
The relationship between police officers and the Cook County State’s Attorney’s Office creates actual bias
or the perception of bias that undermines trust in the system and may result in criminal behavior by
police going unpunished.

CPD and the Cook County State’s Attorney’s Office are required to work in close collaboration. CPD
investigates cases that the State’s Attorney ultimately prosecutes. Police officers often testify in cases
brought by the State’s Attorney and the strength of the State’s Attorney’s case may depend on the
strength of the police officer testimony. Because of that close working relationship and interdependence,
many wonder whether the State’s Attorney can be fair and impartial when deciding whether to bring
charges against police officers accused of misconduct, or when deciding the severity of the charges to
bring.

Indeed, many believe that the State’s Attorney’s office has a bias in favor of police officers, especially in
cases that may involve more serious misconduct where police officers might face severe penalties. They
believe that the long time that elapsed from the Laquan McDonald shooting to the day charges were
brought against Officer Jason Van Dyke reflects that bias.

Though it is difficult to prove whether some State’s Attorneys do in fact fail to zealously prosecute cases
of police misconduct, it is certainly the case that even the perception of bias undermines trust in the
system. However, Illinois law does not currently permit the appointment of a special prosecutor in these
situations.

Aside from the specific issue of police prosecutions, in its day-to-day work the State’s Attorney regularly
encounters police misconduct. However, the State’s Attorney has no mandatory information-sharing
protocol with IPRA and BIA. The Task Force is aware of troubling incidents where the Cook County State’s



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Attorney’s Office has failed to pursue perjury charges when CPD members have lied or are otherwise
found not credible in court. In order for the CPD to take meaningful steps toward breaking the “code of
silence,” it must be made aware of such conduct and take swift action.

THE PENSION SYSTEM HOLDS FEW POLICE ACCOUNTABLE FOR MISCONDUCT
Police officers found guilty of serious misconduct can sometimes continue to receive publicly funded
pensions. None of the entities involved in the disciplinary infrastructure have any ability to impair an
officer’s pension benefits.

Under Illinois law, pension benefits may not be paid to any person who is “convicted of any felony relating
to or arising out of or in connection with his service as a policeman.”279 The Retirement Board of the
Policemen’s Annuity and Benefit Fund of Chicago authorizes payments to fund members. Historically, the
Retirement Board has rarely voted to deny officers their pensions, even in the face of serious findings of
misconduct. For example, the Retirement Board in 2011 voted 4-4 to allow Jon Burge to keep his pension.
Burge argued that his convictions for obstruction of justice and perjury related to conduct after he had
left the CPD.280 The tie vote meant that Burge would continue to receive pension benefits.

Following the Burge case, a new state law was passed that specifically permits the Attorney General to file
a civil action to cease pension payments to public employees convicted of felonies related to
employment.281 The Attorney General’s ability to bring these actions is an important check on the police
oversight system because non-parties, such as the City of Chicago, are very limited in their legal ability to
challenge Pension Board decisions. But it is still difficult and rare to deny a former police officer a publicly
funded pension, even if the officer was found to have engaged in serious misconduct while on the job.

  Recommendations
  The City should disclose more information on police misconduct settlements to the City Council
  and the public.

  The text of oral presentations and written memoranda from the Corporation Counsel to the City
  Council describing the reasons for proposed settlements above the $100,000 threshold should
  describe the reasons for the proposed settlement in sufficient detail to enable the members of the
  City Council to make an informed decision as to whether to approve the settlement. Moreover,
  because taxpayer funds are at stake and because of the public importance of cases with a
  settlement value above the threshold, the memoranda should also be publicly available after a
  settlement is finalized.

  The Corporation Counsel should provide the Public Safety Committee of the City Council with a
  quarterly police misconduct docket report listing all cases (regardless of settlement amount) and
  providing: (a) the case name and court number; (b) the names of the defendants and plaintiffs; (c) a
  brief description of the allegations (beyond the limited information currently provided by Law
  online); (d) where appropriate, information as to the disposition of the case, including, with respect
  to cases that have been settled or have resulted in judgments in favor of the plaintiff, the amounts in
  question; and (d) any additional information with respect to a specific case that, in the Corporation




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  Counsel’s judgment, should be brought to the Committee’s attention. (Note that this is a significant
  advance beyond annual reports currently created by the office.) Further, because of the public
  importance of the police misconduct docket, the docket report described above should be
  publicly available.

  The new Inspector General for Public Safety should also provide a “red flag” coversheet for every
  proposed settlement that goes before the City Council. The coversheet should detail any history of
  complaints and allegations for the officers involved in the subject case.

  To avoid conflicts in police misconduct cases and other matters, the City Council should enact
  legislation that permits it to hire its own General Counsel to provide legal services and advice on
  legislative, policy and litigation matters.

  The General Counsel office must be adequately staffed and fully empowered to represent the
  interests of the City Council. This should include the legal authority to issue subpoenas to compel the
  attendance of witnesses for purposes of examination and the production of documents and other
  items for inspection and/or duplication, and the authority to hire outside counsel as appropriate.
  Similarly, CPIA should have the ability to retain and compensate counsel of the agency’s choosing to
  represent the agency in actions to enforce subpoenas issued by the agency.

  The City should advocate for new state legislation that would require the appointment of an
  independent prosecutor, separate from the State’s Attorney, to handle all phases of any
  prosecution of any case in which a police officer is charged with causing death or great bodily
  harm without justification.

  The State's Attorney should be required to provide oversight bodies with evidence of police
  misconduct that is not the subject of an ongoing prosecution.

  The City should seek to secure a Memorandum of Understanding with the Cook County State’s
  Attorney’s Office and the Public Defender’s Office that requires these entities to notify CPD, the
  Corporation Counsel’s office and the police oversight bodies—BIA, CPIA and the Public Safety
  Inspector General—in any case where an officer is found to be lying or otherwise found to be not
  credible under oath. Such a notification should trigger a complaint log number and an automatic
  investigation, much like a firearm discharge notification.

  Further research into the Policemen’s Annuity and Benefit Fund is required to determine if
  additional changes in law and policy can ensure that police officers are not rewarded for official
  misconduct.

  Understandably, the law makes it difficult to take away a pension benefit from someone who has
  earned it. But people should not be rewarded for abusing their power and violating the public trust
  and the law.




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  http://www.cityofchicago.org/city/en/depts/dol/auto_generated/dol_mission.html.
279
      40 ILCS 5/5-227
280
      See supra note 90.
281
   Illinois Attorney General Press Release, Madigan Applauds Governor's Action on Bill to Stop Pension Benefits for Felons (Dec. 30,
  2014), available at http://www.illinoisattorneygeneral.gov/pressroom/2014_12/20141230.html.




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Early Intervention & Personnel Concerns
Why does CPD lack a culture of accountability when it comes to the
internal management of its police officers?
There is a sense within the community, which the Task Force has heard time and again, that police
officers are not held accountable for their actions and misconduct. The larger discussion on policing that
is taking place across Chicago has included the question as to why CPD has fostered a culture in which
supervisors turn a blind eye to misconduct and do not provide sufficient oversight to ensure that officers
perform their duties with integrity.

Community members are rightfully skeptical that enough is being done internally to adequately supervise
officers and to identify officers whose actions are falling short of the community’s expectations. CPD lags
behind other police departments when it comes to managing risk posed by officer misconduct.

The fact of the matter is that there is a general absence of a culture of accountability within CPD, largely
because no one in top leadership has taken ownership of the issue. Although so-called “problem officers”
are either well known to their supervisors and CPD’s leadership or easily identified, few steps are being
taken to proactively manage and redirect those officers’ conduct. The effective tools for providing greater
oversight and supervision to officers are well known and widely used in other jurisdictions. There appears
to be no urgency within CPD around accountability. Something must change, and that change must come
from the highest levels of CPD.

CPD’s efforts to actively monitor and improve officer behavior appear to be at a standstill, but the
problem is not new. CPD’s history is replete with examples of wayward officers whose bad behavior or
propensity for bad behavior could have been identified much earlier if anyone had viewed managing this
risk as a business imperative.

Take former CPD officer Jerome Finnigan as an example. In 2006, Finnigan, an 18-year CPD veteran, was
arrested for leading a rogue group of officers in CPD’s elite Special Operations Section in carrying out
robberies, home invasions, kidnappings and other crimes. Finnigan was later charged with plotting to hire
a hit man from a street gang to murder his former partner, who he believed was cooperating with
prosecutors. Finnigan pled guilty to the murder-for-hire scheme and income tax-related charges
stemming from money he stole and is serving a 12-year sentence in federal prison.

When Finnigan was arrested, many reported that he had been considered a model officer. Indeed, he
won numerous commendations for his work in the Special Operations Section. In 1999, he received the
Superintendent’s Award of Valor for protecting a store owner during a robbery and helping apprehend
the offenders, all while he was off duty. Even prosecutors conceded at his sentencing that Finnigan was at
one point viewed as an outstanding officer.




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But, despite outward appearances, red flags were piling up long before 2006. Between 2000 and the time
he was indicted in 2006 and ultimately resigned in 2008, Finnigan racked up 89 CRs. Over the entire
course of his career, he had 161 total CRs—a shocking number by any standard. These CRs were for a
range of serious complaints, including numerous lawsuits; numerous warrantless, non-consensual
searches; theft; and other felony crimes. And yet, according to CPD records provided by the City, no effort
was ever taken to enroll Finnigan in the department’s formal intervention programs or otherwise
intercede in his obvious pattern of misconduct.282 (Finnigan was later identified in CPD’s manual efforts to
identify and enroll more officers in the department’s formal intervention programs—discussed in more
detail below—but, by that point, Finnigan had already been indicted.)

In 2005, another CPD officer, Corey Flagg, was arrested for his part in a ring of five Englewood officers
who used traffic stops and home invasions to rob drug dealers. Flagg pled guilty to conspiracy to
distribute cocaine and marijuana, as well as possession of a firearm in a drug trafficking crime, and was
sentenced to nearly 10 years in prison. Flagg’s record also raised numerous red flags. As with Finnigan,
Flagg incurred large numbers of CRs during his tenure at CPD—88 in total—and received a number of
lengthy suspensions. (Unlike Finnigan, Flagg was enrolled in the department’s behavioral intervention
program in 2003.)

Some might argue that Finnigan’s and Flagg’s criminal conduct is aberrational. It is not. Police
corruption cases in Chicago may not be commonplace, but neither are they rare occurrences. Former
CPD Gang Crimes Officer Joseph Miedzianowski (sentenced to life imprisonment for racketeering, drug
conspiracy and robbery), former CPD Chief of Detectives William Harnhardt (pled guilty to racketeering
and conspiracy) and former CPD Narcotics Officer Glenn Lewellen (guilty of narcotics conspiracy) are
but three of the most notorious instances of police corruption in recent memory.283 But there have
been others, and it is clear that some portion of the Chicago police force still is not meeting their
professional and legal obligations.

                                                     Certainly, a great majority of CPD officers are
                                                     principled, dedicated and ethical employees who
                                                     serve our community with respect and care. However,
                                                     for any number of reasons, unfortunately there are
                                                     times when officer performance comes up short. For
                                                     example, a review of CR histories of all CPD officers
                                                     between 2007 and 2015 showed that approximately
                                                     1,572 officers had 10 or more CRs to their name
                                                     during that time period (many with more than 10).284
                                                     Of those officers, 189 were Sergeants, 21 were
                                                     Lieutenants and 2 were Commanders.




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The Task Force also took a close look at litigation and settlement data provided by the City for civil rights
cases involving allegations against CPD officers. Given the often-disheveled state of this data, as the City
provided it to the Task Force, it is difficult to report on these cases with absolute certainty, but we can
provide reasonable estimates.285

From 2010 through 2015, the City has handled approximately 2,000 cases involving civil rights allegations
against its police officers. The Task Force has been told that there are about 400 such cases pending
against police officers at any one time. The amount of money the City pays to resolve these cases is
staggering—over $600 million since 2004, with close to $400 million spent in the last five years alone.286
Many of the names of CPD officers who appear frequently on the litigation and settlement lists are
familiar with the public—Joe Dortha Parker (24 cases), Richard Fiorito (11 cases), Jerome Finnigan (10
cases) and Keith Herrera (8 cases). Clearly, a portion of CPD’s officers are costing the City and its
taxpayers many millions of dollars each year in settlements, judgments and lost man-hours and, in the
most egregious circumstances, unnecessarily injuring or killing community members. The actions of these
officers are significantly contributing to the erosion of trust between CPD and the public—the very people
they have sworn to serve and protect.




One part of the solution to this deeply ingrained problem is improving oversight and management of
police officers, something that is sorely lacking in today’s CPD. When men and women choose to join the
police force, it is often for life. CPD—and, in turn, the taxpayers and citizens of Chicago—make a huge
investment in every police officer over the course of his or her career.

More can and should be done to support these officers and redirect their behavior before it is too late.
Police departments around the country use tools to identify officers with at-risk behavior to receive
additional non-disciplinary supports in order to redirect the behavior of wayward cops, including
counseling, training and reassignment. It is up to CPD leadership to take responsibility for a pivot toward
a culture of accountability and embrace these management tools to improve oversight of their officers
and, in turn, improve policing outcomes for the community.




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What are the current internal mechanisms for holding CPD’s officers
accountable for their conduct?
Although it would be unfair to say that CPD is not taking any steps to understand and intervene in officer
misconduct, the proactive steps that have been taken are significantly limited and woefully inadequate
compared to best practices. Moreover, some steps have been subject to significant resistance from
stakeholders, such as the police unions.

CPD relies on two formal early intervention programs to address officers exhibiting potentially
problematic conduct. These are known as Behavioral Intervention System (BIS) and Personnel Concerns
(PC), and both were implemented in 1980 and remain in place today.287 BIS is a non-disciplinary system
that seeks to provide “early indentification of members who engage in conduct which is contrary to the
goals of the Department.”288 This program puts the onus on command and supervisory officers to
monitor the performance of their subordinates. Police officers are placed in BIS upon approval by the
command staff member of the Human Resources Division. The command staff member may consider
officers for inclusion based on recommendations from certain high-level individuals within the CPD
system. The program looks at certain “performance data” as “behavioral intervention indicators.” Once
admitted into the BIS, the police officer will be subject to an Individualized Performance Plan (“IPP”), which
governs the steps used to resolve the unacceptable performance/behaviors.

PC is another non-disciplinary system that addresses the most serious problematic behavior or
performance issues and is often the second line of intervention where BIS has not reformed undesirable
conduct. CPD uses the system “to intervene in an employee’s problems, behavior, or performance issues
which, without assistance, may lead to severe disciplinary measures or separation from the
Department.”289 As with BIS, any number of high-ranking individuals within the CPD system can
recommend a police officer for placement into PC and must be approved by the command staff member
of the Human Resources Division.

PC allows for a range of “corrective action[s] to address the identified behavior,” including but not limited
to, requesting a Psychological Fitness for Duty Evaluation, changing the officer’s partner, weekly
performance reviews and retraining. The steps taken are documented in the officer’s IPP, and Personnel
Concerns Progress reports are prepared and submitted up the chain of command to the command staff
member of the Human Resources Division for review. For both the BIS and PC programs, supervisors are
required to prepare reports regarding counseling sessions and other meetings, as well as compliance
with the IPP. These reports are sent to CPD’s Human Resources Division. The Human Resources Division
only began tracking these reports with an Excel spreadsheet in 2014.290

In the mid-1990s, CPD was on the cutting edge of using technology to identify police officers who were
engaging in blatant misconduct or whose behavior was otherwise out of step with department policies.
CPD acquired a computer software system called BrainMaker Professional to sift through internal data on
all officers and, based on computer code that identified behavioral patterns, picked out the officers who
showed potential for problem behavior.291 The idea was to divert the identified officers toward counseling
before they committed any crimes.292 According to reports, initial runs of the system showed that it was
fairly adept at picking out problem officers, based on the fact that many of the officers identified by the
system had already been singled out by supervisors for participation in CPD’s formal intervention



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programs.293 But it also picked out others who, based on patterns of behavior hidden in the troves of data
kept on them in CPD, were potentially at risk for problems; even though their disciplinary and
intervention histories were clean.294

Eventually, CPD scrapped the BrainMaker system.295 According to some, the program was discontinued
in response to opposition from the FOP; others suggest that the program was never fully embraced by
CPD leadership.296

In 1997, the Commission on Police Integrity promoted an “early warning” system in Chicago, which the
Commission explained was embodied in CPD’s existing BIS and PC programs.297 To “enhance the
Department’s ability to identify and correct the behavior of officers at risk,” the Commission called for
expansion of those programs. Essentially, the Commission applauded steps CPD was already taking to
add a requirement that officers who were participating in the BIS and PC programs to complete IPPs.
Eventually, this requirement was implemented in both programs. Although it moved the ball forward, this
recommendation clearly did not go far enough to promote a culture of accountability. (The Commission
also recommended that CPD analyze unit-wide conduct as part of its “early warning” system. It does not
appear that CPD ever adopted that recommendation.)

CPD undertook other efforts in the late 1990s and early 2000s to expand accountability measures and
early intervention activities. One example was the implementation of the Citizen and Law Enforcement
Analysis and Reporting (“CLEAR”) system, which gave supervisory personnel a new tool to analyze officer
behavior. 298 Numerous analyses were conducted using the CLEAR system to better understand police
officer behavior and outcomes, including use and misuse of medical leave and factors that contribute to
the lodging of citizen complaints against police officers. Another reform that was created was the use of
management intervention for certain infractions that were viewed as minor.

But those reforms, in large part, were allowed to wither on the vine or were never executed at all. Money
that was slated for the development of a computer-based early intervention system was diverted to other
department priorities. Realizing that CPD still needed to address problem officers even without the help
of a computer program, in 2006, CPD tried to manually conduct a review of employees and recommend
police officers it viewed as requiring intervention for more supervision and monitoring. This assessment
was based on the number of CRs filed against them and the number of TRRs they had completed over a
certain period of time. Many of the officers who were identified were enrolled in BIS or PC.

In 2006, the FOP filed a grievance in response to this manual review and sought to have officers who were
placed in BIS removed from the programs.299 According to the FOP, the members who were placed in BIS
did not satisfy the criteria for placement in the program as set forth in the corresponding general order,
in violation of the CBA.300 In a subsequent settlement agreement, CPD agreed to remove officers from BIS,
as well as any officers who had been upgraded to PC.

A later innovation was the implementation in 2008 of a “dashboard” as part of CPD’s Performance
Recognition System, which tracks various data points for individual officers, including CRs, days off and
trends in citations. The full list of data points for the Performance Recognition System dashboard is:
Complaint Registers, Complaint Register Logs, Tactical Response Reports, Summary Punishment Action
Requests, Awards, Arrests, Contacts, Driver Cards, Traffic Stop Statistical Study Cards, Recovered




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Firearms, Search Warrants, Medical Events, Injured on Duty Days, Non
                                                                 Non-Injured
                                                                     Injured on Duty Days, CR Ratio and
TRR Ratio.301

The purpose of the Performance Recognition System and its complementary dashboard is ostensibly to
“assist[] Department supervisors in recognizing exceptional or adverse behavior related to job
performance of members under their command” and identify behavior that “may be improved by
nondisciplinary options or methods.” 302 The dashboard comes equipped with the ability to compare
individual officers against others, with adjustments from unit to unit and supervisor to supervisor. Each
officer is given a red, yellow or green designation with respect to the officer’s CRs and TFFs. The CR Ratio
is a percentage ratio of the number of CRs divided by the number of arrests. The TRR Ratio is a
percentage ratio of TRRs divided by the number of arrests. For each percentage ra
                                                                               ratio,
                                                                                  tio, under 3% is a green
               10% is a yellow designation, and over 10% is a red designation.303 The Performance
designation, 3-10%
Evaluation System policy also includes a range of “interventions” that a supervisor can take if he or she
identifies exceptional or adverse
                             erse behavior among any of their officers.


Why are these current CPD accountability systems ineffective?
INCOMPLETE DATA COLLECTION
                    ECTION AND LIMITED A
                                       ANALYSIS
Our research reveals that CPD engages in a wide range of data collection about officer behavior. But, as
                                                                                                      a
with other data collection activities across CPD, this collection is incomplete, and distribution and analysis
is decentralized and limited. In addition, systematic follow
                                                      follow-up
                                                             up or review does not appear to be required
for shared data.

For instance, on a quarterly
                    uarterly basis, the Office of Legal Affairs and the BIA distribute, respectively,
summaries of lawsuits naming police officers as defendants and officers recommended for BIS/PC. These
reports are pushed out to command personnel in CPD, but they are apparen
                                                                 apparently
                                                                        tly used for information
purposes only and no action is sought or required. Thus, distribution and analysis is limited, and follow-
                                                                                                   follow
up on this crucial information is neither mandatory nor documented in any systematic way. Moreover,
the information contained in the OLA reports is skeletal and provides very little useful information to
command staff and supervisors about the nature of lawsuits lodged against their officers. Below are
sample excerpts of these reports.

Sample Office of Legal Affairs Quarterly R
                                         Report:




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Sample BIA Quarterly Report:




Other important litigation-related
                           related data points receive even less attention from CPD. One recent case
highlighted the most dramatic manifestation of this problem, where a judge expressly ruled that an
officer’s testimonyy against a defendant was not credible.

In 2015, a Cook County court ruled against the detective in a hearing to suppress two incriminating
statements that the detective said he obtained from the defendant.304 The detective claimed that the
defendant confessed
                sed to the alleged crime when he visited him in the hospital while he was heavily
sedated after emergency surgery for multiple gunshot wounds. Nurses who were present for the
questioning testified that the defendant was in no condition to be interviewed be
                                                                               because
                                                                                 cause of the heavy
morphine sedation he was under at the time. In granting the motion to supress, the judge reportedly
described the detective’s testimony as “garbage” and concluded that he had “to seriously question
whether [the defendant] ever did anythi ng but maybe grunt or even knew who he was talking to.”305 Not
                                 anything
long after the court excluded the alleged incriminating statements, the State’s Attorney’s Office dropped
the charges against the defendant.306

Although some judges will go on record expressly fin
                                                 finding
                                                    ding that a police officer’s testimony is not credible,
explicit findings are the exception. More often, we hear that evidence is lacking against a defendant to
sustain the charges, but the message is clear. There is no systematic or regular collection of information
regarding adverse findings against individual officers in criminal or civil cases.

In addition, other sources of highly relevant information are currently available to CPD but not acted
upon. For instance, we know that there is a problem with C
                                                         CPD
                                                           PD officers showing up for court appearances.
Data provided by CPD shows that, of the 20,922 Summary Punishment Action Requests (“SPARs”) initiated
by supervisors from January 1, 2010 to December 31, 2015, approximately 9,440 of the SPARs were
opened under the “court appearance violation” complaint category. (SPARs are “[a]n alternative
disciplinary procedure for conduct defined as a less serious transgression which is observed by or comes
                                                             member.”307) That means that 45% of all
to the attention of a Department supervisor or command staff member.
SPARs for that 5-year
                 year period relate to an officer’s violation of a mandatory court appearance.

When an officer makes an arrest but then fails to show up to account for that arrest in open court,
legitimacy is lost and trust diminishes. This high number of no
                                                             no-shows
                                                                shows also raises serious questions about
the underlying legitimacy of the arrests. Even in the face of a lack of accountability for this crucial element
of their officers’ job, it is not clear how CPD addresses this issu
                                                               issue
                                                                   e internally outside of issuing SPARs and,
as a result, short suspensions.



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Finally, notwithstanding the staggering amount of money that the City spends annually on legal
settlements and judgments against officers, there is no action taken within CPD on the basis of that
information. Officers who are creating significant liability for the City are among the first category of
officers who warrant special attention for possible professional intervention. And yet this important
metric is not being monitored closely, nor are any specific disciplinary or non-disciplinary actions taken in
the face of the filing or disposition of a lawsuit. Moreover, if the City decides it must settle a case due to
credibility questions or other indefensible actions by an individual officer, there currently exists no formal,
systematic process for identifying problem officers and taking appropriate action. Clearly, the lines of
communication between CPD and the City’s Law Department, which is responsible for defending
individual officers in legal proceedings, could be significantly improved. Moreover, CPD, particularly the
BIA, Office of Legal Affairs and Human Resources, must develop a comprehensive plan for acting and
intervening based on litigation information.

DISCRETIONARY SUPERVISOR REVIEW OF PERFORMANCE DATA
Although supervisors have a potentially invaluable tool and data for each of the officers under their
charge through the Performance Recognition System and the dashboard program, this monitoring and
intervention system is literally not working.

First, there are no mandatory requirements that supervisors use the system to analyze data or intervene
in officer misconduct. Review of the data is entirely discretionary—or it is at least treated that way.308
Second, supervisors are not required to input information to explain the data or the reasons for the
green-yellow-red designations or take any action in response to the data they receive.309 As a result, there
is no way to know if supervisors are even using the dashboard, much less how they are using it. Although
the governing departmental policy says that it is a designated supervisor’s responsibility to monitor, track
and take action in response to “exemplary” or “adverse” behavior,310 there do not appear to be any
enforcement mechanisms and, according to our interviews, the system is considered far from mandatory.
In fact, Task Force interviews with officers and supervisory personnel indicate that the dashboard has not
been functional so far in 2016.311

FORMAL INTERVENTION PROGRAMS ARE UNDER-UTILIZED
Even CPD’s more formalized intervention programs—BIS and PC—are only lightly used. They are also not
structured in a systematic way that is supported from top leadership and promotes buy-in from
supervisors and the rank-and-file.

                                                Participation in the BIS and PC programs has dropped off
                                                precipitously in recent years. In 2007, 276 officers were
                                                included in either BI or PC. Participation quickly dropped off
                                                after the FOP filed a grievance against CPD for certain officers’
                                                inclusion. CPD and the FOP settled the grievance by agreeing
                                                to remove officers from the programs. By 2013, zero officers
                                                were being actively managed through either of those
                                                programs. In 2014, only 7 officers were enrolled in the
                                                program. In 2015, 13 officers were enrolled.




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Logic tells us that far more officers should be in these programs. CPD has approximately 12,500 budgeted
sworn officers. We know that, each year, thousands of CRs are lodged, and a consistently high number of
lawsuits are filed. If supervisors and leadership were truly taking a hard look at the conduct of their
officers, we would expect many more officers to be involved in the formal intervention programs.

In addition to being used for only a handful of officers (and for one year, not at all), the programs appear
to be used on an ad hoc basis only. That is, officers are admitted to the programs if they are identified for
inclusion by a select group within CPD, including their chain of command, BIA or IPRA, but no one is
required to evaluate officers for potential inclusion in the programs in any systematic or mandatory way.
Under those conditions, we can be sure that officers who warrant additional attention are falling through
the cracks. Officers can also only be included in the program for intervention if approved by the
department’s top Human Resources staff, which makes it more likely that officers are only included in the
programs when their conduct is so egregious as to call for action at the highest levels of the department.
It also requires the attention of high-level administrators with innumerable demands on their time. The
programs also focus mostly on problems that are identified through the department’s disciplinary system,
and trends of problematic behavior are not based on a more nuanced mosaic of data. On top of that, CPD
does not use any metrics to measure or assess the effectiveness of the programs. This further diminishes
the ability to hold officers and the entire intervention system accountable.

With that said, CPD did implement a nondisciplinary intervention program in 2004 to try to target one
form of misconduct (verbal abuse) that is often the subject of CRs but is difficult to investigate because of
the he-said/she-said nature of the allegation. Under the program, supervisors are responsible for
implementing interventions when a verbal abuse complaint register is received for his/her direct report.
The program provides a schedule of interventions that increase in magnitude as the number of verbal
abuse complaint registers rack up against an officer. However, it does not appear that CPD has made any
sustained efforts to measure or analyze the effectiveness of this program, even though the Special Order
governing the program requires CPD to do so.312 Although the Task Force was told that CPD performed
one such assessment of the program around 2008,313 CPD has not provided the relevant materials
evidencing the results of that assessment in response to the Task Force’s requests.314

LITTLE FOCUS ON MANAGEMENT ROLE OF SUPERVISORS
Our review of CPD’s policies has revealed that there is very little focus on the development of personnel
management skills for officers in supervisory positions.

Sergeants are promoted through exam or merit appointment. Neither promotional process, however,
formally evaluates Sergeant candidates for competency with personnel management principles or
concepts. As CPD acknowledges, this process does not address the development of leadership skills or
determine whether candidates for promotion are capable of handling the management roles regarding
the health and well-being of supervisees they would assume. Although the panel reviewing candidates for
promotion consider leadership potential, they do not consider metrics or requirements that are focused
on the ability to manage the well-being or overall conduct of police officers under their supervision. Upon
promotion, Sergeants receive very little additional leadership or management training. The sum total of
newly promoted Sergeants’ training on relevant issues includes seven hours of leadership training.




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After officers are promoted to supervisor roles, there is no formal process in place to evaluate their
performance. Supervisor evaluations are merely informal in nature, and any evaluation practice is
completely dependent on the practices of each district’s and district Commander’s informal evaluation
practices. The performance of a supervisor’s officers may be addressed in this informal evaluation that is
provided to supervisors, but it is not required and is provided only at the discretion of the leadership of
the particular district in which a supervisor works.

Neither the message from the top nor the evaluation and promotion processes emphasize officers’
performance and/or personnel concerns. Instead, the focus of top leadership at the department appears
to be entirely concerned with crime statistics to the exclusion of any other metrics. For instance,
command staff meets monthly for CompStat meetings. The meetings’ focus is on discussion and
dissemination of crime statistics, but, according to our interviews, there was, until very recently, no
attention paid to personnel issues, much less discussion of addressing real or suspected misconduct.

As an indication of the lack of focus on management issues, it appears that training on the BIS and PC
intervention programs was only provided to Commanders, Captains and Lieutenants during a CompStat
meeting earlier this year.315 So far as we can tell, this training has not been provided to Sergeants who are
the direct supervisors of beat officers and on a daily basis teach more officers than any other supervisor.
While we applaud this step toward elevating the importance of intervention within the department, much
more must be done within CPD to ensure that active management of its police officers is a top priority.


What is the right tool for CPD to use to hold police officers and their
supervisors accountable on a range of issues, including use of force
and respectful interactions with citizens?
A robust management system for police officers is essential. Pre-employment screening, recruit training,
and in-service training are clearly not enough. And CPD’s current monitoring and intervention system is
woefully inadequate, lacking any sense of leadership or urgency and therefore failing to provide adequate
oversight. To permit comprehensive management of the City’s police officers, it is imperative that CPD
has a system in place that allows for a 360-degree view on the conduct of its officers.316 This
comprehensive system will require the aggregation and analysis of data across a wide range of officer
touch points to identify those officers requiring additional management and intervention.

The intention should be to provide a tool that CPD can use to identify problematic behaviors at the
earliest possible instance so that it can get officers back on track or manage them out of the department.
Implementing such a system will not require CPD to re invent the wheel. Indeed, as mentioned previously,
many other jurisdictions across the country have led the way by implementing EIS as a way of proactively
identifying officers who exhibit behaviors that put them at risk of misconduct.

In significant part, this widespread practice is the result of the Department of Justice requiring the
implementation of EIS through the consent decrees that result from the type of pattern and practice
investigation that it is currently conducting of CPD. Based on this precedent, if the Department of Justice
substantiates a pattern and practice violation in Chicago, we fully expect that the Department of Justice
will impose EIS on CPD at the end of its investigation. To varying degrees, a number of other jurisdictions
have also implemented EIS independently of the Department of Justice. Indeed, as early as 1999,



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approximately 27% of the law enforcement offices surveyed by the National Institute of Justice had
already implemented some form of EIS.317 The New York Police Department, for instance, has long had
EIS to monitor officer conduct and intervene with additional supports where needed.318 It is currently in
the process of updating its EIS to create “a single, integrated database for both officer performance
analysis and department-wide risk assessment.”319 The Miami-Dade Police Department’s EIS may be the
oldest such system, which was first developed around 1981.320

Studies of these systems show that they can work and are effective at reducing instances of officer
misconduct.321 EIS leverages numerous sources of data regarding officer conduct, including arrests,
citizen complaints, missed training and much more, to spot officers whose behavior is outside of the
acceptable range of other peer officers with similar assignments. Isolating these officers then allows the
police department to use the system to apply non-disciplinary interventions to modify problem behavior
or, on the flip side, acknowledge and commend exceptional conduct. But no EIS will have the intended
impact without complete buy-in from CPD’s top leadership, line supervisors and unions.

  Recommendations
  CPD leadership must take ownership of accountability issues and order the design and
  implementation of a mandatory EIS that centrally collects data across a broad range of data
  points to capture information on the totality of officer activity.

  CPD leadership must fully embrace a shift toward a culture of accountability. To that end, the Task
  Force recommends that CPD implement a mandatory EIS system. Support for this new accountability
  mechanism must come from the top. Our research shows that CPD has suffered from a crisis of
  leadership when it comes to taking ownership of accountability for the conduct of its officers and the
  impact they have in the community.

  An accountability system requires buy-in from the whole spectrum of the law enforcement system—
  from CPD brass and rank-and-file to judges to prosecutors to all external investigatory bodies
  (currently IPRA and the Chicago Police Board). One challenge to implementing EIS is obtaining
  support from the relevant stakeholders. This includes police officers, supervisors and the unions.
  Many studies indicate great apprehension about the motivations for and effectiveness of an EIS from
  these stakeholders, but those studies also indicate that the problems that were feared are generally
  not realized.322

  To get ahead of this challenge, experts in the field stress the importance of “operational change
  management” to promote buy-in.323 That means owning the roll-out of EIS to ensure that those
  impacted understand the purpose and process of the new system and making sure that any
  necessary organizational changes are made to absorb the new activity required by the system.
  Educating officers that EIS is for intervention and not discipline can go a long way toward forging a
  smooth transition.324

  This education process can also extend to community stakeholders. Informing community members
  about EIS can improve confidence in accountability practices and foster better community
  relations.325 For instance, at the Detroit Police Department, leadership instituted a meeting similar to
  CompStat to discuss use of force issues and policy changes with respect to its EIS in which
  community members were invited to participate.326 This was also meant to show community



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  members that these performance and policy issues were taken seriously, and, to do so, leadership
  made a point of discussing these topics in the stand-alone Command Accountability Meetings that
  they convened.327

  In recommending that CPD adopt an EIS, it is not the Task Force’s intention to lay out every specific
  detail of the EIS that should be adopted. Without careful study of the department’s needs, that
  exercise would be impossible. However, our research has identified many consistent themes and
  insights that we believe should inform any EIS:

  (1) CPD’s EIS must be non-disiplinary in nature.

  First and foremost, as a best practice, it is important to be clear that an EIS is meant to be exactly
  what its name implies—intervention and not discipline.328 EIS is meant to be complementary to a
  police department’s disciplinary system as a “component of an agency’s personnel management
  toolbox.”329 Numerous police departments that the Task Force interviewed regarding their EIS
  programs stressed the importance of this point.330

  (2) CPD’s EIS should track all available data on officer activities.

  The next issue that must be confronted is what types of data points or performance indicators will
  be fed into the system for analysis. Based on our review, current models vary between a dozen to a
  few dozen data points/indicators. In the Los Angeles Police Department and the San Diego Police
  Department, for instance, their EIS programs use 14 different data points on each individual
  officer.331 The Detroit Police Department, on the other hand, tracks 52 different performance
  indicators.332 There is a basic universe of data points that are common to the existing systems (e.g.,
  uses of force, complaints), but some data points may also be adopted in response to issues or
  controversies that are specific to a given police department.333

  In order to obtain a true 360-degree view on CPD officer conduct, the Task Force recommends that
  all trackable officer activities should be fed into its EIS. The system should be designed to integrate
  data from a variety of sources to capture information on the totality of officer activity. Minimum data
  collected should include: citizen complaints; SPARs; traffic accidents; missed court appearances;
  medical usage; traffic crashes; traffic chases; shots fired; discretionary “contempt of cop” arrests
  (e.g., resisting arrest, disorderly conduct); and legal actions naming police officers (tracking through
  resolution of civil lawsuit or criminal case and any adverse findings at any stage of case). Currently,
  CPD already collects a great deal of this data, but efforts to analyze that data are sorely lacking. CPD
  can better leverage the data it has at its fingertips to measure the performance of its officers in a
  systematic way and intervene with those officers who are sliding off track.

  (3) CPD’s EIS should use peer-to-peer data comparisons to identify which officers receive interventions.

  Once the relevant data points have been identified, the system must determine how to identify
  officers for intervention. Within the context of an EIS, this is often referred to as setting “thresholds”
  or “triggers.” There is no consensus on the best set of thresholds or triggers, and a variety of
  different practices are used, including: (1) setting department-level thresholds; (2) setting them based
  on a comparison between officers who perform similar functions (known as “peer groups”); and (3)
  using performance ratios (e.g., uses of force to number of arrests).334




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  The Los Angeles Police Department analyzes each officer’s data against the officer’s designated “peer
  group,” of which there are 33 in all. 335 The peer groups are designated so that officers performing
  similar activities are compared against other officers performing those same activities (i.e., similar
  rank, function, duty, and assignment); however, the peer groups do not take into account how those
  same activities can differ based on a geographic assignment across the city. In contrast, the Seattle
  Police Department’s trigger thresholds are standard across the department for all officers.336 This
  means that there are no peer groups to ensure that the thresholds are tailored to the different kind
  of functions that officers can perform across the police department.

  Given the vast differences in policing across Chicago, CPD should use true peer-to-peer comparisons
  to allow for apples-to-apples comparisons. Therefore, officers who are performing patrol duties are
  compared against other patrol officers and officers assigned to “fast” districts are not held up against
  officers in relatively “slow” districts. One challenge with this approach is that the actual “task” that a
  given officer undertakes—both in terms of its potential productive value for society, and its risk of an
  adverse outcome—can vary enormously even within job assignments, police beats and shifts. In
  developing its peer-to-peer comparisons, CPD must ensure that EIS is not confounding the influence
  of officer risk with the challenge of the job or environment in which they are working to avoid
  disincentivizing officers from taking on the hardest assignments. With this in mind, the actual
  triggers that CPD would use in this system must be determined based on a careful study of the data.
  Appendix 8 explores the technical aspects of identifying the right triggers in more detail.

  (4) CPD’s EIS should use a structured, tiered program where interventions are appropriate, escalated
  proportionally and are timely.

  Research also stresses the importance of having a varied menu of intervention options available to
  meet the varied needs of officers.337 Some successful options suggested by the best practices
  research include informal counseling by the officer’s supervisor, training opportunities, professional
  counseling on personal issues, officer-to-officer peer support program, crisis intervention teams, and
  reassignment or relief from duty.338

  Our research of other police departments’ programs showed that there can be a wide range of
  approaches to interventions. In Los Angeles, department policy delineates the types of interventions
  that may be adopted by an immediate supervisor, but which intervention is used is left to the
  discretion of the supervisor.339 The San Diego Police Department utilizes a range of mandatory and
  discretionary interventions.340 The mandatory interventions are applied in cases of officer-involved
  shootings and deaths in custody. Discretionary interventions are used in other cases where
  intervention is triggered and include a range of potential options, including counseling by immediate
  supervisor, substance abuse treatment, a peer officer program, meeting with the department’s
  Wellness Unit and reassignment. Other departments, like the Seattle Police Department, leave the
  option of which intervention to use within the discretion of the officer’s supervisor, although the
  choice is reviewed by the supervisor’s chain of command and the internal body (the Performance
  Review Committee), which oversees the EIS program.341

  The Task Force recommends that CPD create a structured, tiered program where interventions are
  appropriate, escalate proportionally and are timely. It should adopt a set of mandatory interventions
  to provide supervisors with a range of options for personnel actions. Intervention options should



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  include, but not be limited to, meeting with a direct supervisor, meeting with a commander, training,
  referral to employee assistance resources and/or reassignment or relief from duty.

  (5) CPD’s EIS should track officer transfers and require supervisors to review and acknowledge data on
  new officers who are transferred onto their assignment.

  Given the reality that officers are often transferred around to different districts, it is imperative that
  the EIS should include tracking of all transfers and require the officer’s new supervisor to log into
  that officer’s activity history within the EIS and acknowledge a review of the history, and, to the
  extent that the officer is involved in a series of ongoing interventions, the supervisor must confirm
  participation in the interventions. This is an element of many of the EIS programs the Task Force
  reviewed, including the system in the Los Angeles Police Department342 and the Detroit Police
  Department.343

  (6) CPD’s EIS should require ongoing monitoring of interventions and develop an assessment tool to
  routinely examine the program for improvement.

  In addition, follow-through and ongoing monitoring of interventions is critical to ensuring that the
  interventions are fully implemented and to impart upon the officers that the process is being taken
  seriously.344 CPD should also develop an assessment tool that routinely examines the EIS process
  and interventions to determine the program’s effectiveness and to identify areas for improvement.
  Although the academic research on this aspect of EIS programs is not as developed, ongoing
  oversight of a program is a logical strategy for strengthening its efficacy and accountability. Routine
  monitoring, assessment and modification of EIS programs is required in other jurisdictions. The
  Seattle Police Department requires the Performance Review Committee, the internal body that
  oversees the EIS program, to review and make changes to the program as dictated by its
  outcomes.345 In the Detroit Police Department, the Civil Rights Division manages the program and
  conducts performance and environmental audits, including examinations of command morale and
  department operations.346

  As a final note, putting an EIS program into place will obviously represent a significant shift in CPD’s
  culture of accountability, and many challenges are likely to accompany that change. As the
  experiences of other jurisdictions indicate, a major challenge lies in the creation of the technology
  and data environment that is necessary for building an EIS program.347 Based on other jurisdictions’
  experiences, EIS programs often take years to design and implement. While much of the needed
  data might already exist, it is often siloed across different functions of the department, some of it
  may not be digitized, and there are important data security and privacy concerns to take into
  account. Then there are the more nuanced questions about how to actually build the data criteria
  that will trigger interventions. Implementing an EIS program within CPD is likely to carry many of
  these same challenges.




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  CPD must make support and training of supervisors a top priority and create policies that hold
  supervisors accountable for the conduct of their officers.

  The literature is clear that one of the most critical elements of a successful EIS program is the
  prominent role of immediate supervisors.348 Considering that immediate supervisors are the
  department employees with the most interaction with and responsibility for police officers, this
  finding makes sense. As representatives of the Los Angeles Police Department made clear, its EIS
  program’s focus on supervisors helps to achieve the program’s risk management aims, because it
  forces supervisors to pay attention to the behavior of their officers and, in turn, reinforces good
  behavior among their officers, because they know that their supervisors are paying attention.349

  A robust EIS program can represent a sea change in the job responsibilities of a supervisor. The best
  practice research identifies the preparation of supervisors to conduct interventions as the most
  important issue challenging the implementation of an EIS program.350 As such, it is essential to the
  success of the program that departments provide comprehensive training to supervisors regarding
  their new role in the EIS program well before the system is set into place. The San Diego Police
  Department has gone to great lengths to support its officers through the creation of its Wellness
  Unit.351 The Wellness Unit staff—a total of four who provide 24/7 officer support—are responsible for
  providing resources to officers on a 24/7 basis. This includes assisting supervisors by checking in
  with officers if a supervisor cannot do so for any reason, and providing a neutral and trusted
  resources for discussing problematic officer behavior.

  Studies point to some key principles for ensuring that supervisors have the skills and support they
  need to support a strong EIS program: (1) having supervisors who fully understand the EIS program
  in place in their department and their responsibilities, which requires training on the system’s
  capabilities and processes; (2) providing supervisors with the tools and resources they need to create
  change; and (3) adopting mechanisms to ensure that supervisors are accountable for executing their
  responsibilities under the EIS program.352 Training supervisors on leadership and basic management
  skills is imperative. EIS programs require supervisors to take a hands-on role in their officers’
  professional development, and many times interventions lead to the discovery of deep personal or
  professional issues that require deft management. Supervisors need to be trained to take on this
  new dynamic when they are promoted from officer to Sergeant.353

  The Task Force makes several recommendations in this regard. First, CPD must provide training to
  supervisors on their responsibilities and obligations as the first line of defense in accountability
  generally and in the EIS process specifically. This means, at the very least, providing mandatory
  training and talking points that help guide supervisory interventions with officers.

  CPD should also integrate regular accountability measures for supervisors to incentivize buy-in to
  the new system. As part of that effort, CPD should integrate supervisor responsibilities for EIS and
  personnel management into the testing and promotional requirements. Also, CompStat meetings
  must be expanded immediately to include information about personnel actions, and supervisors
  should be held accountable for the performance indicators of their officers, just as they currently are
  with crime statistics and trends.




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  In a broader sense, CPD must provide greater support to supervisors in their management roles. All
  Sergeants, Lieutenants, Captains and Commanders should be trained in managing the well-being of
  officers under their command and be compelled to use the dashboards that track officer activity.

  The individual in charge of human resources at CPD must be an expert in the field of human
  resources and related personnel matters.

  The Director of Human Resources for CPD must be an actual human resources professional with
  bona fide experience handling a diverse and complex work force in a complicated organization, such
  as CPD. The CPD Director of personnel plays a critically important role in the accountability system.
  Presently, the Director serves as the gatekeeper for who is admitted into the formal intervention
  programs, can act as a resource on very sensitive personnel matters, is heavily involved in
  developing strategies for the recruitment of new members to the department, and also has a hand
  in developing tests for promotions and managing the overall promotion process. Going forward, the
  Director must also have responsibility for making sure that the Early Intervention System is
  socialized through the entire department, that supervisors receive the kind of training and support
  that they need to intervene where appropriate, be conversant in and embrace the best practices in
  addressing the health and well-being of the department’s most valuable assets, its people, and
  ensure that accountability becomes a core value of the department at all levels. Given the centrality
  of the position, the Director must be someone who has a track record of experience and success
  with implementing accountability systems such as the early intervention systems recommended in
  this report, expertise in managing relations with unions, and appropriate certifications and
  experience in managing a complex human relations function in a large organization like the CPD.

  Until a fully automated EIS program can be implemented, CPD should create a manual
  intervention system, which undertakes an immediate assessment of officer fitness for duty.

  CPD, working with IPRA and/or the new CPIA, and with reference to the time period January 1, 2010 –
  January 1, 2016, should immediately identify officers (1) with 10 or more CRs, whether or not an
  affidavit was completed; (2) who have a pattern of missing court; or (3) who have been named in
  two/three or more lawsuits during this time period.

  During this time, CPD should conduct monthly meetings with the State’s Attorney, Public Defender,
  Presiding Judge of Criminal Division, City Law Department and, separately, Chief Judge of the
  Northern District of Illinois for the purpose of determining any adverse findings against police
  officers that bear on credibility, training issues or patterns of behavior. All information gathered
  should be factored into the manual intervention system.

  Any officers identified through these methods should be assessed for placement in BIS, PC or some
  other form of individualized work plan that involves their chain of command.

  The EIS program should include community outreach efforts by providing public access to data
  generated by the EIS program and inviting community stakeholders to CompStat-type meetings
  to discuss EIS data and outcomes.

  With all of the data that will be generated by the EIS program at its disposal, it is incumbent on CPD
  to make important information about its officers available to the public. As in many of the areas the
  Task Force examined, transparency into its non-disciplinary intervention programs and the data it


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      collects surrounding the performance of its police officers is essentially nonexistent. Although there
      are important privacy restrictions to keep in mind as it pertains to sensitive personnel matters, much
      of the information that CPD currently collects, and the information that we recommend it collects in
      the future, is information that can be made public.

      In order to provide the community with this important data, the Task Force recommends that CPD
      publish, on a monthly basis, aggregate data on the following: new and pending complaints by unit,
      disciplinary actions, missed court dates, new civil legal proceedings against officers, new criminal
      legal proceedings against officers, vehicle pursuits, vehicle collisions, uses of force, employee
      commendations, use of firearms, injuries to persons in custody, judicial proceedings where an officer
      is the subjective of a protective or restraining order, adverse judicial credibility determinations
      against an officer, or disciplinary actions.

      Moreover, additional steps must be taken to reach out to community stakeholders in a real and
      meaningful way about police interventions. As many thought leaders on the topic have explored,
      early intervention is consistent with the goals of community policy and can be another avenue to
      help improve community-police relations. In Detroit, for example, the police department’s consent
      decree with the Department of Justice included recommendations for increased community
      outreach.354 In response, the Detroit Police Department instituted quarterly meetings with
      community members to discuss performance issues, providing scorecards for units that outlined the
      number of officers trained, the number of officers that missed training and the number of use-of-
      force incidents, among other indicators.355 The meetings include an opportunity for questions from
      the community audience.356 The Task Force recommends that CPD establish a similar regular
      community-inclusive meeting to share data and insights from EIS.357



Endnotes
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      Working Group Interview.
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      Working Group Interview.
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      Working Group Interview.
341
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      Working Group Interview.
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      Working Group Interview.
356
      Working Group Interview.
357
   The access and/or publishing of aggregated EIS data in any format will be most helpful if designed in a way as to not interfere with
  or jeopardize the integrity of the system. The primary function of an EIS is to accurately predict police officer behavior, and to
  provide the framework to then respond to those predictions with appropriate interventions.




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De-Escalation
It is critically important that all CPD officers approach each and every citizen encounter with an emphasis
on respect and the sanctity of all life. That approach will avoid escalating even the most casual encounter.
CPD officers must also seek to de-escalate situations so as to minimize the use of force. Minimizing the
use of force not only prevents unnecessary injury and loss of life, it builds police legitimacy and trust. The
recommendations throughout this report, if implemented, will contribute to overarching de-escalation
efforts, such as developing a stronger, values-based policing philosophy, addressing racism and implicit
bias, re-defining community policing, developing an early intervention system to identify problem officers,
holding officers accountable for misconduct and continuing the rollout of body cameras. Out of deference
to the Department of Justice’s ongoing investigation, the Task Force did not conduct a detailed analysis of
CPD’s use-of-force practices. Rather, we focused our de-escalation analysis on the frequent situations
where officers encounter citizens experiencing a mental health crisis.

The Task Force does not need to search very far to find examples of police encounters with persons
experiencing mental health crises that went tragically wrong. In these situations, the person in crisis may
be agitated, overwhelmed and frightened. Officers approaching in a command and control manner may
increase the person’s fear and agitation, reducing his or her willingness and ability to peacefully comply
with instructions.

At the same time, officers perceive these situations as unpredictable and potentially very dangerous and
understandably want to gain control of the scene quickly. Unfortunately, if officers do not have strong de-
escalation skills, they may act in a way that inadvertently escalates the situation. In the worst case
scenario, officers, the person in crisis or bystanders may get hurt or killed. At best, unnecessary escalation
results in a stressful interaction and often an arrest of the person in crisis for behavior that occurred as a
result of the police encounter (e.g., battery to a police officer) and entry into the criminal justice system.

These potentially avoidable outcomes are costly in terms of human life, as well as taxpayer dollars. They
also further erode the relationship between the police and the community. There is an urgent need for
policing approaches that embrace de-escalation and procedural justice over traditional command and
control strategies for mental health-related and other types of police encounters with the public.

Changes in police procedures and practices are not the only challenge facing our local mental health
system. The mental health care safety net has been eroded in recent years. Our bare bones mental health
system fails to provide adequate treatment for early intervention, preventive mental health treatment or
crisis mental health care. Neither Medicaid nor private coverage devotes to providers the resources
necessary to effectively treat those living with mental illness. This is so despite national policy initiatives—
most notably the Affordable Care Act—to improve and expand access to services. There are huge capacity
shortages, and people who need and want help are not able to readily access it.

One in five people experience a mental illness in their lifetime.358 Although most of those individuals will
never need crisis intervention services, many will. Mental health treatment is extremely effective in
restoring the health and well-being of people who are living with mental illness.359 Some individuals with
intellectual or developmental disabilities experience similar crises, sometimes arising from psychiatric co-




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morbidities. These individuals also require appropriate crisis intervention and treatment outside the
stigmatizing reach of the criminal justice system.360

The bottom line is that most people living with mental illness still do not receive treatment. Without
treatment, mental illness—especially serious mental illness—can result in significant disability and
decreased quality of life.

Sadly, those who suffer from mental illness often end up in jail and not in treatment. Even more sadly,
there are countless stories of individuals acting in a purposefully criminal way so that they would get
arrested in order to get their medications or mental health treatment. We have also heard from many
families begging that their child get arrested as they see Cook County Jail as the only accessible treatment
provider. On any given day, a significant percentage of intakes at Cook County Jail self-identify as mentally
ill.361 We are arresting and incarcerating people with mental illness in record numbers throughout the
County. This is a national tragedy.

Without community care—services and supports, including insurance coverage to help them recover—
people living with mental illness simply do not get treatment, and their illnesses get worse. When that
happens, people living with mental illness end up in emergency rooms, in jail or on the streets with no
place to live. Too often, all of the above happens. Here’s a snapshot of what has happened in Illinois since
funding cuts took place in FY2009:

• Emergency room visits for people experiencing psychiatric crises increased by19% between 2009 and
  2012.362
• The total number of nights spent in a shelter statewide increased from 2,000,000 in FY2011 to
  3,041,000 in FY2013.363 The National Alliance to End Homelessness estimates that approximately 32%
  of the 14,144 individuals who currently experience homelessness on any given night in Illinois have a
  serious mental illness.364

These patterns reflect three real and solvable problems. First, studies show that emergency rooms and
jails cost much more than community treatment.365

Second, a vicious cycle arises involving jails, homelessness and excessive emergency room use. People
leaving jail who are living with mental illness have few, if any, housing options. Without a warm handoff to
a service provider, they often become homeless. In 2015, 2,134 individuals experiencing homelessness
were detained overnight at Cook County Jail, 34% of which were flagged for mental illness.366 Once
homeless, they lack access to health care services or do not seek services. Consequently, their mental
health problems get worse. Then one of two things is likely to happen: they get arrested and end up back
in jail, or they end up in an emergency room. At the emergency room, because there are so few housing
options, hospitals often refer the homeless who are living with serious mental illness into expensive
nursing home care. Many people do not need such an intensive, expensive level of care. They need the
recovery-promoting combination of community care and supported housing shown to successfully help
remove this population from homelessness.

Third, none of these are ideal treatment methods or outcomes for people living with mental illness. Their
treatment options and outcomes should not be emergency rooms, jails, living on the street or in nursing
homes. Instead, mental health treatment should involve a compassionate, comprehensive system of care
that provides the effective treatment that breaks this cycle and renders these options unacceptable.



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Police officers are too often the first responders to those living with mental illness and experiencing a
crisis. This has been the status quo for far too long. No other chronic health condition is treated in this
way. In turn, police officers are arresting individuals experiencing mental illness and are symptomatic in
their illness. This occurs because symptoms of mental illness are sometimes demonstrated in behaviors
that may look criminal. Furthermore, officers who are not well trained to identify the signs and symptoms
of mental illness can further escalate a situation to the point that an arrest is made. Reliance on the police
to respond to those living with mental illness or in crisis must stop. This costly and wasteful response
often perpetuates trauma and limits recovery.

Even officers who have training to support those in crises have limited options to divert those living with
mental illness to health care providers instead of jail. Currently, the only diversion option is the
emergency room at various hospitals.367 If someone is experiencing a mental health crisis and reports
feeling like harming himself or someone else, he meets the criteria for hospitalization. However, many
individuals whom officers encounter do not meet the criteria. Nevertheless, officers have no option but to
transport those people to an emergency room that is designated a police drop-off. Officers report
increased frustration when they see that same person back in their beat hours or days later untreated,
with no change in their behavior. This demonstrates the poor use of manpower and wasted resources.

The police are being held responsible for responding to all the social ills in our communities but are left
with few resources to respond proactively. We must shift the responsibility to other community partners
and resources to support our community. This cannot be done without a well-thought-out and properly
executed plan. A tremendous investment needs to be made by all parties. This includes CPD, hospital
systems, social services, the Office of Emergency Management Communications (“OEMC”) and other
community stakeholders. As is the case with anything that creates change, this cannot happen in
isolation. The task requires buy-in from the City and participating organizations, adequate funding and
other resources, meaningful data collection and community engagement.


Why are so few 911 calls to OEMC identified as mental health-related?
In 2015, there were approximately 5 million 911 calls made to OEMC.368 Of those, approximately 2.45
million—slightly less than half—were dispatched to the police.369 While only 25,000 of those calls were
pre-identified by the caller as mental health-related, national estimates suggest that anywhere from 3-
10% of police contacts are mental health-related.370 This suggests that, last year alone, the OEMC fielded
anywhere from 73,500 to 245,000 mental health-related calls, most of which were not flagged as mental
health-related by the caller.

Emergency call takers and dispatchers are a critical component of mental health crisis response. Our
observations indicate that OEMC suffers from recurring problems with its approach to determining
whether calls involve a mental health crisis, including inadequate protocols, limited training, lack of data
and other support, and gaps in communication with CPD.

OEMC’s procedures emphasize speedy dispatch of emergency resources in response to service calls.
Insufficient manpower may contribute to this emphasis on speed, at the expense of accurate
identification of mental health calls and the quality of response.




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OEMC personnel currently receive only a one-hour annual training about crisis intervention and mental
health from a non-subject matter expert. OEMC personnel report that it is challenging to effectively probe
callers to determine whether mental health may be at issue. Callers may not like to discuss mental health
because of its stigma. Even if they do, callers often do not use clinical terms to describe their situations,
and callers from different communities may use different words to explain the same mental health crisis.
Additional training could improve call takers’ ability and comfort in asking questions and identifying
mental health calls.

Additionally, current OEMC data systems do not utilize data on prior calls to provide location or personal
history that could assist in identifying likely mental health calls or other relevant background information
for responding officers.

  Recommendations
  OEMC should invest in a Smart911 system.

  Some cities have worked to solve the challenge of the lack of information presented to dispatch by
  callers through implementing Smart911 systems. Smart911 allows citizens to create a “Safety Profile”
  for their household that includes any information they want 911 and emergency response teams to
  have in the case of an emergency. This can include health and medical information, including known
  mental health issues. When a household member makes a call to 911, his or her Safety Profile
  automatically displays to the 911 dispatcher, which enables the dispatcher to send the right
  response teams with the right information to the scene.

  While Smart911 has been made available to the City in recent years, the City has yet to purchase and
  implement this effective program. This is so despite the fact that 32 states and more than 400
  municipalities, including Washington, D.C., Seattle, Atlanta and Denver, are currently using the
  program. The effectiveness of Smart911 is tested every day. As an example, in Addison, Illinois,
  emergency responders received a 911 hang-up call from a resident who had registered a Safety
  Profile that showed her adult son had a cognitive disability and violent nature. The information
  provided through Smart911 alerted the responding officers that the son would not respond to verbal
  commands, but, by using other methods they were still able to de-escalate the situation without any
  physical injury to him.

  Smart911 systems show significant promise and can deliver a substantial return on the investment.
  They can also help avoid tragic incidents like the shooting deaths of Quintonio LeGrier and Betty
  Jones. If LeGrier’s mental health history had been entered into a Smart911 system and that
  information was made available to emergency dispatchers and responding officers, the entire
  incident could have played out very differently. The Task Force recommends that the OEMC invest in
  and implement a Smart911 system for Chicago immediately.

  OEMC should implement a 16-hour mental health awareness training.

  The Crisis Intervention Team (“CIT”) model includes training emergency communicators as a key
  element of effective programs. There is currently no “best practice” approach, as some agencies have
  emergency communicators go through the full 40-hour CIT training with police officers, while others
  have developed training specifically designed for emergency communicators. The Alameda Police




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  Department provides 16 hours of training that covers mental health awareness and CIT information
  and, similar to CIT trainings, includes panels of persons with lived experience and family members.
  The Task Force believes that the Alameda model strikes a good balance and recommends that the
  OEMC implement a 16-hour mental health awareness training specifically tailored to call takers.

  OEMC should devote attention to supporting personnel in providing compassionate and effective
  service to the community and implementing stress management training that complies with
  national standards.

  Emergency communicators have a very stressful job dealing with members of the community in life-
  threatening and emotional situations. The nature of the job puts them at high risk for compassion
  fatigue, which can significantly impact their sensitivity to and patience with members of the public
  and lead to poor job performance (e.g., failing to recognize mental health calls or failing to obtain
  mental health information from callers).

  Many studies have also found that the 911 worker populations often suffer from Post-Traumatic
  Stress Disorder and other stress-triggered issues. While research has not yet focused on the
  potential solutions to mitigate these problems, the National Emergency Number Association
  (“NENA”) has established standards for implementing a Comprehensive Stress Management
  Program (“CSMP”).371

  NENA recommends that a CSMP: (1) provide stress management training; (2) offer on-site
  educational materials and resources about stress-related risks and managing stress; (3) establish
  internal operating procedures that will ensure employee participation in critical incident stress
  management activities; (4) establish and encourage employee use of Employee Assistance Programs
  that provide counseling services for their employees; (5) identify local resources and encourage
  proactive utilization of those resources; (6) establish peer support programs; (7) include
  comprehensive information on how to manage suicidal callers and calls that involve individuals with
  serious mental illness as part of general 911 training; and (8) incentivize personal health programs
  relating to lifestyle practices and changes.

  The Association of Public-Safety Communication Officials International (“APCO”) has also published
  minimum training standards for 911 call takers, echoing many of NENA’s recommendations. APCO
  further recommends that an agency be responsible for providing information in both verbal and
  written form, though the call takers themselves are responsible for the “application of stress
  management principles.”372

  The Chicago Department of Public Health (“CDPH”) should partner with mental health agencies
  and advocacy groups to develop a two-step community education campaign on the signs of
  mental illness and how to best respond to a mental health or related crisis.

  CDPH should partner with mental health agencies and advocacy groups to develop and support
  mental health awareness and education in the community. An ideal time to do that would be when it
  rolls out a new Smart911 system. As part of the campaign, the City should sponsor the training and
  education of credible messengers in communities throughout the City on signs and symptoms of
  mental illness and on how to either enter information in Smart911 or otherwise request a CIT-
  trained officer when calling 911. Those credible messengers should then engage with the community



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  and pass on that same training and education. Particular constituencies, such as caregivers for
  individuals living with severe mental illness and intellectual disabilities, school systems, faith-based
  groups and agencies supporting those with disabilities, should be engaged in this process.


What is CPD’s current approach to mental health crisis response? Don’t
they have a Crisis Intervention Team Program? Why isn’t it working?
In 2005, following a series of highly publicized shootings of persons with mental illnesses, CPD
established its CIT program to ensure the “dignified treatment and safety of arrestees and other persons
requiring assistance … to obtain mental health evaluation treatment, or hospitalization.”373 CIT,
sometimes called the Memphis Model, includes partnerships between police, mental health agencies,
advocates and persons with lived experience; 40 hours of specialized training for officers who volunteer
to become CIT officers; designated points of access to emergency psychiatric assessment and care; and
changes to policies and procedures to facilitate a more effective response to persons experiencing mental
health crisis.374 The CIT Center at the University of Memphis estimates that over 2,700 jurisdictions are
implementing CIT programs.375

Consistent with the Memphis Model, CPD collaborated with community stakeholders to develop and
implement the 40-hour training and to work through various system issues. The training educates officers
on how to respond to mental health crises and collaborate between law enforcement and community
mental health agencies.376 The training also provides opportunities for officers to interact with persons
with lived experience of mental illness, family members and mental health professionals. Both internal
evaluations and externally funded studies indicate that officers find the training extremely useful and that
it improves their ability to respond to persons in crisis.

CPD initially began by piloting the program in two districts, providing the 40-hour training to 30-40
officers and supervisors in each district.377 In light of initial successes, CPD rapidly expanded the CIT
program and was training roughly 30 officers throughout the City each month by July 2006.378 Since 2006,
the number of trainings provided annually has varied based on funding, which has come primarily from
external sources. Today, approximately 15% of Chicago’s more than 12,000 police officers are certified by
the Illinois Law Enforcement Training and Standards Board as CIT officers.

In response to requests from CIT-trained officers based in Chicago public schools, in 2010, CPD became
the first in the nation to offer an “Advanced” 40-hour CIT training program to focus on the unique needs
of youth.379 CIT-Youth trains officers to identify and divert juveniles with mental health needs to
treatment, rather than incarceration.380 CPD also offers a similar program targeting veterans.381

The CIT program has had a number of positive outcomes. A National Institute of Mental Health-funded
research study found significant differences in how Chicago’s CIT-trained officers respond to persons
potentially experiencing a mental health crisis compared to their non-CIT-trained officers. Specifically, CIT-
trained officers were less likely to use force with more resistant subjects, and they were more likely to
take steps to link individuals to mental health services. CIT-trained officers also reported feeling better
prepared to respond without needing to use force and that the skills they learned in CIT training really
worked to de-escalate tense and potentially dangerous situations.382




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Why aren’t all identified mental health crisis calls getting a CIT
response?
Notwithstanding a promising beginning and strong training curriculum, the Critical Response Unit (“CRU”)
has been significantly constrained in its ability to fully implement the CIT model. With only four staff
members assigned full-time to the unit, the CRU simply does not have the resources to fully support CIT
officers in Chicago’s 22 police districts; work with OEMC to ensure call-taker protocols and training
support effective identification of mental health calls; liaise with other City agencies, community providers
and stakeholders; respond to special call outs; track CIT call data; and run up to 30-week-long training
sessions per year.

Additionally, the number of CIT-trained officers is insufficient to ensure CIT availability 24/7 in all districts.
While existing data does not allow for accurate estimates of the needed capacity, it does suggest current
capacity is not adequate to meet demand. For example, out of the nearly 60,000 calls in 2010 to 2012 that
911 call-takers initially identified as “mental health-related,” only a quarter of them were handled by CIT
officers, even though call-takers “make every effort” to dispatch the calls to them.383 As noted above,
OEMC significantly under-identifies mental health-related calls. As a result, the actual number of calls
appropriate for CIT response is likely much higher, and the capacity issue may be more dire.

These problems are further exacerbated by a poor communications system between the OEMC and CPD.
OEMC personnel are hindered in dispatching CIT officers on duty for each watch and district because they
cannot easily and consistently identify them, even though station supervisors are supposed to send
OEMC a list of officers that are CIT-trained at the beginning of each watch. Then, OEMC personnel have to
manually enter daily watch rosters into their systems. These tasks could easily be automated to save time
and improve accuracy of information. There is also no process in place for CPD to share changes in their
General Orders or day-to-day operational practices in a consistent and timely manner.

  Recommendations
  CPD should increase the number of CIT-certified officers to 35% of all patrol officers, and ensure
  that individual districts with the highest number of mental-health calls are staffed to 35% or
  higher. All districts and all watches should staff at least two CIT-certified officers. Refresher
  courses should be developed and provided to CIT-trained officers. CPD should attach a
  permanent code “z” to officer names that OEMC can always access so dispatch can assign
  appropriate officers to calls.

  Ensuring that there are a sufficient number of CIT-trained officers during any watch to provide full
  coverage for mental health-related incidents is crucial. Yet, it is not necessary and may not be
  desirable to train all officers in CIT. The “Memphis Model” recommends having only a portion of a
  police force CIT-trained, reasoning that not all officers have the ability to be CIT officers and that
  volunteers may be more interested, invested and effective.384

  Initial recommendations from the CIT Center at the University of Memphis suggested that 25% of a
  department’s patrol force be CIT trained to ensure availability of CIT response. More recently, they
  have acknowledged that this may vary based on the needs of specific cities and that larger, more
  densely populated cities may need to train 35% or more to ensure coverage. Chicago does not




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  currently have adequate data to determine the precise capacity needed. However, it is clear that 15%
  is not sufficient. The Task Force recommends that Chicago increase its CIT capacity to 35% of patrol
  officers. We also recommend that data systems be improved so that the adequacy of CIT capacity
  can be empirically assessed.

  The City should create a “Mental Health Critical Response Unit” within CPD that is responsible for
  mental health crisis response functions, training, support, community outreach and engagement,
  cross-agency coordination and data collection and houses the CRU.

  The Task Force recommends that the City create a new unit within CPD known as the Mental Health
  Critical Response Unit (“MHCRU”). MHCRU would be responsible for overall mental health crisis
  response functions, training, supporting community outreach and engagement, cross-agency
  coordination and data collection and would house the CRU. MHCRU should be housed within the
  Bureau of Support Services, in the Education & Training Division. It should be led by an officer with
  the rank of Lieutenant or higher, be adequately resourced and staffed and work with an advisory
  board of local stakeholders. MHCUR would oversee CIT training, support CIT officers in the field and
  operate a co-responder unit assisting with high-risk subjects or providing follow-up for persons who
  frequently come in contact with police.




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  In order for CPD’s mental health crisis response strategies to be effective, the MHCRU unit must have
  the organizational support and resources to do its work. The CRU must be prioritized such that both
  the police department and the community give mental health crises the attention they merit, and the
  CRU can obtain the amount and quality of resources that it needs. The U.S. Department of Justice
  has recognized this and required the prioritization of these units in its consent decrees and
  settlement agreements with several cities.385

  Given the breadth of functions of the MHCRU unit, it should be staffed by at minimum 8 full-time
  sworn personnel carefully selected and vetted based on experience and commitment to providing
  effective mental health response and an absence of excessive force complaints against persons
  experiencing crisis in the preceding three years. Pending a comprehensive assessment of personnel
  need, unit staffing may be increased beyond 8.

  A full-time data analyst should be assigned to this unit to evaluate the CIT training program and
  inform personnel need, community feedback, and analysis of OEMC calls, as well as effectiveness of
  police interventions and evaluations of the training.


Why are so many people with mental illnesses having repeat contacts
with CPD and ending up in the criminal justice system?
Studies suggest that over 60% of incarcerated individuals meet diagnostic criteria for some mental
illness.386 That means that of the approximately 76,400 people who were admitted to Cook County Jail in
2012, approximately 46,000 were people living with mental illness.387 It is therefore not surprising that
following national trends, many jails and prisons in Illinois have become the de facto mental health
treatment centers. The Cook County Jail is now considered one of the larger, if not the largest, mental
health care providers in the country. In fact, many people do not receive mental health treatment until
they enter the criminal justice system.

In the past decade, Illinois has made some of the largest cuts to mental health spending in the nation.
During that same time period, the City of Chicago closed six of its twelve mental health clinics and other
private agencies closed their doors. While there are community mental health agencies providing good
services in Chicago and the Affordable Care Act has infused additional resources, long waiting lists are
common. The current State budget crisis further threatens the ability of many facilities to stay open at all.
The situation is particularly dire on the South and West sides of the City.

In the context of an overburdened mental health system, police officers frequently encounter persons
with mental illnesses who are in crisis or struggling to get their basic needs met. Officers have few options
for addressing these situations. They can arrest the person and take him or her to lock-up or jail,
transport the person to the designated hospital emergency department for psychiatric evaluation or do
nothing at all. Many individuals in crisis do not need or meet the criteria to be hospitalized nor are they
engaged in criminal behavior. But an officer may recognize that without some type of intervention, the
problem will continue and, in some cases, put the individual with mental illness or others at risk.

Interviews with officers indicate they are often frustrated with the time it takes to transport an individual
to the hospital and then see the same individual back in their beat within hours, in the same or worse
condition. Under current conditions, arresting the person and taking him or her to jail may be a more



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efficient use of officer time, and ironically may also be more effective in obtaining the required mental
health treatment. This is not an acceptable system response to the predictable challenges of severe
mental illness. Emergency departments and jails are poor venues to provide proper treatment for
persons experiencing mental health crises. And both are very expensive. The lack of appropriate
resources needlessly criminalizes many men and women who could receive more effective and humane
treatment outside the criminal justice system, with a more carefully organized and properly funded
mental health system.

  Recommendations
  The City should create a crisis response system to support multi layer co-responder units where
  behavioral health providers are working with OEMC and CPD to link individuals with mental
  health issues to treatment, 24 hours a day.

  While providing CIT training to police officers is a key tool for de-escalating responses to mental
  health crises, many jurisdictions recognize the value of also going beyond traditional police functions
  to more directly address the problem of mental illness. The President’s Task Force on 21st Century
  Policing recommended that law enforcement agencies “engage in multidisciplinary, community team
  approaches for planning, implementing, and responding to crisis situations with complex causal
  factors.”388

  The co-responder model is one such approach. The model’s primary component is intensive
  collaboration with mental health professionals for responding to crises and persons with mental
  health issues who repeatedly come to the attention of police. Police may respond in tandem with
  mental health professionals, allowing them to maximize their respective skills and better share
  information. Instead of simply arresting a person experiencing a mental health crisis, these clinicians
  help assess whether an alternative intervention (e.g., connecting with a social worker, getting
  treatment) would be more appropriate. After an incident, a clinician may follow up with the person
  who experienced a crisis.

  The crisis response system includes a crisis line that is staffed by clinicians and is well-connected to
  other systems (like OEMC) that can respond to mental health emergencies. Intensive training and
  development of this multi layer co-responder model is necessary and relies heavily on the City and
  its Department of Public Health. The crisis response system should also include mobile crisis workers
  that can respond and provide assessments. These clinicians may also respond at the request of
  police officers, and request police assistance when needed.

  The Los Angeles Police Department’s crisis response system includes co-response teams and has
  become nationally recognized as a best practice.389 Its Mental Evaluation Unit (“MEU”) consists of 61
  officers and detectives and 28 clinicians with the Los Angeles County Department of Mental
  Health.390 The MEU has teams that pair a clinician with a police officer or, for more complex cases,
  with a police detective. Deploying these teams for crisis calls saved more than 6,600 hours of patrol
  time and at least $10 million in 2014.391 MEU officers and clinicians also help staff a crisis hotline that
  patrol officers—before taking action in a situation that appears to involve a mental health crisis—are
  required to contact for an assessment of the most appropriate intervention. Approximately two-
  thirds of these calls involved a “one-time crisis” resolved with the first contact.



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  Moreover, in Pawtucket, Rhode Island, the police department’s partnership with the largest
  community provider of mental health services to respond to crisis calls resulted in further benefits.
  Besides providing people experiencing mental health crises with the help they needed and
  generating significant cost savings, the collaboration in Pawtucket enhanced transparency and
  rebuilt trust between law enforcement and mental health professionals, as well as between law
  enforcement and community members.392

  The City should expand and invest in Crisis Stabilization Units (“CSU”) for individuals suffering
  from symptoms of mental illness who do not need to be psychiatrically hospitalized.

  Holy Cross Hospital has a small CSU for adults. In the 8 months the unit has been open, inpatient
  hospitalizations have decreased 42% because patients are immediately linked to mental health
  providers.393 Holy Cross is not a CPD drop-off site nor does CPD’s general order currently allow
  officers to drop off individuals experiencing symptoms of mental illness at a CSU as opposed to a
  designated emergency room. However, this is an important option for persons needing stabilization
  and has shown initial promising results:

  ● Prior to the CSU, 75% of individuals suffering from symptoms of mental illness in the emergency
    room were admitted as inpatients; after the CSU that number dropped to 34%.

  ● The Holy Cross CSU has served 466 people.

  ● The average length of stay is 14 hours.

  ● In the emergency room, for an individual with both mental illness symptoms and medical issues,
    the average wait time is 5 hours. For individuals with mental illness symptoms, the wait time for
    the CSU is only 1 hour, down from 18 hours in the emergency room.394

  Several projects are also under way to better link individuals with mental illnesses who come in
  contact with the police to mental health services. Funded by the Bureau of Justice Assistance, CPD is
  working with Mt. Sinai Hospital and Thresholds to link persons transported to the Mt. Sinai
  emergency room for psychiatric evaluation. This pilot project also includes a hotline that officers can
  call for persons not needing transport but in need of linkage. This service is only available during
  business hours and not widely known within CPD. This is yet another reason why an MHCRU would
  be such an essential component to the internal and external communication of services and
  resources available to officers.

  The City and the MHCRU should identify frequent, high-use and high-need individuals and help
  them get mental health treatment.

  Some individuals in mental health crises are frequent players in both CPD and hospital emergency
  departments. The strain on both CPD and the healthcare system could be significantly reduced by
  identifying these high-use individuals and helping them get the mental health treatment they sorely
  need. Sharing data between the City’s Department of Public Health, insurers, hospitals and other
  mental health providers, CPD and OEMC is critical to identifying frequent, high-use individuals for
  intervention.

  For example, in response to a recognition that a small group of individuals were very high users of
  emergency room services, Illinois Masonic Hospital developed a program that identifies high users of



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  emergency services and links them to community treatment teams. Last year they intervened with a
  woman who visited the emergency department over 700 times costing the hospital $2.5 million.395
  With engagement and community treatment, employment support, medication management, and
  continual following up, this patient reduced her visits to only eight times the following year, saving
  millions of dollars.

  Several recent demonstration projects and randomized trials explore strategies to address the
  medical and psycho social needs of individuals who come into repeated contact with law
  enforcement, medical and social service systems. Medical facilities across the United States pay
  increasing attention to “hot-spotters”—specific individuals and settings associated with repeated and
  costly use of medical and social services.396 Many of these interventions implement cooperative
  interventions from housing, mental health and social service agencies to provide effective case
  management, secure housing and other services to address chronic risks.

  To help frequent, high-use and high-need individuals receive treatment, the City should fully fund
  Assertive Community Treatment (“ACT”) teams and Mobile Crisis Prevention to provide relentless
  engagement. ACT is an evidence-based program that is less expensive than hospitalization or jail and
  significantly reduces recidivism and re-admittance.


Why are we only treating people after they are in crisis?
The current mental health system focuses on chronic care management for people who are living with
severe, disabling mental illnesses. It does not address early intervention that might encourage recovering
and support a high functioning individual avoiding long-term disability. It also does not address the needs
of other individuals who do not experience severe mental illness, but who satisfy criteria for intellectual
and developmental disabilities that may heighten risks of mental health crises. Without these less
intensive, recovery-promoting services, persons living with mental illness fail to get timely treatment until
their symptoms are so severe as to require costly crisis management. In other words, the current mental
health system may treat pneumonia but not the common cold, so you have to wait until your cold turns
into pneumonia before you can get treatment.397

Clinical research studies have long established the importance of early intervention following the first
episode of psychosis.398 Prolonged duration of untreated psychosis not only reduces the effectiveness of
treatment, but also increases the risk of incarceration.399 Persons experiencing the first episode of
psychosis while still untreated are at an increased risk of substance abuse, violence and arrest.400
Moreover, recent studies have found that changes in the brain caused by child trauma result in
heightened sensitivity to stress often found in people diagnosed with psychotic disorders.401

Interventions found effective for promoting recovery after a first episode of psychosis include low doses
of atypical antipsychotic medications, cognitive and behavioral psychotherapy, family education and
support and educational and vocational rehabilitation.402 Care and services should be offered over at
least a two- to three-year period.403 The RA1SE Early Treatment Program reflecting this programming has
been implemented in 17 community clinics across the nation thus far.404

Early intervention is crucial to countering the progression of the illness and decreasing the risk of
criminal justice involvement. This treatment is particularly important for young adults. Studies have



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found that younger inmates generally suffer from the highest rate of mental health problems.405 For
example, 63% of state prisoners age 24 or younger had a mental health problem, while 40% of those
age 55 or older had one.406

  Recommendations
  The City should invest in first episode programming so that young adults experiencing their first
  episode of psychosis or major depression are immediately linked to intensive services to reduce
  progression of illness and decrease the risk of criminal justice involvement.


How are police escalating trauma, including at crime scenes?
Many communities in Chicago are constantly traumatized due to community violence and other toxic
stress. Over 75% of children in a high-violence urban area report contact with community violence,
meaning they either have seen violence, been a victim of violence or known a victim of violence.407 This
level of trauma and violence is devastating—children exposed to gun violence report high levels of anger,
withdrawal and post-traumatic stress.408

Youth living in violent communities may experience “pathological adaptions” and can find it hard to form
trusting relationships, especially with police.409 Repeated exposure to violence is traumatic and creates a
constant state of fear for children and adults. When children are raised in this environment, they are
continuously in a heightened state of arousal, which can lead to perceiving threats when there are none
and to either respond by withdrawing or lashing out. This is the environment that officers are walking into
when responding to calls. Many parts of our community are in a constant state of fear, mistrust and
survival.

The vicious cycle of violence feeds into our criminal justice system when children experience such high
levels of trauma that affects their development, leading to the development of mood and anxiety
disorders, aggression, deficits in social skills and substance use. The high levels of trauma not only affect
youth in their current lives, but affect their behaviors and development later on. Children who experience
violence are more likely to perpetrate violence as an adult, including aggression, delinquency and other
violent crimes. Community violence, toxic stress and trauma saturate our city, and efforts to break the
cycle of violence will be suffocated unless we actively work to address the trauma that people are
experiencing every day.

  Recommendations
  CPD should work to decrease trauma and escalation at crime scenes by reducing the show of
  heavy weapons and expanding the Chicago Survivors program.

  Police officers must be cognizant of the traumatized state of many communities when they respond
  to crime scenes so as to not exacerbate matters. Officers should seek to reduce a show of force and
  heavy weapons where appropriate.

  In September 2015, the Chicago Department of Public Health’s Crisis Response and Recovery
  Program partnered with Chicago’s Citizens for Change on its “Chicago Survivors” program.410 The
  collaboration sought to provide immediate responses to family members of murder victims in order




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      to provide services and assist them through the aftermath of loss due to violence.411 Chicago
      Survivors is a promising program, but its funding cycle is ending and its efforts are constrained by
      current staffing. The program currently provides one-hour training to lead homicide investigators on
      “More Effective Engagement and Communication with Families Following Homicide.” It also provides
      a fresher course on crime victims’ services and a general overview of the symptoms of PTSD and
      complicated grief.

      The City and CPD should expand the capacity of the Chicago Survivors program by using the
      program to: (1) respond to all homicides City-wide; (2) provide homicide scene de-escalation, which
      would lower arrests and agitation within the community; (3) conduct PTSD assessments; (4) provide
      links to six months of family support services; (5) provide officer training to promote more effective
      and compassionate engagement; (6) provide training to state prosecutors and the medical
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Video Release Policy
The Task Force developed a policy for the public release of video and audio recordings of certain critical
incidents involving police officers, in particular those involving the use of deadly force or in which death
or serious injury results. The Task Force produced this policy on a somewhat expedited basis due to the
need to address pending issues and incidents.

The Task Force released the proposed policy on February 16, 2016, and the Mayor immediately adopted
it. The adoption of the policy made Chicago the first city in the nation to have a specific, written policy that
guarantees the public’s timely access to video and audio recordings relating to sensitive police-involved
incidents. Nevertheless, and in keeping with the overall timetable for the presentation of its final report,
the Task Force has continued to review the policy as it was adopted, and has received and reviewed
additional comments and relevant materials. This section of the report will address the process by which
the policy was created and some of the concerns behind it, as well as some changes the Task Force
proposes in light of information received since its adoption.

The Task Force received and reviewed a considerable quantity of material related to the issue of the
public release of recordings of police incidents. While no other city had a written policy, there was a
wealth of material to consider, including proposed policies as well as commentary from people and
groups on all sides of the issue. The Task Force obtained input directly from a number of concerned
entities and individuals, including members of the public, City agencies (including the Law Department
and IPRA), prosecutors, criminal defense attorneys, leadership of the FOP, and attorneys who litigate
claims against police officers and who pursue FOIA claims directed at obtaining the release of recordings
of police incidents. After the policy was released by the Task Force and adopted by the Mayor, the Task
Force received a number of comments and additional information, some of which is reflected in
proposed changes to the policy that are described below.


Why does the City not immediately release all video, audio and police
reports on every police shooting or death in custody?
Before the Mayor’s adoption of the policy on February 16, 2016, the practice in Chicago was generally to
withhold from public release any video recording of a police incident until investigations, whether
criminal or merely disciplinary, were concluded. This practice, like the absence of any written policy, was
consistent with many jurisdictions the Task Force surveyed. However, the Task Force found that the
absence of a clear, written policy led to inconsistencies, confusion and mistrust on the part of the public,
as well as a proliferation of expensive and time-consuming litigation conducted under the Freedom of
Information Act. In many cases, it also left the public in the dark about matters of serious public interest.

In deciding what the video release policy should say, the Task Force was keenly interested in how other
jurisdictions handled this issue. As noted, the Task Force’s survey of policies around the nation found that
as of February 16, 2016, no other city had a written policy on the release of audio and video of police-
involved incidents. But other jurisdictions have considered the issue, and their experiences were




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informative. This report will summarize two of the many jurisdictions that were considered—New Orleans
and Seattle.

New Orleans, by coincidence, issued a written policy on February 24, 2016, just eight days after the Mayor
adopted the video release policy produced by the Task Force. New Orleans is under a police-related
federal consent decree, and the new policy was also approved by the Federal Monitor and the U.S.
Department of Justice.

The New Orleans policy provides that, within 48 hours of a critical incident involving a police officer, the
Public Integrity Bureau (“PIB”) of the New Orleans Police Department (“NOPD”) must provide any
recording recovered from the scene to: (1) the Orleans Parish District Attorney’s Office; (2) the City
Attorney’s Office; (3) the NOPD Compliance Bureau; and (4) the local United States Attorney’s Office.
Those agencies then advise the Superintendent of the NOPD on whether the recording should be made
public. The PIB considers the nature of the incident, the safety and privacy concerns of individuals
involved, and whether the release would interfere with an ongoing investigation. Taking the advice of
those agencies into account, the PIB must make a final recommendation to the Superintendent no more
than seven days following the incident. The Superintendent then determines, within 48 hours of receiving
the PIB’s recommendation, whether any recordings may be released to the public. Any recordings that
are released may be redacted to protect the identity of juveniles, victims, witnesses, and suspects, and to
ensure the safety and security of anyone involved with the incident. If the Superintendent decides
recordings will not be released, the NOPD must inform the federal judge overseeing the consent decree,
the Department of Justice, and the Federal Monitor.

The New Orleans policy arises in a somewhat different context than that present in Chicago, principally
because of the presence of the consent decree. That said, differences between the New Orleans policy
and the policy produced by the Task Force should be noted. The most prominent is the affording of
discretion to the NOPD Superintendent, albeit after consultation with other concerned entities, as to
whether a recording should be released. By contrast, the Task Force’s policy eschews discretion on the
part of any official in favor of mandatory release after a specific and limited interval. The Task Force felt
that this model was more likely to serve the interests of transparency and trust that were its paramount
goals. In addition, the Task Force found that use of a model in which some official or agency was charged
with deciding whether to release a recording on a case-by case basis would raise difficult issues regarding
in what City office or agency such an official would be lodged and what criteria would be applied in
deciding whether recordings should be released—issues addressed more fully below.

Many commentators, including some who provided input directly to the Task Force, suggested that it
consider how the issue of the release of recordings is handled in Seattle. Aumber in fact claimed that
Seattle followed a policy of releasing all such recordings immediately, and touted that approach.

When the Task Force contacted responsible Seattle officials, it turned out that was not the case. First,
Seattle does not have, and never has had, a department-wide immediate release rule, and it has no
written policy at all. From December 2014 to July 2015, the Seattle Police Department (“SPD”) operated
a pilot project in which 12 police officers (out of approximately 1,300 in the department) wore body
cameras while on duty. With the assistance of local hackers, software was developed that allowed the
video and audio recorded by those 12 body cameras to be redacted to obscure all images and
eliminate audio, and then to be uploaded to a YouTube channel, where it was available for public



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review within a day of its being recorded. The recordings covered by this policy were not limited to
incidents involving the use of force; rather, they included everything that was recorded on the officer’s
body cameras. The pilot project ended, and currently there are no Seattle officers wearing body
cameras or uploading recordings. Nor has the pilot project been expanded to include more officers.
The SPD continues to assess its pilot project.

So how, after having the benefit of the pilot program, does Seattle actually handle these issues? Seattle’s
current policy gives discretion to the Chief of Police to release a video when she deems it appropriate and
necessary. If the Chief of Police declines to release a recording, the Washington Public Records Act
(“WPRA,” equivalent to Illinois’ FOIA) allows interested parties to request release of a video and, if
necessary, sue to obtain its release. The WPRA includes an exemption from release for pending criminal
investigations. The authority to declare an investigation of a police-involved incident a “criminal
investigation” exempt from release under WPRA rests solely with the Director of the SPD’s Office of
Professional Accountability, who reports to the Chief of Police, but is otherwise outside the SPD chain of
command. Moreover, under Washington state law the criminal investigation exemption to WPRA ceases
to apply once a matter is actually referred to a prosecutor’s office. Like the New Orleans model, and
unlike the policy produced by the Task Force, the Seattle policy that is actually currently in force affords at
least some discretion to the SPD to withhold a recording from release for some period of time, subject to
litigation seeking its release.

  Recommendations
  The Task Force’s video release policy provides that recordings and reports related to certain
  specified types of police incidents be automatically released to the public no later than 60
  calendar days from the date of incident, or at an earlier date when possible. Law enforcement
  agencies, or IPRA (or its successor), may by written request obtain a one-time extension of that
  deadline, limited in length to 30 days.

  This policy makes Chicago the first city in the nation to have a specific, written policy guaranteeing
  the public’s timely access to information relating to sensitive police-involved incidents, including
  police-involved shootings and deaths in custody. The policy strikes a balance between the public’s
  need for information about police activity and the interests of law enforcement agencies in
  conducting investigations without risk of compromising important sources of evidence. The policy is
  attached as Appendix 10.

  In formulating the policy, the Task Force attempted to balance the interests of various concerned
  people and entities. These interests included, but were not limited to, the public’s need to be
  informed about the way its police officers conduct themselves, especially where the use of force is
  concerned, as well as the need for agencies charged with addressing the consequences of police
  incidents to be able effectively to investigate them. While the public’s interest in being informed is
  obviously substantial, the Task Force believes that it is also in the public’s interest to assure the
  ability of prosecutors and other agencies to investigate these incidents and to address their
  consequences, legal or otherwise.

  The Task Force believes this policy addresses these and other concerns effectively in a way that will
  foster greater transparency and trust between the community and its police force. It is important to



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  note, though, that the Task Force believes that consideration of these issues needs to be an ongoing
  process. The policy expressly provides that it should be reviewed after one year (or less) to
  determine whether earlier release (or other changes designed to further increase transparency)
  might be appropriate in light of experience and implementation.

  Specific Provisions of the Policy. After stating its purpose in Section I, the policy sets forth the
  considerations behind it in Section II. These include the public’s interest in timely access to
  recordings and reports about certain kinds of serious incidents involving the use of force by police
  officers, the interests of persons depicted in those recordings, and the interests of agencies
  investigating those incidents in avoiding the compromise of their investigations by, for example,
  prematurely making such materials available to potential witnesses. As Section II indicates, the goal
  of the policy was to balance those interests, and in that respect, Section II speaks for itself. The Task
  Force regards all of those concerns, including not impairing the investigative process, as being in the
  public interest.

  Section III of the policy defines its scope, both with respect to the kinds of incidents it covers and the
  kinds of recordings and reports it covers. As to the former, the Task Force considered, but did not
  entirely mirror, the categories of incidents that are within the power of IPRA to investigate under
  Chicago Municipal Code § 2-57-040(c) and (d). The policy covers incidents in which force is used both
  “on the street” and when an individual is in police custody. While some suggested that covered
  incidents involving the discharge of firearms be limited to those in which an individual is actually
  struck, the Working Group and the Task Force rejected that view, deeming an instance in which an
  officer fires at a civilian but misses to be well within the zone of interests governed by this policy.

  In light of comments received since its adoption, the Task Force does recommend some
  modifications to Section III A as it was adopted by the Mayor. One concerns the inclusion of incidents
  involving the use by police officers of stun guns or Tasers. After the policy was produced, the
  Working Group received, and relayed to the Task Force, concerns related to the administrative
  burden that would be imposed by including the literally hundreds of such incidents that take place
  each year within the scope of the policy. While the Task Force does believe that the issues raised by
  those types of incidents are indeed of public concern, it does not want to see what it views as an
  otherwise workable policy dragged down by its own administrative weight. Accordingly, the Task
  Force recommends that at this time incidents involving Tasers and stun guns be included only if they
  result in death or in great bodily harm, a concept that is already defined in Section III A.

  Another proposed change, offered mainly for purposes of clarification, would clarify that covered
  incidents involving the discharge of firearms do not include accidental discharges.

  Finally, the Task Force recommends modifying the policy to make clear that incidents resulting in
  death or great bodily harm to a person in CPD custody refers to those incidents where the death or
  great bodily harm results from the use of force by another person.

  Section III B addresses what kinds of materials are covered by the policy. The policy applies to both
  audio and video recordings, as well as certain specified police reports. Notably, the policy is not
  limited in its application to recordings made on City equipment; rather, it includes any recordings
  made on private or other equipment that come into the possession of the City later. As a matter of




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  clarification, the Task Force notes that recordings made during and as part of an investigation of
  an incident, including recordings of witness statements, are not intended to fall within the scope of
  this policy.

  Section IV of the policy governs the release of materials that it covers. The Working Group and the
  Task Force considered a number of possible models and intervals with respect to when and
  whether recordings and reports should be released, including immediate release of all materials,
  mandatory but delayed release, and release unless delay was approved by some responsible
  official or agency. Here, as in all of its considerations regarding this policy, the Working Group and
  the Task Force balanced the interests of those seeking release as soon as possible with those
  seeking to delay release.

  The possibility of charging some official of the City with determining whether and for how long the
  release of material covered by the policy should be delayed was considered at length, but was
  ultimately rejected for several reasons. One was the concern that trust and transparency would not
  be fostered by affording such discretion to an official of the City’s executive branch. Another was the
  difficulty in setting forth the criteria under which such an official would decide whether to delay
  release, and for how long. A third reason was that no City official could accurately evaluate the
  concerns of law enforcement agencies as well as they could themselves. The Task Force also
  considered the possibility of subjecting the question of whether and when to release to a court
  process, but determined that doing so would require an exercise of jurisdiction not currently
  afforded to Illinois courts. Ultimately, the Task Force opted for a policy that mandated release rather
  than leaving it, as other jurisdictions do, to the discretion (however cabined) of an official.

  Having decided to mandate release, the Task Force also felt that immediate release in every case
  would not necessarily serve the public interest. Just as it has an interest in knowing how its police
  officers are doing their jobs, the public also has an interest in seeing that the agencies charged with
  investigating incidents involving the use of force by police, including prosecutors and IPRA, are able
  to conduct their investigations without fear that the release of recordings or reports would
  compromise their efforts. The Task Force recognized that, under certain circumstances, making
  recorded evidence or reports available to the public during the early stages of an investigation could
  result in those materials influencing witness accounts of the incident. Accordingly, the Task Force
  concluded that while release should be mandatory, some period of delay should be provided to
  allow for the conducting of witness interviews and other early investigatory functions.

  Informed by the experience of a number of members of the Task Force and the Working Group with
  investigating cases involving the use of force by police officers, as well as the views it received from
  others, including criminal defense attorneys whose clients’ interests could be adversely affected by
  an earlier release, the Task Force settled on a 60-day delay from the date of the incident (or, if the
  recording was made on non-City equipment, from the date a City agency comes to possess it) before
  release. Section III C of the policy makes it clear that material can be released earlier if it can be
  determined that doing so will not compromise an investigation.

  Recognizing also that not all investigations proceed on the same timetable, the Task Force provided
  for an additional, one-time, 30-day extension upon written request made by a law enforcement
  agency or IPRA. Written requests need not contain investigative detail, but should invoke concerns



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  similar to one or more of the exemptions included in FOIA. Written extension requests will
  themselves be made public, so that the cause of the additional delay can be known to persons
  interested in the issue. Following this period of up to 90 days, the policy does not allow for any
  further delay in release of these materials.

  Section V of the policy addresses notice to affected parties. It requires IPRA, prior to the release of
  any material it covers, to provide notice of the pending release to any individual who was the subject
  of the police action depicted or described in it, or to the person’s family or legal representative if they
  are deceased. The policy permits them to view the recording themselves and requires IPRA to brief
  them on the status of the investigation in a way and to an extent that does not itself compromise
  that investigation.

  Section VI, as noted above, calls for review of the policy in one year or less to determine whether,
  after the policy has been in use, the period of delay in releasing material can be shortened. The Task
  Force recommends that this section be modified to make clear that ongoing review should address
  any provisions of the policy that might appropriately be modified, including, for example, whether to
  add all incidents involving Tasers and stun guns back into the policy‘s coverage.

  Finally, Section VII makes it clear that the policy is not intended to supersede any legal obligation
  with respect to the release of any material, including any court order, any legal obligation to withhold
  identifying or other sensitive information of any person, or any obligation under FOIA, including
  those relating to privacy and safety.

  The policy is intended to balance the interests of a range of stakeholders with varied, and sometimes
  opposing, interests in the issue of when the recordings and reports it covers are made public. Like
  any balancing effort, the result will not make everyone happy, and the Task Force recognizes that
  implementing it will impose burdens and costs. But those concerns must, in the view of the Task
  Force, give way in some respect to what the Task Force views as the paramount interest of the public
  in timely access to the best available information regarding how the police officers that serve them
  exercise their unique ability to use force in performing their duties. Indeed, nowhere is the public’s
  interest more strongly implicated than in situations in which an officer uses deadly force on a civilian,
  or when harm comes to one held in police custody. It was for this reason, in large part, that the Task
  Force chose mandatory release, as opposed to release at the discretion of some official or agency.

  The Task Force hopes that the policy will foster transparency and thus encourage trust. The more
  informed members of the community are about how officers act at their most critical moments, the
  more grounds they will have to trust their police force, and to trust that officers who violate rules or
  the law will be dealt with justly. But the Task Force recognized that the public interest is also served
  by protecting the efficacy of the processes by which police incidents of this kind are investigated. Just
  as transparency regarding what police officers do will foster trust between the police and the
  community, so will the sense that relevant agencies can effectively determine what has occurred as a
  first step to determining what the consequences should be.




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Overarching Issues
Does CPD’s training need significant overhaul?
The answer is yes. The Task Force found that CPD has consistently failed to devote adequate resources to
training officers once they leave the Academy. While CPD provides almost double the state-mandated
time for new recruit training, once an officer leaves the Academy, over the remaining decades of an
officer’s career, there is virtually no annual, mandated training. The only annual mandated training is for
firearms certification, nothing more. To be sure, there are occasional mandated Academy trainings, such
as the recent trainings for procedural justice and Taser use. However, unlike in other jurisdictions that
have a portfolio of annual, mandatory trainings, survey their members and supervisors on training needs
and develop a strategic plan for training, no such processes exist for CPD training. Therefore, the Task
Force recommends that CPD should address several aspects of its training programs that cut across all
subject areas.

CONTINUING EDUCATION
Based on the Task Force’s interviews and review of materials, it appears that CPD does not have a robust
strategic approach for ensuring that all officers have ongoing training and professional development
opportunities to develop and maintain the professional competencies needed to perform well. Other
than an annual, under-resourced firearms qualification, there is no regular in-service training or
certification requirement. Even though all officers complete pre-service training, training changes over
time based on best practices and needs.

Any additional mandatory in-service training appears to be reactive, rather than systematically planned to
address identified needs and changes in policing. For example, CPD is currently developing a 16-hour,
two-part force mitigation training for patrol officers to begin in spring 2016 and end July 2016. There is no
information about the frequency or decision to make this an annual or refresher training, however. CPD
has developed and is continuing to develop procedural justice training, but, as discussed earlier in the
report, the roll-out of this important training has not been fully implemented.

The International Association of Directors of Law Enforcement Standards and Training (“IADLEST”)
endorses mandated annual in-service law enforcement training, although it leaves the number of training
hours and the selection and/or approval of subjects to the discretion of local law enforcement
administrators. There is some variation here, with Utah, Portland, and Massachusetts requiring 40 hours
annually; Indiana, Missouri, and Washington requiring 24 hours annually; and California requiring 24
hours every two years.

Additionally, practices in other jurisdictions suggest that it is highly important to regularly assess training
needs, conduct in-service training, and engage the community. For New Orleans, the Department of
Justice recommended that the police department establish an executive training education task force—
including both law enforcement leadership and community members—that would provide the
superintendent with information on current training priorities and broad training goals.412 Moreover, the
Education and Training Division Commander conducts an annual training needs assessment to update its



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training, and its plan includes having subject matter experts help create, implement, and teach the
curriculum. The New Orleans Consent Decree also requires that the department provide eight hours of
in-service training annually on community policing and problem solving.413

  Recommendations
  Provide an annual 40-hour in-service training for all sworn personnel, including periodic
  refresher classes on procedural justice.

  Law enforcement is an ever-changing occupation. Laws, court decisions, techniques, technology, and
  the broader community are in a constant state of flux. As a result, it is imperative that police officers
  keep abreast of changes and community needs in the areas they serve so that they can more
  effectively serve the citizens, help the agencies that employ them avoid civil liability, and develop
  necessary supervisory and management skills.

  Implement a systematic approach to identify training needs and revise in-service training
  curriculum on an annual basis.

  This systemic approach will require CPD to conduct a thorough training review and needs
  assessment to inform the development of annual in-service training. The training review should be
  conducted annually and take into consideration: (1) analysis of officer safety issues; (2) misconduct
  complaints; (3) problematic uses of force; (4) input from all levels of CPD; (5) community input; (6)
  recent court decisions; (7) best practices research; (8) the latest law enforcement trends; (9)
  individual district needs; and (10) any changes to Illinois or federal law, Chicago law, or CPD policy.
  Training priorities should reflect CPD’s commitment to transforming the department by
  incorporating problem-solving, community-focused and trauma-informed goals that are represented
  in all policing strategy.

FIELD TRAINING OFFICER PROGRAM
CPD relies on FTOs to train probationary officers after they leave the Academy. The FTO program has
great potential, but it has long needed improvement. When the Commission on Police Integrity reviewed
the FTO program in 1997, it found the program “understaffed” and recommended that the number of
FTOs should be increased from the then-current level of 67 officers “to at least 200 officers.”414 The
Commission also recommended that the salaries for FTOs should be raised to attract more officers.415

Unfortunately, not much has changed over the past 18 years. There are currently 88 FTOs, and, at times,
there are four probationary officers for every FTO. Ideally, the ratio would be closer to 1:1. Otherwise,
probationary officers have less time to interact with and learn from their FTOs and must spend significant
time without FTO supervision.

Moreover, there still does not appear to be sufficient incentive for experienced officers to become
FTOs. Although there is a pay increase (about $3,000) and opportunity for overtime, the extra pay is not
substantial. For a short period, CPD created training districts, which limited FTOs’ options for where
they could work. They are not eligible to work in specialized units due to their assignments with PPOs.
FTOs work without a partner if they are not currently supervising a PPO unless it is third watch. Officers
report that working with a random partner with whom they have not developed rapport or trust is




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troublesome. FTOs have a tremendous amount of responsibility and none of the authority or incentive
to take on the job.

Finally, although there is an initial training program for when an officer first becomes an FTO, the
program lacks ongoing or regular refresher courses for its FTOs.

  Recommendations
  Reinvigorate the Field Training Officer program.

  CPD needs to attract, train and employ more FTOs to provide valuable training and mentoring to
  probationary police officers. Current staffing levels of FTOs are not sufficient. CPD should analyze the
  current impediments to attracting FTOs and develop additional incentives for officers to become
  FTOs. For example, CPD could consider giving officers some form of credit for serving as FTOs during
  the Sergeant promotion process.

  Implementation of Policy Changes

  Changes in policy directives are reflected in general and special orders, and they are made accessible
  online and available 24 hours a day. However, there is no documentation of or any record that
  officers read and understood the orders. Officers may be reminded of an order during roll call to
  reflect a current instance, but this occurs infrequently. In general, officers are not held accountable
  for keeping up to date with orders.

  The International Association of Chiefs of Police (“IACP”) has recommended disseminating
  information in multiple ways, including (1) roll calls, (2) training bulletins, (3) email messages, and (4)
  a three-ring binder in squad cars.416 The orders could also include checklists of the required
  procedures that the officers have to submit along with their incident reports. However, the IACP
  recommendations, published in 2004, likely need to be updated based on advances in technology
  and the availability of additional tools for ensuring that officers are knowledgeable about current
  policies.

  There does not appear to be much data available on the practices of other jurisdictions regarding
  ensuring that all officers are regularly updated on new policy changes. Washington, D.C.’s
  Metropolitan Police Department, however, has issued a special order mandating that all sworn and
  civilian members must sign for the receipt of the General Orders, Special Orders, Standard Operating
  Procedures, and General Order Changes.417 At a minimum, there must be (1) a signature roster that
  each member will sign and date upon receipt of newly published directives and (2) a signature roster
  file that contains copies of all signature rosters that have been completed and submitted.

  Recommendations
  Implement procedures to ensure that sworn personnel remain informed on all directives and
  policies.

  Within 30 days of the release of new directives and policies, all sworn officers should be provided
  copies and be required to sign a statement acknowledging that they received and reviewed the
  directive or policy and had an opportunity to ask questions. CPD could also use brief online quizzes
  to ensure officers understand new directives and policies.



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  Officers should also be held accountable for knowing how and where to access CPD guides and
  manuals and for knowing the contents. Officers should be required to sign a receipt acknowledging
  this responsibility and that they have received instructions on how and where to access the guides
  and manuals. Officers should also have adequate resources, such as working computers in their
  squad cars and at the stations, so they can review general orders as needed. CPD should also
  consider investing in technology, such as a Smartphone app, to provide easy access to general
  orders and other important communications.


Are there enough Sergeants to effectively supervise the large number
of patrol officers?
Sergeants are the linchpin to ensuring that patrol officers are accountable to the communities in which
they serve. Sergeants work directly with their officers on a regular basis and are in the best position to
notice, document and address officer behavior. But, due to budget constraints, the number of available
Sergeants per shift does not always provide appropriate coverage to ensure all patrol officers are
adequately supervised.

Currently, CPD’s average “span of control” is a ratio of 1 Sergeant to every 11 officers. But, when other
elements are factored in, such as vacations, sick leave and other events that disrupt officer and Sergeant
availability, the ratio is often closer to 1:20. “Span of control” is defined as the number of individuals or
resources that one supervisor can manage effectively during emergency response incidents or special
events.418 One commentator has defined “span of control” as simply representing the number of people a
manager has responsibility for communicating with.419 High spans of control mean that there is not
enough time for a supervisor to evenly disperse his or her time among subordinates.

How did this state of affairs come to pass at CPD? The problem starts with structural issues. Years of
budget cuts and the flattening of supervisory ranks have caused a staffing shortage in supervisory
personnel. The career ladder within CPD is broken, and surveys show that 98% of officers believe that
promotions are due to connections, not merit.420 This sentiment is compounded by the fact that almost
10 years passed between the two most recent Sergeant promotion exams, which left many out of the
promotion process for years.421

There are additional, on-the-ground issues that further strain supervisors’ ability to do their job. First, as a
result of the CBA’s bidding process, junior officers, who need the most support, are placed in the most
difficult neighborhoods at the most difficult times. Second, personnel information does not follow officers
around as they move between assignments and supervisors. Thus, Sergeants are not provided
documentation about their officers’ prior behavior or disciplinary history, which hampers their ability to
monitor the officers’ actions in the field. Third, officers often work with several different Sergeants over
the course of a week-long shift in order to maximize coverage. Fourth, due to the limited number of Field
Training Officers, Sergeants often take time away from supervising their patrol officers to check on
officers who are still on their probationary periods. Finally, Sergeants must respond to calls due to a lack
of available officers, which additionally reduces their ability to supervise.




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  Recommendations:
  CPD should increase the number of Sergeants on patrol.

  CPD should implement monthly meetings of all Sergeants in a district to ensure the sharing of
  officer performance, to provide mentoring opportunities to newer Sergeants, and to provide a
  forum for best practice sharing to prevent officer misconduct.


Why aren’t all CPD officers already wearing body cameras?
Body cameras are a promising technological tool to protect both the public from police misconduct and
police officers from false allegations of misconduct. They promote accountability and transparency. The
presence of body cameras can also de-escalate encounters, resulting in improved behavior among both
police officers and the public. The commander in charge of CPD’s body camera pilot program, Marc
Buslik, recently explained this phenomenon: “When they know they are being recorded, both sides,
everything becomes less intense”; “[t]he camera brings everything down on both sides. Officers noticed
right away.”422

CPD is already embracing the use of body cameras. In January 2015, CPD initiated a body camera pilot
program.423 The program initially involved 30 body cameras on officers working the 2:00 p.m. to midnight
shift in the Shakespeare District (14th). Though the sample size is small, initial results were promising.
Since the program was launched, complaints filed against officers for that district/watch fell by 26%, and
excessive force complaints fell to zero in 2015 compared with seven in 2014.424 In 2016, CPD is expanding
the pilot program to all three watches in six additional police districts—Wentworth (2nd), South Chicago
(4th), Gresham (6th), Deering (9th), Ogden (10th), and Austin (15th).425

Police departments nationwide are increasingly using body cameras. As of early 2015, about 25% of the
nation’s 17,000 police agencies were using them in whole or in part, with 80% evaluating the
technology.426 In Los Angeles, the LAPD is outfitting every officer with body cameras.427 While empirical
data is still trickling in, several studies have documented substantial decreases in citizen complaints, use
of force, and assaults on officers after body cameras were distributed.428 There is some debate about
whether these declines are attributable to improved officer behavior, improved citizen behavior, or
citizens being less likely to file frivolous complaints (or some mix). Regardless, these are all positive
developments.

  Recommendations
  CPD should continue rolling out and evaluating body cameras with the ultimate goal of providing
  body cameras to every police officer who regularly comes into contact with civilians.

  Body cameras show significant promise. Only a small percentage of the many thousands of
  complaints filed against CPD officers result in sustained findings, often because there is insufficient
  evidence of what happened aside from a “he said, she said.” Body cameras can provide objective
  evidence to support meritorious complaints, while also discouraging and reducing the filing of
  unfounded complaints. In either case, the use of body cameras would greatly improve the
  functioning of Chicago’s police oversight system. To the extent body cameras improve officer




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      behavior, they also could help pay for themselves by reducing the more than $600 million the City
      has paid to resolve police misconduct cases since 2004.

      CPD should continue its roll-out and evaluation of body cameras with the ultimate goal of providing
      body cameras to every police officer who regularly comes into contact with civilians. The City should
      also continue to evaluate policies governing the use of body cameras, which raise a variety of issues
      (e.g., what to record, how to record and store recordings, and how to ensure that officers comply
      with the policy and properly use the cameras). Some of these questions are already addressed in a
      new state law that went into effect on January 1, 2016, the Law Enforcement Officer-Worn Body
      Camera Act.429 The Act creates “standardized protocols and procedures” on such issues as when
      cameras must be turned on, how citizens are notified, access, retention, and discipline.430



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Disclaimer
This report is the product of the Police Accountability Task Force and its affiliated Working Groups, with
participants of diverse expertise and affiliations addressing many complex and contentious topics. It is
inevitable that arriving at a consensus document in these circumstances entailed some compromise.
Accordingly, it should not be assumed that every Task Force (or Working Group) member embraces in
totality every formulation in this report or even that all participants would agree with any given
recommendation if it were taken in isolation. Rather, the Task Force reached consensus on these
recommendations as a package.

Moreover, while the Task Force formed Working Groups to address five general subject areas, there was
inevitably overlap between the Working Groups and subject areas. The discussion of a particular issue in
this report under a particular Working Group should not be construed to mean that only that Working
Group contributed to the Task Force’s findings and recommendations. In the end, the findings and
recommendations in this report represent the work of the entire Task Force.




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Appendix 1
Police Accountability Task Force Members
Lori E. Lightfoot, Chair, is President of the Chicago Police Board, a partner at Mayer Brown LLP, and a
former federal prosecutor. She served as Chief Administrator for the Office of Professional Standards of
the Chicago Police Department, where she managed a 100-person office of civilian investigators charged
with investigating police-involved shootings, allegations of excessive force and other misconduct alleged
against Chicago police officers.

Deval Patrick, Senior Advisor, was formerly Governor of Massachusetts and is a native of Chicago.
Governor Patrick served under President Bill Clinton as the U.S. Assistant Attorney General for the Civil
Rights Division of the Justice Department, where he worked on issues including racial profiling and police
misconduct.

Joe Ferguson, Technical Advisor, is Inspector General of the City of Chicago and a former federal
prosecutor with experience representing the United States in cases involving employment discrimination,
civil rights, environmental law and government program fraud.

Randolph Stone is a clinical professor at the University of Chicago Law School, director of the Criminal and
Juvenile Justice Project Clinic, and a former Cook County Public Defender. He serves on the boards of the Youth
Advocate Programs, Inc., the Federal Defender Program, and the Illinois Department of Juvenile Justice, and
writes and teaches on criminal law, juvenile justice, indigent defense, and race and criminal justice.

Sergio Acosta is a partner at Hinshaw & Culbertson LLP and is an experienced criminal litigator,
investigator, former federal prosecutor, and member of the National Hispanic Prosecutors Association
and the Hispanic National Bar Association.

Victor B. Dickson is the President/CEO of Safer Foundation, which is a national leader in the fields of
community corrections, prisoner re-entry, and workforce development. He worked for more than 20
years in the corporate sector with AT&T and Sprint and in 2014 was appointed to the Illinois Human
Services Commission. He also serves on the Illinois Commission to Eliminate Poverty and the Illinois
Workforce Investment Board.

Maurice Classen is a Program Officer with the MacArthur Foundation, where he focuses his work on public
safety, justice, police reform, municipal and neighborhood growth, and policy issues. Prior to joining the
MacArthur Foundation, he was a Senior Deputy Prosecuting Attorney in King County (Seattle), Washington.

Alexa James is the Executive Director of NAMI Chicago, which is the largest mental health advocacy agency
in Chicago and supports those impacted by mental illness. Prior to joining NAMI Chicago, she worked with
children and adults living with mental illness, as well as those impacted by poverty and trauma.

Sybil Madison-Boyd is the Director of the Learning Pathways Program at Digital Youth Network in DePaul
University’s College of Computing and Digital Media. Her work addresses barriers to equitable
educational outcomes for urban youth through systems change and innovative reform and, for the past
20 years, in partnership with Chicago Public School leaders, teachers, social workers, and students.



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Appendix 2
Police Accountability Task Force Working Group Members
COMMUNITY-POLICE RELATIONS
Leader: Victor Dickson, Safer Foundation; President and CEO

Leader: Sybil Madison-Boyd, DePaul University; Learning Pathways Director, Digital Youth Network

Leader: Randolph Stone, University of Chicago Law School; Clinical Professor of Law



Keith Ahmad, Law Office of the Public Defender – Cook County; First Assistant Public Defender

Karina Ayala-Bermejo, Legal Aid Society of Metropolitan Family Services; Executive Vice President of
Human Resources & General Counsel

Todd Belcore, Social Change (Chicago International Social Change Film Festival); Executive Director

Amy Campanelli, Law Office of the Public Defender – Cook County; Public Defender

Herschella Conyers, University of Chicago Law School; Clinical Professor of Law

Sol Flores, La Casa Norte; Founding Executive Director

Craig Futterman, University of Chicago Law School; Clinical Professor of Law

Steve Gates, Youth Advocate Programs; Director

Benny Lee, National Alliance for the Empowerment of the Formerly Incarcerated (NAEFI); CEO

Xavier McElrath-Bey, Campaign for the Fair Sentencing of Youth; Youth Justice Advocate/ICAN;
Co-Founder & Coordinator

Jonathan Peck, Alternatives Inc.; Restorative Justice Coordinator

Howard Saffold, Positive Anticrime Thrust; CEO

Rabbi Michael Siegel, Anshe Emet Synagogue; Senior Rabbi

Wesley Skogan, Northwestern University; Professor

Eliza Solowiej, First Defense Legal Aid; Executive Director

Debra Wesley, Sinai Community Institute; Founder and President

Richard Wooten, Gathering Point Community Council; President and CEO
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POLICE OVERSIGHT
Leader: Maurice Classen, MacArthur Foundation; Program Officer

Advisor: Joe Ferguson, City of Chicago Office of the Inspector General; Inspector General



Anthony Beale, 9th Ward, City of Chicago; Alderman

Sheila Bedi, MacArthur Justice Center; Attorney

Locke Bowman, MacArthur Justice Center; Executive Director

Mark Flessner, Holland and Knight LLP; Partner

Adam Gross, Business and Professional People for the Public Interest Chicago; Director of Justice Reform
Program

Janine Hoft, The People’s Law Office; Attorney

Kwame Raoul, 13th District, State of Illinois; State Senator

Freya Rigterink, City of Chicago Office of the Inspector General; Assistant Inspector General

Ronald Safer, Riley, Safer, Holmes and Cancila LLP; Partner

Gretchen Slusser, Thred Partners; President



EARLY INTERVENTION & PERSONNEL CONCERNS
Leader: Lori Lightfoot, Mayer Brown LLP; Partner



Anthony Berglund, University of Chicago Crime Lab; Research Manager

Craig Chico, Back of the Yards Neighborhood Council; Executive Director

Monica Haslip, Little Black Pearl; Founder and Executive Director

Daniel O’Neil, Smart Chicago Collaborative; Executive Director

Julia Quinn, University of Chicago Crime Lab; Research Manager

Dave Williams, Youth Advocate Programs; Regional Director



DE-ESCALATION
Leader: Alexa James, National Alliance on Mental Illness Chicago; Executive Director



Fred Coffey, Chicago Police Department; Former Deputy

John O’Malley, United States Marshal Service; Retired Chief Deputy




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Harold Pollack, University of Chicago School of Social Services Administration; Helen Ross Professor

Carolyn Vessel, I AM ABLE Center for Family Development; President and CEO

Amy Watson, University of Illinois at Chicago; Associate Professor

Ronnie Watson, Chicago State University; Retired Chief of Police



VIDEO RELEASE
Leader: Sergio Acosta, Hinshaw & Culbertson; Partner



Joel Bertocchi, Hinshaw & Culbertson LLP; Partner

Lori Lightfoot, Mayer Brown LLP; Partner

Barry Miller, Illinois Torture Inquiry and Relief Commission; Former Executive Director

Lisa Plaza, Hinshaw & Culbertson LLP; Paralegal

Randy Samborn, Levick; Senior Vice President (Former PIO for the US Attorney)

Jeff Urdangen, Northwestern University Pritzker School of Law; Clinical Associate Professor of Law

Adam Vaught, Hinshaw & Culbertson LLP; Associate




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Appendix 3
Police Accountability Task Force Interviews
Below is a list of the subject matter experts and community members consulted as part of our fact
finding. In the course of our work, Task Force and Working Group members consulted with numerous
subject matter expects at various points in the process. While we have tried to capture them all here, we
have inevitably missed some, and we acknowledge everyone’s contributions and apologize for any
omissions.



INDIVIDUALS:
Keith Ahmad, Law Office of the Cook County Public Defender; First Deputy Public Defender

Arif Alikhan, Los Angeles Police Department; Director, Office of Constitutional Policing and Policy

Roseanna Ander, University of Chicago Crime Lab; Executive Director

Scott Ando, Independent Police Review Authority; Former Chief Administrator

Dean Angelo, Fraternal Order of Police, Chicago Lodge 7; President

Greg Bella, Fraternal Order of Police, Chicago Lodge 7; Recording Secretary

Lucius Black, Community Renewal Society, Police Issue Team

Rebecca Boatright, Seattle Police Department; Senior Legal Counsel

Merrick Bobb, Federal Court-Appointed Monitor Overseeing Seattle Police Department and Police
Assessment Resource Center; Executive Director

Brian Buchner, National Association for Civilian Oversight of Law Enforcement; President

Alexander Bustamante, Los Angeles Police Department; Inspector General

Max Caproni, Chicago Police Board; Executive Director

Keith Calloway, Chicago Police Department; Deputy Chief and Director of Education and Training Division

Amy Campanelli, Law Office of the Cook County Public Defender; Public Defender

Jadine Chou, Chicago Public Schools; Chief Safety and Security Officer

Sarah Creighton, San Diego Police Department; Assistant Chief of Police

Joseph De Angelis, University of Idaho; Assistant Professor of Criminology and Sociology

Kathe Dellacecca, Sinai Health System; System Vice President for Behavioral Health

Richard Emery, New York City Civilian Complaint Review Board; Chair

Jason Ervin, City of Chicago – 28th Ward; Alderman

John Escalante, Chicago Police Department; Interim Superintendent



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Philip K. Eure, Office of the Inspector General for the NYPD, NYC Department of Investigation; Inspector
General

Sharon Fairley, Independent Police Review Authority; Chief Administrator

Joe Ferguson, City of Chicago Office of Inspector General; Inspector General

Pastor Cy Fields, Community Renewal Society | New Landmark Missionary Baptist Church, Senior Pastor

Peggy Flaherty, Thresholds; Senior Vice President, Clinical Operations

Lorie Fridell, Police Executive Research Forum; Former Director of Research

Craig Futterman, University of Chicago Law School; Clinical Professor of Law

Mike Gennaco, OIR Group; Principal

Mike Golden, Office of the State’s Attorney, Cook County; Assistant State’s Attorney

Maggie Goodrich, Los Angeles Police Department; Chief Information Officer

Cheryl Graves, Community Justice for Youth Institute; Executive Director

Rev. Christopher Griffin, Community Renewal Society | First Baptist Congregational Church

Norris Henderson, Voice of the Ex-Offender (VOTE); Founder and Executive Director

Susan Hutson, New Orleans Office of the Independent Police Monitor; Independent Police Monitor

Mark Ishaug, Thresholds; Chief Executive Officer

Beth Johnson, Cabrini Green Legal Aid; Director, Legal Programs

David Johnson, Franczek Radelet; Partner

Jeff Jordon, San Diego Police Department

Jamie Kalven, Invisible Institute; Executive Director

Walter Katz, Office of the Independent Police Auditor; Independent Police Auditor for the City of San Jose

Annette Kelly, FOUS Youth Development Services; President

David Kennedy, National Network for Safe Communities; Director

Dan Kirk, Office of the State’s Attorney, Cook County; First Assistant State’s Attorney

Robert Klimas, Chicago Police Department, Bureau of Internal Affairs; Commander

Armand Lemoyne, Los Angeles Police Department; Sergeant

Anne Levinson, Seattle Police Department; Civilian Auditor for the Office of Professional Accountability

David LeValley, Detroit Police Department; Deputy Chief

Lori Lightfoot, Chicago Police Board; Chair

Marc Loveless, Coalition for Justice and Respect; Founding Director

Jon Lucas, Seattle Police Department; Sergeant



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Mina Malik, New York City Civilian Complaint Review Board; Executive Director

Garry McCarthy, Chicago Police Department; Former Superintendent of Police

Todd Miller, Rave Mobile Safety; Vice President of Public Safety

Nicholas Mitchell, Denver Police and Sheriff Departments; Independent Monitor

Dr. Julie Morita, Chicago Department of Public Health; Commissioner

Kim Neal, Cincinnati Citizen Complaint Authority; Director

Roger Nunez, Los Angeles Police Department; Sergeant

Donald O’Neill, Chicago Police Department; Director of Human Resources

Emily Owens, University of Pennsylvania; Associate Professor of Criminology, Business Economics,
and Public Policy

Stephen R. Patton, City of Chicago; Corporation Counsel

Ursula Price, New Orleans Office of the Independent Police Monitor; Executive Director for
Community Relations

Sheri Richardt, Advocate Illinois Masonic Medical Center; Management Team, Behavioral Health
Services Department

Dennis Rosenbaum, University of Illinois at Chicago; Professor, Department of Criminology,
Law and Justice

Ilana Rosenzweig, Independent Police Review Authority; Former Chief Administrator

Ralph Russo, New Orleans Police Department; Insight Project Director

Dr. Rashad Saafir, Bobby E. Wright Comprehensive Behavioral Health Center; Psychiatrist/President
and CEO

Ron Reid

Seretha Reid

Ron Safer, Riley Safer Holmes & Cancila LLP; Partner

Bob Scales, Sanford, Olson & Scales; Partner

Ora Schub, Community Justice for Youth Institute

Michael Schlosser, University of Illinois at Urbana-Champaign Police Training Institute; Associate Director

Karen Sheley, ACLU of Illinois; Director, Police Practices Project

Andre Simenauer, Motorola Solutions; Senior Public Safety Solutions Consultant

Tracy Sitka, Chicago Justice Project; Executive Director

Wes Skogan, Northwestern University; Professor, Department of Political Science, Legal Studies and the
Institute for Policy Research




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Brandon Smith, Journalist

Sandra Sosa, Alternatives, Inc.; Restorative Justice Manager

Dr. Carrie Steiner, First Responders Wellness Center; Clinical Psychologist

Flint Taylor, People’s Law Group; Partner

Michael Tobin, Office of Police Complaints, Washington D.C.; Executive Director

Matthew Topic, Loevy & Loevy; Attorney

John Vassal, Office of the State’s Attorney, Cook County

Ciera Walker, Community Renewal Society, Congregational Organizer

Samuel Walker, University of Nebraska – Omaha, School of Criminology and Criminal Justice;
Professor Emeritus

Eric Washington, Chicago Police Department; Deputy Chief of Community Policing

Ronnie Watson, Chicago Police Department; Deputy Chief - Retired

Vanessa Wesley, Chicago Police Department; Officer and Coordinator - Bridging the Divide

Chuck Wexler, Police Executive Research Forum; Executive Director

James White, Detroit Police Department; Assistant Chief of Police

Alex Wiesendanger, Community Renewal Society; Director of Organizing

Camille Williamson, Adler University; Director of Community Engagement

Linda Zerwin, Emergency Telephone System Board of DuPage County; Executive Director

THE TASK FORCE CONVENED AND MET MULTIPLE REPRESENTATIVES FROM THE
FOLLOWING ORGANIZATIONS:
Chicago Coalition for Police Accountability

Chicago Survivors/Chicago Citizens for Change

Civil Rights and Criminal Defense Attorneys

Fraternal Order of Police Chicago Lodge 7

THE TASK FORCE MET WITH YOUTH FROM THE FOLLOWING ORGANIZATIONS:
Mikva Challenge – Emilo Araujo, Shacretta Bernard, Kristine Hernandez, Dwayne Lewis, Daniel Mercado,
Amber Snelling

Precious Blood Ministry of Reconciliation

Sullivan High School




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THE TASK FORCE MET WITH SENIOR STAFF FROM THE FOLLOWING
AGENCIES/DEPARTMENTS:
Chicago Police Department – Commanders, Current and Retired Officers, District Advisory Council
Volunteers

Chicago Police Department Taser Training Team

City of Chicago Law Department

City of Chicago Office of Emergency Management and Communications

Cook County Public Defender

Cook County State's Attorney

Independent Police Review Authority

Seattle Police Department




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Appendix 4
Community Relations Working Group Checklist
• The City should engage the National Initiative for Building Community Trust and Justice to implement a
  “Reconciliation Process” in Chicago. Critical elements of the process involve the Superintendent
  publicly acknowledging CPD’s history of racial disparity and discrimination in police practices and
  making a public commitment to cultural change required to eliminate racial bias and disparity.
• The Mayor and the President of the Cook County Board should work together to co-sponsor quarterly
  summits of key stakeholders and community leaders to develop and implement comprehensive
  criminal justice reform.
• The Mayor and the President of the Cook County Board should work together to develop and
  implement programs that address socioeconomic justice and equality, housing segregation, systemic
  racism, poverty, education, health and safety.
• CPD should clarify in its general order prohibiting racial profiling and other biased-based policing
  whether race may be used to any degree in developing grounds for a stop, other than where race is
  part of a specific suspect description.
• Through its Data Portal, CPD should regularly release incident-level information on arrests, traffic
  stop reports, investigatory stop reports and predecessor contact cards and officer weapon use
  (firearm and nonlethal). To facilitate trend analysis, the incident-level data should reach back at least
  to January 1, 2010.
• CPD should resume publishing annual reports.
• After the ACLU agreement terminates, CPD should continue supervisory review and audits of
  investigatory stop and pat-down practices, with oversight by the new Community Safety Oversight
  Board and Inspector General for the Public Safety.
• CPD should develop and use recruitment, selection and promotion strategies that increase diversity
  and the likelihood that officers will be culturally competent, fair and impartial, especially when policing
  communities of color.
• CPD should hire a Deputy Chief of Diversity and Inclusion.
• CPD should adopt and promote a clear, progressive policing philosophy grounded in core values such
  as respect, protecting the sanctity of all life and protecting civil and human rights.
• CPD should bring in experts and credible trainers to deliver comprehensive training on cultural
  competence and implicit bias for all recruits, officers and supervisors.
• CPD should involve the community in officer training that includes being trained by and partnering with
  community leaders, organizations and youth.
• CPD, including the Deputy Chief of Diversity and Inclusion, should analyze deployment strategies to
  ensure officers are culturally competent and have a proper understanding of the neighborhoods where
  they are assigned.




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• Where possible, CPD should assign more experienced officers to high-crime districts, beats and shifts.
  If new officers are given these difficult assignments, they should be partnered with experienced officers
  with exemplary disciplinary histories and the proven ability to work with diverse populations.
• CPD should adopt community policing as a core philosophy.
• CPD should replace CAPS with localized Community Empowerment and Engagement Districts (CEED)
  and support them accordingly.
• CPD should expand the methods it uses to communicate and work with neighborhood residents.
• CPD should reinvest in civilian organizing staff.
• CPD should renew its commitment to beat-based policing and work to expand community patrols.
• CPD should include information about how the public is being involved and how effectively
  neighborhood concerns are being addressed in CompStat.
• CPD should evaluate and improve the training officers receive with respect to youths to ensure that all
  officers are prepared to engage with youth in ways that are age-appropriate, trauma-informed and
  based in a restorative justice model.
• CPD and CPS should ensure that officers who are assigned to schools have clear job descriptions and
  expectations that are shared by CPS and CPD, receive extensive and ongoing training on how to engage
  with youth and crisis intervention and are swiftly reassigned if they fail to meet expectations.
• Train the community in Know Your Rights and Responsibilities, including by:
• Creating a CPS policy and City Ordinance requiring that students receive instruction on how to exercise
  4th, 5th and 6th Amendment rights; and
• Create a technology platform to assist with a public service announcement campaign and
  informational videos in police stations.
• The City should enact an ordinance, and CPD should promulgate general orders:
• Mandating that arrestees be allowed to make phone calls to an attorney and/or family member(s)
  within one hour after arrest, allowing only for limited exceptions in exigent circumstances;
• Mandating that a legal aid or other provider be contacted within 30 minutes of the arrest of any
  juvenile, and that CPD wait for legal representation to arrive before any questioning of a juvenile
  occurs; and
• Confirming that CPD will prominently post information concerning rights to counsel, as already
  required under state law, and include any willing legal aid provider’s name and 24-hour contact
  information.




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Appendix 5
Oversight Working Group Flowchart




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Appendix 6
Oversight Working Group Checklists
OVERSIGHT TOP LINE RECOMMENDATIONS
1.   The creation of a new Inspector General for Public Safety, which would audit and monitor CPD and
     the entire police oversight system.
2.   The creation of a new Community Safety Oversight Board, which would allow the community to have
     a powerful platform and role in the police oversight process.
3.   The creation of a new Civilian Police Investigative Agency, which would replace the Independent
     Police Review Authority in investigating serious cases of police misconduct.
4.   The implementation of reforms to other components of the police oversight system, including BIA
     and the Chicago Police Board, to improve investigations and transparency within the system.
5.   The implementation of additional reforms to remove roadblocks to accountability, including reforms
     to improve the mediation program across the oversight entities and elimination of command channel
     review.
6.   Overhaul to the City’s collective bargaining agreements with policing employee entities.




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Collective Bargaining Agreement Checklist
The contracts for Sergeants, Lieutenants and Captains expire on June 30, 2016. The FOP contract expires
a year later, on June 30, 2017. Preparation for the negotiation of all four contracts is currently under way.

The following CBA provisions should be removed or revised:

• The affidavit requirement should be removed so that investigators can identify additional cases of
  police misconduct.
• Anonymous complaints should be allowed to encourage reporting by those who fear retaliation,
  including whistleblowers.
• Officers should not be informed of the complainant’s name prior to interrogation. There is little need
  for the officer to know the name of a complainant prior to interrogation if it is later disclosed during the
  resolution of the case.
• The provisions delaying interviews in shooting cases for at least 24 hours should be revised to ensure
  that officers are separated and remain separated from other officers until all officers have given
  statements. The Department of Justice’s Consent Decree with the Los Angeles Police Department
  contains such a requirement. When formal questioning begins, the inquiry will start with a recitation of
  any and all conversations that the officer has had with law enforcement between the shooting and the
  commencement of the interview.
• Officers should no longer have a right to amend statements if they have not been provided with the
  audio or video evidence, and reviews of the footage should not be pre-conditions to charging a Rule 14
  violation.
• Investigations of complaints known to CPD for five years or more should not require Superintendent
  permission. This is an unnecessary rule, as the statute of limitation will apply for criminal matters, and,
  for administrative matters, the nature and severity of the conduct should determine whether the
  complaint should be investigated. Should an individual continue to make such decisions, the authority
  should be vested in someone outside of CPD, such as the Chief Administrator of IPRA (or its successor,
  CPIA).
• The provision requiring destruction of records should be eliminated. The rule is in tension, if not
  outright conflict, with general principles of public record-keeping, deprives the public of important
  information that is rightfully theirs, and may include the destruction of information that serves
  numerous operational and public policy objectives.
• The provision that forbids CPD from rewarding officers who act as whistleblowers should be removed.
• The CBAs should be amended to require police officers to disclose secondary employment, as other
  City workers are required to do.
• The CBA dictates the manner in which interrogators can ask questions, which presents an unnecessary
  burden on interrogators and potentially sets them up to violate the CBA for a technicality. The policy
  does not appear to comport with any best practices and should be eliminated.




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• The CBA requires that officers must be informed of the nature of the allegation prior to interrogation.
  This provision is presently interpreted very specifically to mean a detailed recitation of the facts that
  support all possible charges. Moreover, if the officer lies to investigators during the investigation, new
  allegations must be presented to the officer. This provision should be amended to allow for more
  general recitation of allegations.




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Civilian Police Investigative Agency Checklist
IPRA should be replaced with a new Civilian Police Investigative Agency (CPIA). The City Council should
enact legislation that ensures the new civilian oversight entity is established in accordance with the
principles described below.

• Design an open and public selection process for a Chief Administrator.
  The new Community Safety Oversight Board should select the Chief Administrator. It is important that
  CPIA be perceived as legitimate; the selection of this position should be insulated from politics,
  transparent and widely inclusive. The selection process should also include multiple opportunities for
  significant community input that will be seriously considered by the selection committee.
• Establish selection requirements for the Chief Administrator and investigators to avoid bias.
  In order to prevent bias (and the perception of bias), previously sworn employees of CPD (and non-
  sworn employees who have worked for CPD within the past five years) and the Cook County State’s
  Attorney Office should be prohibited from serving as investigators and/or the Chief Administrator.
  Individuals who hold these positions must reflect the City’s diversity.
• Provide a grant of jurisdiction that ensures that CPIA is informed by community complaints.
  CPIA must be empowered to investigate the issues that are of most pressing concern to the
  community. CPIA’s jurisdiction should be expanded beyond IPRA’s current jurisdiction to include
  unlawful search and seizures and denial of access to counsel. At the end of CPIA’s first year of
  operation, an outside, independent entity should evaluate whether the expanded jurisdiction of CPIA is
  appropriate and achievable.
• Establish a clear, easy-to-understand mission statement.
  This is essential to provide civilians and officers with a fair and impartial complaint system and to
  employ the preponderance of the evidence standard when deliberating on complaints.
• Remove barriers to accountability.
  No credible allegation should be ignored because of technical complaint submission requirements (like
  an affidavit requirement) or because the civilian involved is hesitant or unable to provide a complaint
  form. The Chief Administrator should be empowered to investigate any incidents that fall under her
  jurisdiction, even in the absence of sworn complaints. Complaints must be accepted from anyone with
  personal knowledge of the incident. The Chief Administrator may launch investigations based on any
  credible source, including media accounts, a review of use of force reports or referrals from other
  oversight entities.
• Gather and leverage data generated by civil litigation and criminal motions to suppress to
  learn more about trends in citizen complaints.
  The civil rights and criminal defense bars in Chicago have, through decades of litigation, developed rich
  data regarding CPD policy and practice. This information has largely been untouched by the various
  oversight entities. This represents a significant missed opportunity to ensure accountability. CPIA
  should be charged with investigating the facts of all civil lawsuits, which, if submitted as a complaint,
  would fall under its jurisdiction. Further, CPIA should develop a process to gather the facts contained in
  all criminal motions to suppress that allege facts, which if submitted as a complaint, would fall under its
  jurisdiction to determine if a full investigation is warranted.



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• Establish clear lines of jurisdiction.
  Misconduct investigations often reveal multiple layers of wrongdoing. For example, in a use of force
  investigation, it may become clear that an officer filed a false police report. CPIA does not have original
  jurisdiction to investigate false reporting, but, if the false reporting is related to a force investigation,
  the monitor should be empowered to investigate it and issue appropriate findings.
• Empower CPIA with the authority needed to investigate.
  CPIA must have the ability to collect evidence, conduct prompt interviews, subpoena witnesses and
  enforce its subpoena power by retaining outside, independent counsel. This is an existing power within
  IPRA and should be continued in a new body unabated.
• Civilian oversight should run currently with criminal investigations.
  In the past, IPRA investigations have consistently stalled while the Cook County State’s Attorney
  determined whether or not it would move forward with criminal charges under the same set of facts as
  IPRA was investigating. The practice led to long delays in investigating and resolving IPRA’s cases after
  the State’s Attorney’s Office closed its investigation. This need not be the case. While it may sometimes
  make sense for an IPRA investigator to pause her or his investigation to preserve the integrity of the
  criminal matter, this rule is not universal. Rather, it is better practice to presume that the matters
  should be run concurrently, and both entities should meet regularly to determine if one or the other
  investigation should be paused during the process or, in the ideal, if both cases can be investigated at
  the same time.
• Ensure an accessible, safe and comfortable complaint process.
  Civilians must be able to file complaints via the internet, over the phone and in their communities. The
  new body should use national models, such as New York City’s Civilian Complaint Review Board, which
  has developed a model of hosting meetings within city neighborhoods on a posted rotating basis to
  take and verify complaints.
• Conduct community education regarding rights and the oversight process.
  CPIA must be responsible for launching a public education/community engagement campaign that
  educates the public about their rights and the complaint/investigative process.
• Establish community oversight over CPIA.
  CPIA must be legitimately accountable to members of the community. The community must have the
  power to require that CPIA hold public hearings through the new Community Safety Oversight Board,
  CPIA must develop (and be responsive to) a civilian feedback process, and CPIA must be audited by an
  independent third-party entity selected by those on the selection committee if an auditing function is
  not otherwise available in the City. Additionally, CPIA must hold regular community meetings to inform
  the public of its actions.
• Proactively prevent abuse and misconduct through policy and practice recommendations
  and use-of-force analyses.
  CPIA must conduct pattern and practice analyses both proactively and reactively where it has subject
  matter jurisdiction. This should include proactive analyses of potential patterns of police misconduct
  that are within its subject matter jurisdiction, including information found in court filings, judicial
  findings, internal CPD documents and incidents where individuals were charged with offenses
  commonly believed to cover up police misconduct (such as assault on a police officer, disorderly
  conduct, resisting arrest and misconduct investigations), and other potential pattern evidence, and the


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  establishment of a transparent process (that is informed by community concerns) for CPIA to make
  training, policy, and procedure recommendations to CPD. In turn, CPD must publically respond to these
  recommendations.
• Operate with complete transparency.
  CPIA must prioritize keeping the public informed by posting summary reports of each completed
  investigation; publishing comprehensive annual reports on its work; and establishing a transparent
  process to make training, policy and procedure recommendations to CPD and a transparent process to
  make public CPD’s response. CPIA should also promptly respond to all requests from the new
  Community Safety Oversight Board.
• Provide resources to be rigorous and independent.
  In order to provide sufficient oversight and meet the demands of an expanded jurisdiction that
  includes explicit obligations regarding community engagement and policy and practice
  recommendations, CPIA must have sufficient resources, and those resources should, to the extent
  possible, be insulated from the political process. CPIA’s funding should be a percentage of CPD’s
  budget so that the office cannot be defunded. This funding should provide CPIA with sufficient
  resources and powers to conduct prompt, unbiased and independent investigations into police
  misconduct that are of the highest quality. Best practices within the field indicate that the budget
  should be tied to 1% of CPD’s budget and/or a ratio of 1 CPIA investigator for every 250 sworn
  CPD officers.
• Provide complainant support.
  CPIA should provide supportive services to complainants, including regular updates regarding the
  investigation, information about the process and outcomes and referrals to outside service providers
  when needed. All of the investigators who work for CPIA and BIA should be trained to work with victims
  of trauma and taught to conduct victim/trauma-sensitive interviews.
• Develop and adopt standardized penalties.
  As with other oversight entities, CPIA should adopt a discipline matrix, a national best practice that
  determines a fixed set of penalties for behavior and history. A matrix has been used informally at IPRA
  for over a year and should be formally reviewed and adopted.
• Establish penalties for CPD’s failure to cooperate.
  Require CPD to fire officers who lie during misconduct investigations. Require CPD to fire and refer for
  criminal prosecution any officer who retaliates against any person who reports police abuse.
• Ensure the appropriate use of the mediation program.
  CPIA should establish clear and bright line rules regarding the cases and procedures for its mediation
  program. To the extent possible, CPIA should create a program that is in line with national best
  practices for mediation for citizen oversight organizations.
• Address limits imposed by the CBAs.
  Require that the collective bargaining agreements conform with rigorous, transparent and accountable
  civilian oversight.




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IRPA Recommendation Checklist
We recommend that IPRA should continue to conduct police misconduct investigations until CPIA is able
to assume responsibility for those investigations. During this interim period, the following actions should
be taken:

• IPRA should contract with an independent, third-party entity, such as the Police Assessment
  Resource Center (PARC) or the National Association for Civilian Oversight of Law Enforcement
  (NACOLE), to conduct an ongoing audit of IPRA’s operations and to audit each completed investigation
  prior to finalization. IPRA staff should defer to the outside entity’s findings regarding deficiencies in
  investigative practices and findings.
• IPRA should immediately begin implementing, where possible, the transparency requirements
  recommended for CPIA.
• IPRA, with oversight and guidance from the City of Chicago Inspector General and the incoming Chief
  Administrator of CPIA, should begin the process of drafting a series of transition memos that
  will attempt to memorialize institutional knowledge regarding technology infrastructure, complaint
  intake processes, investigative protocols, interactions with the police department, and all other topics
  identified as critical to a successful transition to CPIA.
• IPRA should engage in the community outreach activities described for CPIA.
• IPRA should review and clarify its process and criteria for the affidavit override process and
  keep data related to it. IPRA should also be more proactive in seeking affidavits. Investigators used
  to actively seek out the affidavits, sometimes even knocking on doors. Investigators now play a much
  more passive role and have placed the burden on the complainant.
• IPRA should develop and adopt a clear discipline matrix that provides a range of potential
  penalties for different types of misconduct, along with aggravating and mitigating factors that can be
  considered.




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Independent Inspector General for Public Safety Checklist
Based on our review of the national experience with police oversight generally and police auditing
specifically, we have concluded that Chicago would benefit tremendously from the creation of an
independent monitoring entity. The creation of this position would greatly enhance the transparency,
accountability and quality of the oversight structure. The Task Force recommends that the new entity be
housed within the City of Chicago Office of the Inspector General because it already has relevant
expertise, the general authority to conduct this work and has begun to audit some police department
functions and build up institutional knowledge. We also recommend the following related to the new
Inspector General’s powers and obligations:

• Give the inspector general a broad scope of authority to review and make recommendations.
  Enabling legislation should follow the models set out in Los Angeles, Denver and New York, where the
  inspector general or monitor's powers are defined in broad terms, rather than providing a list of
  narrow functions, which could be interpreted as significantly restricting the auditor's authority. The
  enabling legislation should leave no doubt that the inspector general may perform the functions laid
  out below. While the inspector general would have the power to make findings and issue
  recommendations, the inspector general could not override the decision of another investigative body.
• Auditing/Monitoring/Reviewing individual cases. While CPD and IPRA or its successor have
  primary responsibility for investigating civilian complaints and incidents involving death, serious injury
  or serious use of force, the inspector general would work to ensure the quality and integrity of
  individual investigations.
  − The inspector general should be authorized not just to raise concerns about the quality and integrity
    of an investigation generally, but also about the quality and integrity of specific findings from the
    investigation.
  − The inspector general should be empowered to request that individual investigations be expanded
    or reopened. If CPD or IPRA (or its successor) does not expand or reopen the investigation, or
    complete it to the satisfaction of the inspector general, the inspector general’s office should be
    authorized to conduct additional investigation.
  − When investigations into serious uses of force do not result in sustained findings, the inspector
    general should be required to work with IPRA (or its successor) and CPD to conduct Force Analysis
    Panels to determine if the incident revealed any systemic deficiencies in training, policy, supervision,
    or equipment.
• Auditing and Monitoring patterns of police activity and complaints. When reviewing complaints
  and data about police behavior, the inspector general should be empowered to examine not just
  individual incidents as described above, but also information in the aggregate. The inspector general
  should identify patterns, determine whether the patterns reflect systemic problems, and, if so, make
  recommendations about how to address them.
  − Pattern analysis should include, but not be limited to: officer use of force; police shootings; use of
    Tasers or any weapon used to inflict pain and/or gain compliance; citizen complaint log numbers;
    and potential bias, including, but not limited, to bias in policing related to race, ethnicity, gender,
    sexual orientation, gender identity and geography.
  − Pattern analysis could also include reviewing all sustained findings and discipline recommended by
    IPRA or its successor, the Police Board and BIA in order to assess disciplinary trends, to determine


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    whether discipline is consistently applied and fair, and to determine whether final disciplinary
    decisions are being executed as resolved.
  − Pattern analysis could also include analyses of citizen complaints, use of force, lawsuits, and other
    relevant data to identify individual and groups of officers who may be engaged in a pattern of
    misconduct.
• Auditing operations, policies and procedures. The inspector general should have broad authority
  to review police operations, policies, supervision, training and procedures. The goal is to review and
  analyze all relevant information (including litigation and settlement data) in order to identify systemic
  patterns and problems, including, but not limited to, those that may correlate to race, ethnicity, gender,
  sexual orientation, gender identity and geography, and propose changes in policies and procedures,
  training and supervision.
• Provide broad power to initiate audits. The inspector general should not be required to seek
  approval to conduct any specific audit or investigation. Enabling legislation should incorporate
  language like Los Angeles' "The Inspector General is empowered to initiate and conduct investigations
  of the Department, without limitation as to the type of the activity of the Department, including on-
  going and in-progress matters."
• Oversight authority should not be limited to CPD. The inspector general should be authorized to
  make recommendations for all departments whose work directly affects CPD operations, including, but
  not limited to, IPRA (or its successor), the Police Board, OEMC, the Fire Department and the City's
  Department of Law.
• The inspector general should serve for a fixed term and should only be removed for cause.
  City ordinance should establish a fixed term of office for the inspector general, though, at the
  conclusion of a term, an inspector general could be considered for reappointment. The removal
  process should also require a City Council hearing. These provisions will make it much more difficult to
  remove the inspector general for political reasons and will make it easier to issue critical reports
  without fear of reprisal.
• Job qualifications should be established. There should be clearly articulated educational and
  employment history requirements for leadership positions. Job qualifications could include relevant
  certification. In addition, in order to prevent bias and the perception of bias, former police officers
  should be prohibited from serving as inspectors general.
• There should be public engagement in the selection process. The selection of an inspector
  general must incorporate meaningful community input. The City of Chicago Inspector General should
  have the ultimate authority to hire the Inspector General for Public Safety, but the process should
  include extensive public engagement. At minimum, CPIA should have an opportunity to review
  applications and interview finalists, and finalists should be required to participate in several public
  forums where they would answer questions from the general public. The position should require City
  Council confirmation. It is essential that the selection process be perceived as fair, open and
  uninfluenced by politics, and that it include genuine opportunities for community engagement.
• There should be public engagement with the office of the Inspector General for Public Safety.
  Either the civilian oversight entity should have regular meetings with the Inspector General for Public
  Safety to facilitate communication with the broader community, or a Citizen Advisory Board should be




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  created for the Inspector General for Public safety for this purpose. The civilian oversight entity should
  have the authority to request that the inspector general perform an audit into a particular area. In
  addition, the inspector general should have a community outreach staff and budget. The outreach
  should include public events to solicit feedback and input on the auditing entity and its work and public
  education initiatives to inform the public about the office and the scope of its work. The outreach
  should include both youth and adult populations. Engagement and outreach will help to ensure that
  people have enough information to take full advantage of the office’s skills and capacity, especially in
  communities where trust in CPD is lowest. A civilian oversight entity or Civilian Advisory Board and a
  committed, engaged, sensitive and thoughtful community outreach staff can help to ensure that the
  office reaches its full potential.
• The office of inspector general must be authorized to legally represent itself, including as
  necessary, retaining outside, private legal counsel in any legal matter, enforcement action or
  court proceeding when the inspector general determines that the City of Chicago’s Corporation
  Counsel would have a conflict in representing the interests of the inspector general.
• The inspector general must have sufficient resources to meet the substantial demands of
  the office. Additional research should be conducted to determine an appropriate funding and staffing
  level, but our assessment based on the interviews we have conducted so far suggests that the office
  should maintain a ratio of approximately 1 staff person for every 250 sworn officers, with sufficient
  discretion vested in the Inspector General to determine the appropriate balance of staffing levels and
  qualifications.
• The budget should be insulated from politics. City ordinance should mandate a specific staffing
  ratio and require funding to provide for that staffing level. The ordinance should establish a minimum
  annual budget for the office.
• City ordinance must specify that the inspector general have unfettered access to data from
  CPD, IPRA (or its successor) and other agencies such as the law department, except where
  the law prohibits it, and that access must be clearly spelled out in legislation. Access to data
  must include direct access to CPD databases and, to protect the integrity of investigations, the ability to
  use information from the databases in a way that is invisible to CPD. The access to data must include
  litigation and settlement data, data from body and car cameras and early warning system data. The
  inspector general should have direct access to information wherever possible, and the rest should be
  provided in a timely fashion unless a written explanation is provided. There should be a presumption
  of disclosure. The City should consider including a provision that permits sanctions in the event that
  any entity fails to cooperate in any request for data. The inspector general should be provided
  documents without charge.
• The ordinance should include affirmative obligations for some law enforcement-related
  officials to share specified information with the inspector general. For example, IPRA or its
  successor and BIA should be required to report monthly to the inspector general any problems and
  deficiencies relating to CPD’s operations, policies, programs and practices that would reasonably be
  expected to adversely affect the effectiveness of the department, public safety, the exercise of civil
  liberties and civil rights, or the public’s confidence in the police force.




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• The ordinance should specify protections afforded to sources in order to prevent retaliation
  and encourage people to come forward with information. City ordinance should require the
  inspector general to keep confidential the identity of a complainant, as well as all information and
  documents, except when necessary for the inspector general to carry out its duties and when the law
  so requires. Among other things, the City should not be able to subpoena the inspector general's notes
  of interviews with complainants. City ordinance should also prohibit retaliation against any employee
  who has contact with the inspector general. If retaliation is suspected, the inspector general should be
  authorized to open an investigation into the matter and issue a complaint to the appropriate entity.
• The inspector general should be required to produce an annual report. The report should
  summarize the audits and investigations conducted in the past year, reporting the analysis of
  information including patterns and trends, the outcomes of individual investigations/complaints and all
  recommendations. Annual reports should also provide status updates on the adoption of previous
  policy recommendations. All reports should be available to the public on the inspector general's web
  site.
• The inspector general should be required to prepare a written report for every investigation,
  review, study or audit it conducts, including any recommendations that come out of the
  investigation, review, study or audit.
• Though the inspector general should have broad discretion to initiate investigations about anything
  within the scope of its jurisdiction, the inspector general should also be required to perform
  regularly scheduled audits on certain subjects, including but not limited to:
  − sustained findings and discipline recommended and implemented by IPRA or its successor, the
    Police Board, and BIA in order to assess trends, consistency, fairness, and whether final disciplinary
    decisions are being executed as resolved;
  − citizen complaints and investigations, use of force, lawsuits and settlements to identify individuals
    and groups of officers who may be engaged in a pattern of misconduct and to identify areas for
    reform; and
  − video footage from officer body and officer car dashboard cameras to evaluate whether they are
    fully operational and being used according to policy and to ensure that all possible officer violations
    of CPD policy and/or law captured on video footage are properly investigated.
• The inspector general should be required to provide reports to the City Council prior to any
  vote regarding a payout providing information on litigation and settlement trends, as well as
  any information or trends regarding the officer or supervisor involved.
• The CPD Superintendent or head of any entity that is the subject of recommendations
  should be required to publicly respond to reports in writing within 60 days of the issuance of
  the report.
• The inspector general should provide the City Council with an analysis of the complaint
  history of those officers who are the subject of potential civil lawsuit settlements before the
  Council considers said settlement proposals.




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Community Safety Oversight Board Checklist
We propose the creation of an entity compromised of community representatives that will have the
power to oversee CPD, its BIA, the new CPIA and all other police oversight mechanisms. The particular
powers of this Community Safety Oversight Board and the process for selecting its members should not
be decided until the Mayor and City Council hold full and robust public hearings on the topic and fully vet
the design and implementation of this critical body. Though we do not provide a specific design and
implementation process for the Board, the Task Force makes the following general recommendations
about powers and responsibilities:

• Selecting the Chief Administrator of the new CPIA and conducting public hearings to make the
  selection.
• Requesting that the Inspector General for Public Safety perform specific audits and analyses of the
  policies, procedures and practices of CPD, CPIA and the Police Board that the community does not
  believe are being adequately addressed, and issuing recommendations based on the findings, to which
  CPD or the relevant agency must respond.
• Requesting that the Inspector General for Public Safety perform specific audits of CPIA and BIA
  investigations of serious cases of alleged police misconduct or the use of force to promote the quality
  and integrity of the investigations.
• Directing CPD, CPIA and the Police Board, through requests to the Inspector General for Public Safety,
  to collect and share data to facilitate community oversight.
• Analyzing all sustained findings and discipline recommended by CPIA, BIA or the Police Board to assess
  disciplinary trends, determine whether discipline is consistently applied and fair, and determine
  whether final disciplinary decisions are being executed.
• Conducting public hearings on any and all matters related to the CPD and its oversight entities.
• As representatives of the broader community, holding frequent public meetings.




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Selection Methodology for Community Safety Oversight Board
In selecting Community Board members, it will be critical to establish a process that maximizes the
Board’s independence, ensures transparency and provides accountability to the public. The Task Force
considered five methods for selecting Board members. In sum, the Task Force considered elections, City
Council or Mayoral appointments, a third-party application process and hybrid versions of these options:

• City Council Appointment. This model would follow an extensive process of public application
  among a number of citizen constituent groups (noted below), hearing and selection, with the
  determination of eventual selection made by the Council, which could manage it through one or more
  of its standing committees (e.g., the Police and Fire Committee and the Human Relations Committee)
  or working through or in conjunction with a non-partisan external body with expertise in community
  relations and/or police accountability. One advantage of this model is that it would leave to the most
  locally elected political actors the determination of balance and inclusivity of representation across the
  broad array of constituent groups and interests directly impacted by policing and police accountability.
• Inspector General (IG)/third-party body Appointment (the “good governance” actor model). This
  model would follow the same selection process as highlighted above but would leave the application
  process and ultimate selection to an entity somewhat removed from City government. This model
  could include a selection committee run by the inspector general’s office or the Better Government
  Association, with eventual ratification by the City Council. The model is attractive as it is removed from
  government, but that same attribute may also lead to a delegitimization of current bodies.
• Election. A process by which each member of the Board is elected by district or neighborhood,
  arriving at a fully representative body. This model does not exist, has not been successfully
  implemented anywhere else in the country, and is disfavored because it brings with it a host of
  challenges, which include being susceptible to cooptation by pre-existing power structures, use by
  individuals looking for a political springboard and a potential lack of diversity. Additionally, the cost and
  political nature of this process lead us to be concerned about this approach.
• Mayoral Appointment. This model would involve a public application process and eventual
  appointment by the Mayor. This method would accord with recent practices in such cities as Seattle
  and Cleveland, which have recently undergone Department of Justice investigations. However, in our
  current political climate, it is likely this process would be perceived as highly influenced by politics. Thus
  it is not recommended.
• Hybrid Model. Some hybrid of the foregoing options.
• As part of the selection process in the Mayoral, City Council or third-party selection processes,
  candidates will submit their applications to a specified office to ensure proper qualification. These
  applications will then be posted to the internet and nominated by a proscribed process (e.g., for every
  vacancy on the Board of the civilian oversight entity, the screening committee will interview candidates
  and recommend three people, who would participate in a series of public hearings to present their
  credentials and answer questions from the selection committee and the public). The Mayor/City
  Council/third-party would then select/vote for one of three nominated candidates for each position, or
  the selection committee would approve them.




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Selection for Community Safety Oversight Board Checklist
Whether selected by the Mayor, the City Council, a third party or otherwise, the membership of the Board
would include the following:

• 9 to 11 members (an odd number) selected from across the City, representing various communities
  and a cross-cut of interests.
• 2-year (or 4-year) terms that are staggered to ensure regular review of the membership.
  Individuals will have to apply to be reappointed and max out after two or three terms.
• Diversity requirements stated expressly to require inclusion of representatives of each of the
  following communities: faith, LGTBQ, immigrant, previous complainants about police abuse, youth, civil
  rights advocates and neighborhood leaders. There will also be requirements for geographic diversity,
  as well as one representative each from the Mayor’s office and CPD (retired or active).
• No payment for participation.
• The members must be residents of Chicago, cannot be employees, officials or appointees of the
  City or its delegate agencies or affiliated non-for-profits, and cannot have run previously for public
  office.
• Meetings and votes for the body will be public.
A coalition of community groups has proposed the creation of a Civilian Police Accountability Council
(CPAC) to establish direct community oversight over CPD. The proposal here strives to honor the
principles established by CPAC. We recommend that, as soon as possible, the City Council hold public
hearings with the goal of developing the specific details of the Board—based on direction of the
community—and selection of the Board members within 90 days of the start of the hearings. Among the
issues, these hearings should address:

• The role and responsibilities of the Board.
• The selection of those involved in the Board, including, but not limited to, the feasibility of electing
  representatives to fill certain roles.
• The staff and resources that will be made available to the Board.

  Remaining Recommendations
  ● CPD should create a hotline for department members, whether civilian or sworn, to lodge
     complaints, and develop a third-party system for the processing and follow-up of all comments
     and complaints reported to the hotline.

  ● BIA should be given the resources and staff it needs to conduct effective investigations, exercise
     more oversight over district investigations and increase the transparency of investigations.

  ● CPD and IPRA/CPIA should finalize a discipline matrix and all oversight entities should be required
     to follow it when recommending or imposing discipline.

  ● CPD should develop standards regarding when options may and may not be granted by the
     Superintendent.




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  ● Command Channel review should be eliminated entirely, and Superintendent review of BIA cases
    should also be limited to 90 days, like with IPRA.

  ● The City and CPD should ensure that the arbitration process should be subject to oversight.

  ● The City should conduct further analysis regarding the role of prosecuting attorneys in Police
    Board proceedings and whether they are sufficiently supported and best situated to prosecute
    cases of police misconduct before the Board.

  ● The City must ensure that the disciplinary process be made fully transparent.

  ● The City should disclose more information on police misconduct settlements to the City Council
    and the public.

  ● To avoid conflicts in police misconduct cases and other matters, the City Council should enact
    legislation that permits it to hire its own General Counsel to provide legal services and advice on
    legislative, policy and litigation matters.

  ● The City should advocate for new state legislation that would require the appointment of an
    independent prosecutor, separate from the State’s Attorney, to handle all phases of any
    prosecution of any case in which a police officer is charged with causing death or great bodily
    harm without justification.

  ● The State's Attorney should be required to provide oversight bodies with evidence of police
    misconduct that is not the subject of an ongoing prosecution.

  ● Further research into the Policemen’s Annuity and Benefit Fund is required to determine if
    additional changes in law and policy can ensure that police officers are not rewarded for official
    misconduct.




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Appendix 7
Early Intervention & Personnel Concerns Working Group Checklist
• CPD leadership must take ownership of accountability issues and order the design and implementation
  of a mandatory EIS that centrally collects data across a broad range of data points to capture
  information on the totality of officer activity.
  − CPD’s EIS must be non-disciplinary in nature.
  − CPD’s EIS should track all available data on officer activities.
  − CPD’s EIS should use peer-to-peer data comparisons to identify which officers receive interventions.
  − Create a structured, tiered program where interventions are appropriate, escalate proportionally
    and are timely.
  − CPD’s EIS should track officer transfers and require supervisors to review and acknowledge data on
    new officers who are transferred onto their assignment.
  − CPD’s EIS should require ongoing monitoring of interventions and develop an assessment tool to
    continuely examine the program for improvement.
• CPD must make support and training of supervisors a top priority and create policies that hold
  supervisors accountable for the conduct of their officers.
  − Provide training to supervisors on their responsibilities and obligations as the first-line of defense in
    accountability generally and in the EIS process specifically. This means, at the very least, providing
    mandatory training and talking points that help guide supervisory interventions with officers.
  − Integrate regular accountability measures for supervisors to incentivize buy-in to the new system. As
    part of that effort, CPD should integrate supervisor responsibilities for EIS and personnel
    management into the testing and promotional requirements. Also, CompStat meetings must be
    expanded immediately to include information about personnel actions, and supervisors should be
    held accountable for the performance indicators of their officers, just as they currently are with
    crime statistics and trends.
  − Provide greater support to supervisors in their management roles. All sergeants, lieutenants,
    captains and Commanders should be trained in managing the well-being of officers under their
    command and be compelled to use the dashboards that track officer activity.
• The individual in charge of human resources at CPD must be an expert in the field of human resources
  and related personnel maters.
• Until a fully automated EIS program can be implemented, CPD should create a manual intervention
  system, which undertakes an immediate assessment of officer fitness for duty.
  − CPD, working with IPRA and/or the new CPIA, and with reference to the time period January 1, 2010 –
    January 1, 2016, should immediately identify officers (1) with 10 or more CRs, whether or not an
    affidavit was completed; (2) who have a pattern of missing court; or (3) have been named in
    two/three or more lawsuits during this time period.
  − During this time, CPD should conduct monthly meetings with the State’s Attorney, Public Defender,
    Presiding Judge of Criminal Division, City Law Department and, separately, Chief Judge of the
    Northern District of Illinois for the purpose of determining any adverse findings against police



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    officers that bear on credibility, training issues or patterns of behavior. All information gathered
    should be factored into the manual intervention system.
  − Any officers identified through these methods should be assessed for placement in BIS, PC or some
    other form of individualized work plan that involves their chain of command.
• The EIS program should include community outreach efforts by providing public access to data
  generated by the EIS program and inviting community stakeholders to CompStat-type meetings to
  discuss EIS data and outcomes.
  − Publish, on a monthly basis, aggregate data on the following: new and pending complaints by unit,
    disciplinary actions, missed court dates, new civil legal proceedings against officers, new criminal
    legal proceedings against officers, vehicle pursuits, vehicle collisions, uses of force, employee
    commendations, uses of firearms, injuries to persons in custody, judicial proceedings where an
    officer is the subjective of a protective or restraining order, adverse judicial credibility
    determinations against an officer, or disciplinary actions.
  − Establish a regular community-inclusive meeting to share data and insights from EIS.




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Appendix 8
Early Intervention System – Identifying Triggers
I.    OVERVIEW
The hope for an EIS system is to improve relations between police and the community, reduce officer
misbehavior, and save both taxpayer dollars and the career prospects of individual police officers. Many
police departments around the country now employ these tools, including several departments that are
working with the Department of Justice. However, one limitation of most EIS systems is that they are not
validated—the way they select officers to receive additional non-disciplinary supports is not based on any
real data or empirical evidence about what indicators actually predict which officers will engage in
unproductive practices or future misconduct. The University of Chicago Crime Lab intends to work closely
with CPD in the coming months to develop such a data-driven system.

II.   CHALLENGES TO BUILDING PRODUCTIVE EARLY INTERVENTION SYSTEMS
EIS tools are only as useful as they are accurate. Every police department has limits on resources that can
be used to provide non-disciplinary supports to officers. EIS systems that recommend services to officers
who are actually at low risk of engaging in misconduct waste valuable resources that could have benefited
another officer to a greater degree. And EIS systems that fail to recommend officers who are truly high
risk miss an opportunity to help that officer as well as the rest of the department and community at large.
Many reports have noted that these are challenges with many EIS systems that are in operation around
the country.

Perhaps the main reason so many EIS tools have low predictive accuracy is that they are not validated,
which means that the “triggers”—or thresholds of behavior that automatically initiate an intervention
targeted toward an officer—were not developed by using data to determine statistically which early
indicators are truly predictive of future misconduct or unproductive performance. Instead many EIS
triggers are simply set at certain levels because departments, unions, and the Department of Justice
decided on them based on educated assumptions—that is, based on guesses.

A different challenge for every EIS system is that typically we do not have access to “ground truth”
measures of officer misbehavior or any other aspect of officer productivity. Many measures that are used
in EIS systems capture whether a given police action resulted in a bad outcome. But given the inherent
challenges of policing, particularly in big-city, high-crime environments, even correct police actions will
sometimes result in bad outcomes. What an EIS system would ideally wish to predict is inappropriate
police actions, rather than bad outcomes.

A third challenge for EIS systems is difficulty in isolating the contribution of the individual officer from the
potentially confounding effects of the specific job assignment or context in which the individual is
working. The challenge is analogous to one that is frequently encountered in the education field, where
focusing on measures of teacher performance (like the test scores of students in a teacher’s classroom)
runs the risk of conflating the contribution of the teacher-to-student learning from the contribution of
community social factors that affect student outcomes and are beyond the control of the teacher. If a
performance system does not adequately control for differences among teachers in the socio economic



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and related challenges faced by the students in the teacher’s classroom, the result will be to effectively
penalize those teachers that choose to take on the most challenging assignments.

A similar problem arises in the case of policing, where a good EIS system should not disincentivize officers
from choosing to work in the most challenging jobs and communities where arguably the importance of
and need for high-quality policing is the greatest. Some EIS systems try to address this problem by
making “peer-to-peer” comparisons. One challenge with this approach is that the actual “task” that a given
officer undertakes—both in terms of its potential productive value for society, and its risk of an adverse
outcome—can vary enormously even within job assignments, police beats, and shifts (for example, due to
differences in the amount of self-initiated activities that officers undertake). We refer to this as the “task
confounding” problem. Attempts to address this task confounding problem by accounting for officer
activity often rely on fairly crude measures, such as arrests made, which inevitably miss many other
aspects of variation across officers as to what they actually do on the streets. Ultimately, a good
performance measure has to take the features of task and context into account.

III.   BUILDING A NEW EIS TOOL IN CHICAGO
A top priority for any new EIS tool for CPD would be to make better use of the rich set of data that the
department collects to build a tool that is as accurate as possible in predicting future officer behavior. The
key outcome that existing EIS tools within CPD are currently oriented around is to predict which officers
will be fired by the department in the future. A different type of outcome that many EIS systems predict,
including many of the EIS systems developed by departments working under a consent decree with the
Department of Justice, is some indicator of an officer’s use of excessive force. There is a long list of officer
behaviors that could, in principle, be predictive of those outcomes. Which behaviors are actually most
predictive in practice is a statistical question.

The University of Chicago Crime Lab will work closely with the CPD to try to build the most accurate
possible validated EIS, using the best possible analytic techniques, including new methods from the
computer science field of machine learning or statistical learning.

One challenge in forming accurate predictions of which officers might benefit from early intervention is
the sheer quantity of candidate indicators that could potentially be considered. The City of Chicago
collects vast amounts of information about individual officers and policing outcomes that are distributed
across multiple different data systems. These include various measures of misconduct originating from
BIA, IPRA, and the department’s automated complaint system (AutoCR), which includes allegations that
have been founded as well as those that have not. The City also collects measures of officer activity while
out on the street (arrests, guns confiscated, field interrogations conducted, use of force), in court
(including disposition of court cases, or even attendance rates at court), and other aspects of job
performance, such as commendations received or use of medical leave. Most EIS systems focus on just a
subset of these candidate predictors, chosen through some combination of professional judgment (that
is, a best guess) and other practical or political considerations. There is no guarantee that the subset of
candidate predictors that are selected in this way is the most predictive possible set of predictors—which,
in turn, means that the EIS system that results is not nearly as effective as it could or should be.

Machine learning provides a powerful technique to search over very large numbers of candidate
predictors to find the optimal combination that is the most predictive, given the data that are available.




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These tools are built by assembling information about the experiences of previous officers while on the
force at CPD, and allowing the data to determine which patterns of behavior or outcomes are predictive
of outcomes such as being terminated by the department in the future or being found to have used
excessive force. The tool can then help flag similar patterns that arise to individual officers in the future
who could then be diverted to non-disciplinary supports to reduce the chances that they wind up either
harming the public, themselves, or their own prospects at a successful career at CPD.

Machine learning also has distinct advantages over traditional statistical methods given its ability to
detect subtle patterns among variables that would never occur to a human data analyst. As an example,
previous job records predict how well individuals perform as officers, but only for officers below a certain
age. Traditional statistics would require the analyst to know and specify this interactive effect, whereas
statistical learning algorithms could discover that age and previous job, together, hold predictive power.

In building an EIS tool with machine learning algorithms, we address the task confounding problem
through two steps. First, whenever possible, we will incorporate fine-grained features of the task (such as
beats in which the officers are working, the shift, the time of year, and indicators of individual officer
activity levels) into the model. Controlling for these differences will help facilitate comparisons of officers
facing similar circumstances. Second, whenever possible, we plan to predict a measure of officer
performance as reflected in CPD’s own disciplinary and personnel decisions. For example, we can predict
which officers will be fired by CPD, which is the focus of the department’s current EIS. Analogously, we can
predict which officers will face sustained complaints of misconduct. The presumption behind this
approach is that CPD, IPRA and other related actors have already invested resources in investigating
these situations, and the resulting decisions take into account the specific context (task) in which an
officer was working in deciding if his or her behavior warrants disciplinary action or some other form of
intervention. If the disciplinary system is functioning properly then by focusing on this type of outcome,
part of the task confounding problem has already been taken into consideration.

For the sake of being as helpful as possible to individual officers and to the members of the public who
might be affected by adverse officer behavior, there would be great value in being able to tell as soon as
possible when an officer starts down a path that might result in founded misconduct. The usual tradeoff
for prediction systems is that the closer in time to the outcome being predicted, the greater the predictive
power of the system—but the more harm that has already resulted. Any new EIS system could explore
the possibility of enhancing the ability to predict future misconduct as early in an officer’s career as
possible by potentially drawing on non-standard sources of data, such as even including what the
department collects from officers at the hiring stage and how they perform in the Academy.

Finally, other departments around the country have found that the ability of such tools to be helpful for
early intervention can be enhanced if the tool is part of a larger performance measurement system for
officers. The methods we develop for predicting misconduct can easily be extended to positive
performance. As an example, these techniques can be used to predict which officers receive
commendations for their exceptional service at CPD. In addition, a more general performance
measurement system could, in principle, be used to help inform other department human resource
decisions, for example by predicting which patrol officers will be successful in specialized roles like
detective, FTO, or even supervisory positions. Overall, these tools can be used to help the department
identify highly productive officers within their ranks.



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Ultimately, frontline officers and supervisors must view the EIS tool as helpful to their day-to-day jobs in
order for it to be deemed worthwhile by CPD. The Crime Lab intends to work closely with CPD, as well as
with key stakeholders, to ensure a full range of perspectives is considered. Whether these prediction tools
translate into any changes in CPD personnel choices is a policy decision that will be made by CPD and the
City, and is beyond the purview of our analytical work. Our goal would be to build a set of predictions that
can highlight for the City the potential gains that could come from incorporating these predictive analytics
into different aspects of CPD’s day-to-day operations. Which of these predictive analytic tools should
ultimately be incorporated into those operations, and how, is ultimately a policy question, not a social
science question.




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Appendix 9
De-Escalation Working Group Checklist
• OEMC should invest in a Smart911 system.
• OEMC should implement a 16-hour mental health awareness training.
• OEMC should devote attention to supporting personnel in providing compassionate and effective
  service to the community and implementing stress management training that complies with national
  standards.
• The Chicago Department of Public Health (“CDPH”) should partner with mental health agencies and
  advocacy groups to develop a two-step community education campaign on the signs of mental illness
  and how to best respond to a mental health or related crisis.
• CPD should increase the number of CIT-certified officers to 35% of all patrol officers, and ensure that
  individual districts with the highest number of mental-health calls are staffed to 35% or higher. All
  districts and all watches should staff at least two CIT-certified officers. Refresher courses should be
  developed and provided to CIT-trained officers. CPD should attach a permanent code “z” to officer
  names that OEMC can always access so dispatch can assign appropriate officers to calls.
• The City should create a “Mental Health Critical Response Unit” within CPD that is responsible for
  mental health crisis response functions, training, support, community outreach and engagement,
  cross-agency coordination and data collection and houses the CRU.
• The City should create a crisis response system to support multi layer co-responder units where
  behavioral health providers are working with OEMC and CPD to link individuals with mental health
  issues to treatment, 24 hours a day.
• The City should expand and invest in Crisis Stabilization Units (“CSU”) for individuals suffering from
  symptoms of mental illness who do not need to be psychiatrically hospitalized.
• The City and the MHCRU should identify frequent, high-use and high-need individuals and help them
  get mental health treatment.
• The City should invest in first episode programming so that young adults experiencing their first
  episode of psychosis or major depression are immediately linked to intensive services to reduce
  progression of illness and decrease the risk of criminal justice involvement.
• CPD should work to decrease trauma and escalation at crime scenes by reducing the show of heavy
  weapons and expanding the Chicago Survivors program.




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Appendix 10
Proposed Video Release Policy
I. PURPOSE.
This policy will provide direction to officials and agencies of the City of Chicago (“City”) with respect to the
public release by the City of videotape and audiotape recordings and certain specified police reports that
relate to certain types of incidents involving Chicago Police Department (“CPD”) officers, and shall
prescribe procedures under which requests can be made to delay temporarily the release of those items
to the public.

II. POLICY CONSIDERATIONS.
This policy is intended to strike a balance between competing and sometimes conflicting interests of (a)
the public in timely access to video and audio recordings and particular related initial police reports
pertaining to certain incidents involving the use of force by police officers; (b) individuals who are the
subject of the police action; and (c) units of local, state and federal government (including agencies of
the City) involved in investigating or otherwise addressing the consequences of those incidents.
Government institutions and officials with appropriate jurisdiction may have an interest in temporarily
delaying the release of such information to the public in circumstances where it might compromise their
efforts to address these incidents, including (but not limited to) criminal, disciplinary or other types of
investigations; those interests may include a desire to avoid instances where early release of information
could cause fact witnesses, whether civilian or otherwise, intentionally or inadvertently to conform their
recollections of events to fit what they see in a video, hear in an audio recording, or read in a report. In
addition, certain individuals, such as persons injured in these incidents or their families, may also have
interests concerning the release of these items. Despite those interests, however, the people of the City
have an undeniable, and in some cases paramount, interest in being informed, in a timely fashion and
based on the most accurate information possible, about how their police force conducts its business,
especially where the use of force by the police results in the death of, or great bodily harm to, a civilian.

This policy attempts to balance those competing interests by permitting specifically interested entities to
request a temporary delay in the public release of recordings or reports in order to protect the integrity
and effectiveness of their investigations, while assuring that these materials will become available to the
public within a limited and certain period of time. The goal of this policy is to increase transparency with
respect to the operations of CPD, and in doing so to foster increased trust and communication between
the community and the police officers who serve it.

III. SCOPE.
A. Incidents. Consistent with (though not identical to) Municipal Ordinance Code Section 2-57-040(c) and
(d), this policy encompasses the following types of incidents: (1) those in which a CPD officer discharges
his or her firearm in a manner that strikes, or that potentially could strike, another individual, even if no
allegation of misconduct is made; (2) those in which a CPD officer discharges his or her taser or stun gun
in a manner that strikes another individual and results in death or great bodily harm; and (3) those in
which, as a result of the use of force by a police officer, the death of, or great bodily harm to, a person



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occurs while that person is in police custody. (Referred to hereinafter as the “Incident.”) “Great bodily
harm” means any injury that is serious enough to require treatment in a hospital or similar facility located
in a correctional institution.

B. Recordings and Reports. This policy applies to the following items that relate to any Incident: all
video and audio recordings relating to the Incident, including tapes of 911 calls, OEMC dispatch
recordings, CPD radio calls, video and audio from CPD dash or body cameras, videos from CPD or OEMC
POD cameras, as well as any video or audio recordings made using cameras or equipment not owned or
controlled by the City that come into the possession or control of CPD or IPRA; and any arrest reports,
original case incident reports, tactical response reports (TRR’s), and officer’s battery reports (OBRs)
(Referred to hereinafter as the "Information.")

IV. RELEASE OF INFORMATION
A. Timing of Release of Information. Any Information covered by this policy shall be released to the
public no more than 60 calendar days from the date of the Incident unless a request is made to delay the
release of any or all of the Information pursuant to this policy. Where any video or audio recording
covered by this policy made using cameras or equipment not owned or controlled by the City comes into
the possession of the City after the date of that incident, it shall be released to the public no more than 60
days after it comes into the possession of the City, but the City shall make every effort to provide for the
release of such recordings simultaneously with the release of other Information related to the Incident.

B. Requests to Delay Release. Upon written request from a government entity specified herein, the City
will delay release of Information for a period not to exceed 30 calendar days. Any such request shall be
made in writing and shall be directed to the City Corporation Counsel. Such a request may be made by
the United States Attorney for the Northern District of Illinois, the Cook County State's Attorney, the
Attorney General of Illinois, IPRA, or any other federal, state, county or local law enforcement agency. Any
request must set forth with specificity the length of the delay requested (not to exceed an additional 30
calendar days) and shall set forth as reasons supporting the requested delay one or more of the factors
listed at 5 ILCS 140/7(d)(i) through (vii). In addition, any such request must identify the specific item(s)
sought to be temporarily withheld from release. The written request to delay release will itself be
released to the public immediately upon receipt using a portal or website used for the distribution of
Information subject to this policy. The City will not honor any further requests to delay release beyond the
initial request, and will not honor a request for a delay of release that exceeds 30 calendar days.

C. Early Release of Information. Where doing so will not compromise an ongoing investigation, any
Information covered by this policy may be released before the expiration of 60 calendar days, and may
occur as soon as possible after the Incident.

D. Manner of Release of Information. The City shall create and maintain a publicly accessible website,
dropbox or similar portal dedicated to the posting of the Information covered by this policy.

V. NOTICE TO AFFECTED PARTIES.
Prior to the release of the Information, IPRA will attempt to notify any person who was the subject of the
police action and is depicted in any video recording, or if that person is deceased or otherwise
unavailable, that person's legal representative and/or next of kin, that the video recording and any
related Information will be released and the date of release. IPRA will also offer to promptly show such



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individuals (and/or, if applicable, their legal representative and/or next of kin) the video recording(s) in
which that person was depicted, and to play any related audio, in advance of its public release, and to
answer questions and provide other information concerning the Incident and the status of any
investigation of the Incident, to the extent that information can be provided without compromising any
investigation.

VI. ONGOING REVIEW.
The provisions of this policy should be reviewed by the City after it has been in effect for one year (or
sooner if appropriate) in order to determine whether experience with its implementation and application
supports revision of the policy with respect to any issue, including (but not limited to) whether the 60-day
period and the 30-day extension it provides for may be shortened or whether its scope may be expanded
to cover additional types of incidents.

VII. LEGAL PROCESS.
This policy is intended solely to govern the conduct of the City and its agencies and officials with respect
to the matters it covers. It is not intended to displace or supersede any legal right or remedy available to
any person or entity. It is also not intended to prevent or hinder compliance by the City with respect to
any legal obligations, including (but not limited to): (a) any order of court; (b) any obligation to redact
identifying or other information from any item covered by this policy before its release to the public; or (c)
any obligations imposed by the Freedom of Information Act, 5 ILCS 140/1 et seq.




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Appendix 11
Overarching Recommendations Checklist
• Provide an annual 40-hour in-service training for all sworn personnel, including periodic refresher
  classes on procedural justice.
• Implement a systematic approach to identify training needs and revise in-service training curriculum on
  an annual basis.
• Reinvigorate the Field Training Officer program.
• Implement procedures to ensure that sworn personnel remain informed on all directives and policies.
• CPD should increase the number of sergeants on patrol.
• CPD should implement monthly meetings of all sergeants in a District to ensure the sharing of officer
  performance, to provide mentoring opportunities to newer sergeants, and provide a forum for best-
  practice sharing to prevent officer misconduct.
• CPD should continue rolling out and evaluating body cameras with the ultimate goal of providing body
  cameras to every police officer who regularly comes into contact with civilians.




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